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 1          UNITED STATES DISTRICT COURT OF MARYLAND
                         SOUTHERN DIVISION
 2
   ------------------------x
 3 UNITED STATES OF AMERICA  :
              Plaintiff      :
 4                           :
                             :
 5 vs                        :Criminal Action:           RWT -04-0235
                             :
 6                           :
   PAULETTE MARTIN, et al    :
 7           Defendants.     :
   ------------------------x
 8

 9                           Wednesday, July 19, 2006
                             Greenbelt, Maryland
10
         The above-entitled action came on for a Jury Trial
11 Proceeding before the HONORABLE ROGER W. TITUS, United
   States District Judge, in courtroom 4C, commencing at
12 9:49 a.m.

13       THIS TRANSCRIPT REPRESENTS THE PRODUCT
         OF AN OFFICIAL REPORTER, ENGAGED BY
14       THE COURT, WHO HAS PERSONALLY CERTIFIED
         THAT IT REPRESENTS   TESTIMONY AND PROCEEDINGS           AS
15       RECORDED AND REQUESTED BY COUNSEL.

16       APPEARANCES:

17       On behalf of the Plaintiff:

18       DEBORAH JOHNSTON, Esquire
         BONNIE GREENBERG, Esquire
19
         On behalf of the Defendants:
20
         MICHAEL MONTEMARANO , Esquire
21       ANTHONY MARTIN, Esquire
         MARC HALL, Esquire
22       TIMOTHY MITCHELL, Esquire
         PETER WARD, Esquire
23       EDWARD SUSSMAN , Esquire
         HARRY MCKNETT , Esquire
24
   Tracy Rae Dunlap,   RPR , CRR                      (301) 344-3912
25 Official Court Reporter




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 1                                 I N D E X

 2                           DIRECT       CROSS    REDIRECT   RECROSS
     Frederick Stacey         24           33       43         46
 3
     Nolan Lockard            48           83      104        108
 4
     Timothy    Muldoon      110          134      195
 5
     Thomas    Eveler        226
 6

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23 Reporter's Certificate                                     280

24 Concordance                                                281

25



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 1            THE COURT:    Counsel , I receive d from        the

 2 government    late yesterday      a motion     in limine     concern ing

 3 the Title 3 intercept s.

 4            What is the ability      of the defense       to give me a

 5 response    to this so I can start look ing at it and be

 6 able to resolve     this before         the defense   case start s?

 7 Any issue , since you have        two day s off ?

 8            Any reason   why you can't get me something             on

 9 Monday    so I can look at it ?

10            MR. MONTEMARANO :      I will try to get something             to

11 you on Monday , Your Honor .

12            THE COURT:    Okay .

13            MR. MONTEMARANO :      Certain ly by Tuesday       morn ing .

14            THE COURT:    Does the government          still believe

15 they can finish     today ?

16            MS. JOHNSTON:      Your Honor , it depends        on the

17 length    of cross-examination      .

18            THE COURT:    Oh , I understand .

19            MS. JOHNSTON:      We did not expect        yesterday    the

20 cross-examination       would go as long as       it did .

21            THE COURT:    I know .

22            MS. JOHNSTON:      We have four witness es for today :

23 Special    Agent Stacey , Detective         Lockard , and Detective

24 Muldoon    -- the other Muldoon          -- and then the case

25 agent , Thomas    Eveler .    I think that 's going to be it




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 1 for the government .

 2            THE COURT:      Okay .   Well , we'll -- I'm going to

 3 --

 4            MS. JOHNSTON:       I doubt that we finish        today .

 5            THE COURT:      We'll see if we can get this done

 6 today .     If I can get the opposition         to the government 's

 7 motion     on Monday , I'll be able to address          it on

 8 Tuesday .

 9            Mr. Ward .

10            MR. WARD:     There is another      issue , Your Honor .

11 The government , in a fax sent out at 6:19 p.m. last

12 night , gave notice       that they intend      to call an

13 additional      witness , a Fred Stacey,       who is with the ICE

14 -- whatever      that stands     for -- who was part of the

15 entry team into the Dobie residence .              There has been a

16 -- is a sequestration         rule in effect .      I think that I'm

17 entitle d to have a voir dire          of this witness      to show --

18 to find out if he has learn ed anything             about this case

19 up to this date from any source , whether              in side the

20 courtroom , including        the government , before      he take s

21 the stand .

22            MS. JOHNSTON:       Your Honor , I think that 's

23 in appropriate .       We are all officer s of the court , and a

24 sequestration       rule has been in effect .

25            THE COURT:      Has he been present      in the




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 1 courtroom ?

 2            MS. JOHNSTON:       No, sir .    He was call ed yesterday

 3 afternoon      and asked to come in .        I spoke to him this

 4 morn ing and show ed him picture s that had been

 5 introduced      and asked him to explain            where people    were ,

 6 just as he 's testifi ed previous ly at the motion s

 7 hear ing .     I don't think     that it 's necessary       for the

 8 court to ask him any question s.

 9            MR. WARD:     I was n't present      at the motion s

10 hear ing because       I was n't in the case at that point , but

11 --

12            THE COURT:      I'm not going to make any --

13            MR. WARD:     The fact the government          has spoken         to

14 him and show ed him photograph s that were use d in court

15 yesterday      is , to me at least , a transmission          to that

16 witness      of what has taken place in court .

17            THE COURT:      I don't agree with that at all .

18 What's     required    under the sequestration          rule is the

19 communication       of the testimony       of another     witness       so

20 that the witness es are re in forci ng each other .                To

21 simply     say , here are some exhibit s; I want to call you

22 to the stand to inquire          about these matter s is not a

23 violation      of the sequestration        rule .

24            MS. JOHNSTON:       I would further        indicate   to the

25 court that no witness          testifi ed , including      Detective




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 1 Papalia , who testifi ed yesterday          testifi ed where Ms.

 2 Dobie was locate d in the house when the entry team made

 3 entry .

 4            At Mr. Ward 's request , we did not elicit           any

 5 hearsay     from the detective .       So there 's nothing      that

 6 could have been dis close d to this witness             related    to --

 7            THE COURT:      I'm not going to make any special

 8 inquiry     of the witness .      You may inquire , Mr. Ward , on

 9 cross-examination        as to whether     it 's been violate d.         If

10 so , I can take      correct ive action .

11            MR. WARD:     I certain ly will , Your Honor .

12            THE COURT:      Based upon the proffer       the

13 prosecutor      has made to me , I see no base s to make a

14 separate     inquiry    about it .    You can certain ly inquire

15 on cross and see if there has been a violation .

16            Are there any other preliminary          matter s?

17            MR. SUSSMAN :     Your Honor , this is p robably

18 pre mature , but I think through          Detective    Eveler   there 's

19 going to be some chart s which we've talk ed about among

20 the defense      attorney s.     I think we have some objections

21 and issue s about it , and we can take them up probably

22 --

23            THE COURT:      These are new chart s, or the chart s

24 that we've been using ?

25            MR. SUSSMAN :     These will be new chart s.




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 1            THE COURT:    New chart s?

 2            MS. JOHNSTON:    Your Honor , I believe      maybe a

 3 week or week and a half ago we gave them some of the

 4 chart s the government      intends    to use .    Some are summary

 5 chart s in term s of summary      of evidence ; some are

 6 summary    chart s that are in place of voluminous

 7 document s.     This is the first time we're hear ing

 8 there 's any objection .

 9            MR. MONTEMARANO :    That 's not true .

10            THE COURT:    Mr. Montemarano , let her finish , and

11 then you can tell me it 's not true .

12            MR. MONTEMARANO :    Thank you .

13            MS. JOHNSTON:    We have not heard anything        in

14 term s of what the objections         were .   That 's why we gave

15 them the chart s in advance       of his testimony .

16            There are a couple     of chart s that are being

17 draft ed now as a result       of some of the testimony       that

18 we've heard that are summary          chart s that will be of

19 assistance     to the jury , not sum mary chart s of evidence

20 -- of records     that have not been introduced .         So , there

21 are two different       kinds of chart s.      One is a summary

22 chart summarizi ng voluminous         records ; the other summary

23 chart s are chart s that are going to be introduced            to

24 facilitate     the presentation    and comprehension      of the

25 evidence    that 's already    been present ed .




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 1            I would suggest     to the court that perhaps           -- I

 2 don't know     what the court -- how long the luncheon                is

 3 going to last .     If the court would want to hear this

 4 tomorrow    afternoon     later in the day after Mr.

 5 Montemarano     is finish ed with his medical           treatment ,

 6 that would be an appropriate         time so we don't lose

 7 another    trial day next Tuesday .

 8            THE COURT:      Are the chart s in existence         and in

 9 the courtroom     now ?

10            MS. JOHNSTON:      The chart s are in -- most of the

11 chart s are in existence .        Some of -- they're          not in the

12 courtroom    at the present      time .

13            MR. SUSSMAN :     The timi ng would be such that they

14 would be appropriate        right before      Detective      Eveler 's

15 testimony    which I thought      might be after the lunch

16 break.

17            MS. JOHNSTON:      I think it will begin today .              I

18 don't know     if we will finish     it today .

19            MR. SUSSMAN :     I was giving     the court a heads up .

20 I'm not argui ng the issue , just point ing it out .

21            THE COURT:      Today I have a judge 's meet ing at

22 1:00 .    They are not matter s that are of great , enormous

23 importance     in my life and that I lust to be at them ,

24 and they tend to be sometimes             rather    boring , but I'm

25 suppose d to be there .       I can absent         myself   if you give




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 1 me good and sufficient         reason     to do so .

 2           MS. JOHNSTON:      Your Honor , let me correct           one

 3 thing .     Mr. McKnett   did tell me about a problem         that he

 4 had with the chart in that there were -- the icon s that

 5 were use d on the phone telephone            frequency   chart .

 6 There 's one that look s like a phone , and Mr . Mc Knett

 7 believe s one of the number s may be a fax number .                I had

 8 a discussion     with Mr. McKnett         concerning   the icon s that

 9 are on the chart .

10           THE COURT:      Can you fix that issue ?

11           MS. JOHNSTON:      I can't .      There are only two

12 options     in term s of the    icon s.     One a hard phone and

13 one is a cell phone , and I think the agent use d which

14 phone icon he thought        was representative        of most of the

15 number s listed    there .     I had that discussion       with Mr.

16 McKnett .

17           THE COURT:      We can deal with that .

18           Mr. Montemarano .

19           MR. MONTEMARANO :      Thank you , Your Honor .

20           THE COURT:      How are you feel ing today ?

21           MR. MONTEMARANO :      I'm alive , and I'm here .

22           THE COURT:   You're     alive and here .

23           I'm alive and here , too.          I was up all night

24 with pain in my shoulder .

25           MR. MONTEMARANO :      Much the same way .




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 1 Un fortunate ly , it 's less the ankle .         It 's what I   have

 2 to do to take care of the ankle , like support ing 215

 3 pounds   on crutch es .     Great fun .

 4          THE COURT:       Yes , yes .

 5          MR. MONTEMARANO :       In any event , with regard          to

 6 Ms. Johnston 's belief       we have not inform ed her of

 7 objection s that Mr. Sussman        reference d.     It is my

 8 statement    to the court that we have object ed to every

 9 chart provided     to us by the government , in some case s

10 with specificity      and in some case s not .

11          I know in particular           that when we were hand ed

12 the two -part phone chart which show s a series            of

13 number s at the center       allege dly relating     to my client

14 and then in a penumbra        around     it phone s relating    to

15 other people    and then re citi ng number s of phone

16 contact s, I specifically        told the government      that we

17 would be object ing to that and that is, I b elieve,                 one

18 of the chart s that Mr. Sussman           is referring   to .   That 's

19 the first part .

20          As to the second       part .     Ms. Johnston 's continued

21 de sire to dictate     a time    to the court 's schedule       --

22          THE COURT:       She is not dictating      the court 's

23 schedule .

24          MR. MONTEMARANO :       I said at "attempt."

25          THE COURT:       She 's mak ing suggestion s.      You can




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 1 make suggestion s, too .

 2            MR. MONTEMARANO :     I would suggest    to the court I

 3 have a meet ing set up tomorrow        in the MS-13 case with

 4 prosecutor s and with my co-counsel .           My client    is one

 5 of the death -eligible       defendant s.

 6            THE COURT:     At what time ?

 7            MR. MONTEMARANO :     The only thing that keep me

 8 from at tending    that --

 9            THE COURT:     What time is that ?

10            MR. MONTEMARANO :     1 o'clock .    The only thing

11 that would keep me from attending            that is if I'm not --

12 if my orthopedic        suggest s an MRI is necessary       and I'm

13 wait ing somewhere       to get fancy picture s taken of my

14 ankle .

15            THE COURT:     Well , MRIs are pretty    easy to

16 schedule    in the evening .     Mine was done in the evening

17 and , you know , so --

18            MR. MONTEMARANO :     I think he'll want it post

19 haste so he can tell me if I'm --

20            THE COURT:     I'm sure he will .     But I'm say ing is

21 when I saw my orthopedic        surge on and he said , get an

22 MRI right away , it could n't be done right away .             These

23 people    are somewhat     prim a donnas    with their scheduling ,

24 but I manage d to get an evening           MRI, and the -- I can

25 even tell you a place to go near by so you can get it




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 1 done if you need it .

 2           Let me ask another     question     about the jury

 3 instruction s.     If there are specific        concerns   about

 4 what I have done or there are proposed            addition s or

 5 deletion s, it would be very help ful if you could get me

 6 something    in writing   that says what you don't like or

 7 what you do like or what you want add ed that I didn't

 8 add and why by Monday       so I can look at it and we can

 9 start -- I can start re view ing those comment s during

10 the trial week next week and be in a position              on the

11 31st when we have our charge         conference    to go through

12 it and get it done rather        quick ly .

13           Depend ing upon the length      of the defense     case , I

14 may have to be in a position         to give the instructions

15 pretty    quick ly after July 31 , so I want to be ready to

16 go .   What I don't want is to have a charge           conference

17 where I'm get ting a lot of contention s legal

18 contention s that I haven't       had a chance     to look at

19 before    I took the bench .     So I'd like to make sure you

20 tell me what are your hot button          issue s with this with

21 the instruction s.      I think if you've       had a chance    to

22 look at it , most of what I've been doing is styli stic

23 editing    to make them not so stiff and get rid of some

24 redundancy , but I would be much appreciati ve if you

25 could give me something        in writing     -- you can be as




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 1 informal     as you want -- by Monday         afternoon    so I can

 2 look at it .

 3            MR. HALL:     Your Honor , could I ask -- would it

 4 be permissible     to E- mail that to your law clerk ?

 5            THE COURT:     Oh , certain ly .    Any old way you

 6 want .     You can use Pony Express , Fax , E- mail -- just

 7 get something     to me so I can start look ing at the

 8 comment s of the various          counsel   on it .   Same thing as I

 9 said on respond ing to the motion            in limine .

10            I'm told we have a juror who had a family            member

11 with an injury     and had to tend to it and may be late ,

12 but I don't know        if the juror has arrive d.

13            Ms. Merez , do you want to see how that juror is

14 do ing ?

15            THE CLERK:     Yes .

16            THE COURT:     If the juror is okay , we can bring

17 them in .

18            On the chart issue .       You said some of these are

19 ready and some of these are not ready ?

20            MS. JOHNSTON:     Yeah .    Your Honor , that would be

21 correct .     I gave counsel       draft s of those chart s.     I

22 don't think     there 's been any really        substantive

23 change s.     I can get copies       of those for the court .

24            THE COURT:     Can you make a copy for me ?         Small

25 or big , I don't care .




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 1            MS. JOHNSTON:     We will get a copy made .

 2            THE COURT:     Get that to me .

 3            As far as    tomorrow    is concerned .     Mr.

 4 Montemarano      is tie d up in the morn ing , as am I now

 5 because      I've agreed to go to this meet ing .            I'm not

 6 precise ly sure what time I'm going to get back .                 I

 7 would guess I'll be back by 4:00 .           I have a guilty           plea

 8 scheduled      for 4:30 , but I could move that to the

 9 morn ing .

10            Mr. Montemarano , do you think your conference

11 with counsel      in your death penalty      case is going to be

12 all afternoon , or what ?

13            MR. MONTEMARANO :       A significant     portion    of it ,

14 Your Honor .      I would anticipate      the best case I'd be

15 out by around      3:00 or so , but I can't go --

16            THE COURT:     What I could do , if you all are

17 prepared      to do it , is to meet with you about objections

18 to these chart s at 4 o'clock          and move this guilty           plea

19 to the morn ing , if it 's movable .        I don't know        if it 's

20 movable .      We'll have to see .

21            MR. MONTEMARANO :       I'll make myself     available

22 with regard      to the court 's schedule     any time , Your

23 Honor .

24            THE COURT:     Let me , first of all , find out from

25 Bea --




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 1            MS. JOHNSTON:     Your Honor , we may get to that

 2 testimony     this afternoon , just so the court know s.

 3            THE COURT:     Okay .

 4            MS. JOHNSTON:     I don't know     how fast we're going

 5 to go today .

 6            THE COURT:     I will get my bull whip out today and

 7 see if we can go as quick as we can .

 8            Bea?

 9            THE CLERK:     You're   miss ing one .

10            THE COURT:     Okay .   We'll get an update       for you

11 on this juror .

12            Well , we're still without       one juror .

13            MS. JOHNSTON:     Your Honor , I don't know        if the

14 court want s to discuss       one of the chart s that we've

15 already    discussed extensively,         which is CH-1 .

16            THE COURT:     The organization      chart ?

17            MS. JOHNSTON:     The organization       chart was

18 mention ed during       testimony .     No one object ed to it at

19 this time .       I know Mr. McKnett      had raise d an objection

20 before    opening    statement .      It would be the government 's

21 position    it is in evidence , but I'm sure there 's going

22 to be objections        made or dis agreement     with the

23 government 's position       that it     is in evidence .    We could

24 discuss    that at this time .

25            As the court will recall , that 's the chart where




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 1 we had covered     up name s and individuals          have -- many

 2 witness es had identifi ed the different             people   and had

 3 initial led and date d the chart .          So , I don't know       if

 4 there 's still an objection .          An objection     was not made

 5 when we first use d that .         I think Mr. Thurman        or Mr.

 6 Encarnacion     was the first witness        we use d it with , and

 7 they made identification s, so there was -- and there

 8 was n't an objection       at that time .

 9            MR. MONTEMARANO :       My recollection , Your Honor ,

10 is there was a continui ng objection           to any use of it .

11 We complain ed about it including           the use the head er s

12 and that the photograph s by themselves              were acceptable ,

13 even if organize d per the government 's view , but

14 they're    given title s.

15            THE COURT:      Well , this has been use d fair ly

16 extensively     during   the trial .     Why would not a

17 cautionary     instruction     that the descriptive monikers             on

18 this chart are the government 's position , and they

19 should    not consider     that as evidence , but they can

20 certain ly look at the chart and the government 's

21 position    as to what these people         are ?

22            MS. SUSSMAN :     May I speak to that ?

23            THE COURT:      Yes .

24            MR. SUSSMAN :     I think the case law -- when the

25 chart s come in , I think it 's admitted            conditionally




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 1 that this is what the government           is going to prove .

 2 The government       can't prove a con spiracy         by draw ing a

 3 chart .    That 's obvious .      The proof has to demonstrate

 4 they're    in a conspiracy .       If at the end of their case

 5 they haven't       proven    that a conspiracy       exist s in the

 6 manner    that they 've de scribe d, that 's subject         to all

 7 kinds of legal motion s.

 8           THE COURT:        That 's not the issue on this chart .

 9           MR. SUSSMAN :       Well it would be , because       then the

10 chart would be in correct .

11           THE COURT:        That 's an issue , I think , for your

12 motion    at the end of the government 's case , isn't it ?

13           MR. SUSSMAN :       That 's right .    If the court is

14 in correct   --

15           THE COURT:        If I rule in favor of one or more

16 defense    motion s at the end of the government 's case ,

17 obvious ly the      chart has a problem .

18           MR. SUSSMAN :       That 's right .    So I think that

19 some of the objections          to the chart would be somewhat

20 pre mature , because        I think they're     --

21           THE COURT:        I agree it 's pre mature .     If the

22 government    survive s a motion       at the end of their case ,

23 it would seem to me that the chart is appropriate                 for

24 remain ing in evidence         with an appropriate       caution ary

25 instruction       that I could give about that that the




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 1 monikers     that are attach ed to these people           as what

 2 their role s were are the government 's view and that

 3 they are the ultimate            determine rs of what their role

 4 was , if any .

 5            MR. SUSSMAN :        Or , conceivably , there could be

 6 judgment s of law .          That law that would knock out part s

 7 of the chart that require            redaction .

 8            THE COURT:         I agree with you .    I think it 's

 9 pre mature .        Let 's see what happen s at the end of the

10 government 's case .

11            MR. WARD:         Your Honor , if it 's the   government 's

12 view , may we add our s on there ?            May I write on there

13 that my client         is simply    an addict    who was purchasi ng

14 for personal         use ?   Fair is fair .

15            THE COURT:         Get your pen out .

16            No .     Wait a minute .     You do this in the course

17 of the proceed ings.            That 's what you really    want to do .

18            MS. JOHNSTON:         Your Honor , quite frankly ,

19 counsel     can prepare       his own chart .

20            MR. WARD:         I don't have   an army of ant s back in

21 my office      --

22            THE COURT:         I'm not going to resolve     the issue

23 now .   I belie ve the chart , as it 's been use d, is

24 appropriate , so l ong as the government 's case is not

25 dis miss ed in any significant          part .




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 1            MR. WARD:     I want to write on that chart ,

 2 whether     it 's before   the jury , that my client           is an

 3 addict , for personal          use .

 4            MS. JOHNSTON:        I don't   believe    counsel     is

 5 permitted       to do that .     If he can get a witness         to

 6 testify    --

 7            MR. WARD:     Please , Your Honor .         Counsel    was the

 8 one that put characterization             on there .    If they can do

 9 it , why can't I do it ?

10            THE COURT:      We're not at that bridge           yet .    Let 's

11 see if the chart stay s in evidence,            and we'll see what

12 happen s.

13            MR. WARD:     I feel , Your Honor , that the defense

14 is getting       the short sh rift in this case , frankly .              The

15 court seem s to rule with the government               invariably,       and

16 --

17            THE COURT:      Mr. Ward , I make rulings          the way I

18 see the ball come across the plate .                If it 's a

19 "strike ," it 's a " strike ," and if it 's a "ball ," it 's a

20 "ball ."     I don't care whose position            it is .    I really

21 don't care .       I'm here to be fair to both sides .                So , I

22 don't agree with you at all .

23            I will check and see whether          this re- arraign ment

24 I've got tomorrow       afternoon      can move to the morn ing so

25 that I could clear up some time to deal with any other




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 1 chart issue s.        I don't know      and haven't      seen yet a

 2 chart , so I don't know         what the issue is .

 3            Is that the issue , Ms. Johnston , that 's going to

 4 potential ly rise today ?

 5            MS. JOHNSTON:        The sum chart s are the issue s,

 6 and there are several          of them .       Some of them , as I

 7 said , are summary       chart s that are admissible          in place

 8 of voluminous        records , records      that counsel     has had

 9 copies     of .    The telephone     frequency       chart is just that .

10            THE COURT:      Can you get me copies          of those ?

11            MS. JOHNSTON:        Agent Eveler      has gone to make

12 copies .

13            THE COURT:      If they can be in reduced          form , I

14 can take a look at them and deal with them on a break .

15            MS. JOHNSTON:        I can give the court my copy of

16 the telephone        contact   chart which is two page s instead

17 of one because        it was hard to print up , and I believe

18 it 's going to be CH-2 in term s of the exhibit                number,

19 but I'll have to check that .

20            MR. MCKNETT :       Your Honor , while -- I can address

21 my problem        with the telephone       chart .

22            THE COURT:      The icon problem ?

23            MR. MCKNETT :       Excuse   me ?

24            THE COURT:      Is this your icon problem ?

25            MR. MCKNETT :       Yes , Your Honor .




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 1          THE COURT:      All right .    Tell me what it is .

 2          MR. MCKNETT :      If I can use the machine , I can --

 3          THE COURT:      While you're     comi ng up -- Bea,    any

 4 word on the jury ?

 5          THE CLERK:      He 's here .

 6          THE COURT:      All here ?

 7          Just tell me brief ly what it is , because          we're

 8 ready to bring the jury in .

 9          MR. MCKNETT :      Your Honor , if I can bring this

10 up , I can show the court .

11          THE COURT:      Where it says , "LaNora Ali?"

12          MR. MCKNETT :      If the court look s at the rest of

13 the chart , there 's cell phone icon s, land line

14 telephone    icon s, and the    problem   I have   with this chart

15 is it has a telephone       that 's a land line icon on there

16 -- I've written     on the -- my form here .        The second

17 number   is a cell phone , the third number         is a cell

18 phone , and the    fourth   number    is a telephone    land line

19 but it 's connect ed to a computer .

20          THE COURT:      All right .    Well , let me ask you a

21 question .    Is there any reason       why this chart does n't

22 work just fine if you take all the icon s off ?

23          MR. MCKNETT :      That would be my suggestion .

24          THE COURT:      I know probably     somebody   stay ed up

25 all night long put ting icon s on it .




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 1          MR. MCKNETT :     The picture       haves no evidentiary

 2 value,   and they are somewhat        confusing    with regard       to

 3 my client .    My suggestion       is take all the icon s off .

 4          THE COURT:      Ms. Johnston .

 5          MS. JOHNSTON:      Your Honor , first of all , it is

 6 not -- because , as the court see s, it 's two page s, it

 7 is a board .     It is a big board .        Counsel    can certain ly

 8 cross -examine    him --   the officer      is not going to say

 9 that it 's just a land line .         It 's an icon that

10 represent s telephone      contact    over a telephone      line .

11          THE COURT:      Who is going to be your sponsoring

12 witness ?

13          MS. JOHNSTON:      Detective       Eveler .

14          THE CO URT :    If the court chart is already            made

15 and you really     can't change      these icon s, just make sure

16 you had Detective       Eveler    explain   he put these icon s in

17 for illustration      and this is not to indicate          the

18 number s are cell phone s or regular           phone s, period .

19          MS. JOHNSTON:      Just like it 's not to indicate

20 actual   conversations.      It 's contact      over a telephone

21 line .

22          THE COURT:      Why don't you also -- I don't think

23 this is a matter      of great legal significance , but check

24 and see what difficulty          would it be to simply      cover up

25 the icon s.




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 1            MR. MCKNETT :     Your Honor , I was going to suggest

 2 that as a back up and that as the         government    did on

 3 their first chart , they just put white tape over the

 4 icon s if the chart can't be re done .

 5            THE COURT:      See if you can do that , Ms.

 6 Johnston .     I think this is a pretty        min or issue .

 7            MR. MITCHELL:      Your Honor , I want to address       one

 8 thing with regard       to this .

 9            MR. SUSSMAN :     Judge , can we explore    this in more

10 depth later , or is this when we're do ing it ?

11            THE COURT:      Well , have you got other issue s

12 separate     from this ?

13            MR. SUSSMAN :     I think I do .    I think I have

14 substantive     issue s.

15            THE COURT:      Let the last word be Mr. Mitch ell 's .

16            MR. MITCHELL:      Mine 's a sub stantive   issue as

17 well .

18            THE COURT:      Let 's get the jury in and we'll deal

19 with this when we get to that witness .

20                   (Jury return s at 10 :14 a.m. )

21            THE COURT:      Good morn ing , ladies and gentlemen        .

22 We're ready to proceed .

23            MS. JOHNSTON:      The government    would call Special

24 Agent Stacey.

25 Thereupon,




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1                        FREDERICK J. STACEY       ,

2 having been called as a witness on behalf of the

3 Plaintiff , and having been first duly sworn by the

4 Courtroom Deputy, was examined and testified as

5 follows:

6                            DIRECT EXAMINATION

7        BY MS. JOHNSTON:

8 Q.         Sir , please    state your full name      and occupation .

9 A.         Frederick   J. Stacey --      S T A C E Y -- I'm

10 Supervisory     Special    Agent with the Department        of

11 Homeland     Security .

12 Q.        How long have you been employ ed with the

13 Department     of Homeland    Security ?

14 A.        Since its inception :        Three year s.     Prior to

15 that I was with United        States   Custom s Service     as a

16 special    agent since 19 90 .

17 Q.        What are your duti es and responsibilities , both

18 when you were with Custom s and with Homeland             Security ?

19 A.        Current ly , as a supervisory        special   agent , I

20 supervise     a drug group , and I'm also the tactical

21 supervisor     for the Special     Response    Team .

22 Q.        What is a "S pecial     Response     Team ?"

23 A.        A Special   Response    Team , or SRT, is a tactical

24 team use d for high risk search         warrant s and arrest

25 warrant s.




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 1 Q.       Could you de scribe      your train ing in that area ?

 2 A.       Over the course       of the last 16 year s, I've been

 3 involve d with SRT and SWAT.         I've    gone to numerous

 4 school s -- warrant      entry and tactical       train ing school

 5 back in '91 ; special      entry school and special          response

 6 train ing school .      So , numerous   school s.

 7 Q.       How long have you had one of the duti es be

 8 maki ng entri es during     the -- for the execution           of

 9 search   warrant s?

10 A.       My entire    career    with Custom s and Department             of

11 Homeland   Security .

12 Q.       Call ing your attention        to June 1st of 2004 .

13          Were you asked to assist           Special    Agent Snyder

14 with the execution       of search   warrant s in relation          to

15 this investigation ?

16 A.       I was .

17 Q.       In particular , are you familiar             with a house

18 locate d on Ninth Street in Washington , D. C. ?

19 A.       I am familiar , yes .

20 Q.       What were your responsibilities              on the m orn ing

21 of June 1st in relation        to the single      family    home at

22 Ninth Street ?

23 A.       Our responsibility , on that particular              day , was

24 to make entry on the residence , secure               the residence

25 and all occupant s within       the residence         and then turn it




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 1 over to the Search Team .

 2 Q.         Okay .   Could you brief ly de scribe     for the ladies

 3 and gentlemen of the jury          what you do in term s of

 4 securing     the residence      and maki ng it safe for the

 5 Search Team ?

 6 A.         Sure .   Normally    when a Special    Response    Team is

 7 call ed in to assist      with a warrant      it 's because   there 's

 8 a high er risk .

 9            MR. WARD:    Your Honor , can we object      to what

10 normally     happen s and get to what happen ed in this case ?

11            THE COURT:    Over ruled .

12            BY MS. JOHNSTON:

13 Q.         You may continue .

14 A.         Our responsibilities      are to secure    the residence

15 because    there 's a high er risk factor        that the agent s

16 would normally      en counter .

17            In this particular      case we made entry and we

18 secured    the residence       and secured   the occupant s that

19 were there and then ultimately          turn ed over the

20 residence     to the Search Team .

21 Q.         Could you tell us approximately         what time you

22 and the other member s of your team made entry into the

23 residence ?

24 A.         It was short ly after 6 a.m.

25 Q.         You were one of a team ; is that correct ?




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 1 A.         Correct .   I was part of the Entry Team .         Be sides

 2 being the team leader , I was part of the           Entry T eam .

 3 Q.         Who was the first one who enter ed the         house ?

 4 A.         It would be me .

 5 Q.         Can you de scribe   what occurred     and what you

 6 observe d as you entered       the house ?

 7 A.         Once we made entry through        the front door , it

 8 was still pretty       early , so it was dark in the house ,

 9 and I had noticed       a female    at the top of the stair s.

10 It 's a split -level home , the stair s going upstairs           and

11 downstairs     off the living      room .   At the top of the

12 stair s, I noticed      a female    stand ing there .    I gave her

13 the command     to get down and show me her hands , and I

14 proceed ed up the stair s to secure .          The rest of the

15 team was hind me , and they had to continue             search ing

16 the residence .

17 Q.         Okay .   So you went up the stair s?

18 A.         I w ent up the stairs.       Since there were other

19 team member s follow ing me , I push ed her off to the

20 side , allowing     the other team member s to go past me and

21 continue     to search .

22 Q.         As you went up the stair s, what observation s did

23 you make with regards       to the room s that were on the

24 second   floor ?

25 A.         There were four door s at the top of the land ing ,




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 1 two of which were opened .        One was a bedroom        door , and

 2 direct ly opposite      of the hall way there was an open

 3 bathroom .    The other two door s were bedroom s, and those

 4 door s were close d.

 5 Q.        Did you determine     whether   those door s were also

 6 lock ed or just close d?

 7 A.        They were lock ed .    Other team member s had to

 8 make entry , and those door s had to be breach ed to make

 9 entry .

10 Q.        Now , the -- where was -- strike        that .

11           The woman whom you push ed aside .        Did you later

12 determine    who that was ?

13 A.        Yes .    That was Ms. Dobie .

14 Q.        What observation s if any did you make concerning

15 the bedroom       door that was open ?

16 A.        Once I got to the land ing and got Ms. Dobie off

17 to the side -- we consider        an open door "hot ," which

18 mean s it 's a potential ly dangerous       area for other team

19 member s to en counter .      I brief ly stuck my head in side

20 that bedroom       door and noticed   there was another

21 individual    in the bed lay ing there .       I gave the command

22 for that individual       to get out of the bed and come to

23 me and lie prone on the floor until we had a chance                to

24 secure    the residence .

25 Q.        Did you subsequently      identify   that person ?




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 1 A.       Yes , we did .     That was Mr. Dobie .

 2 Q.       Gold ie Dobie ?

 3 A.       Correct .

 4 Q.       Approximately      how long did it take you and your

 5 team member s to locate       all the individuals      in the house

 6 and secure     them in one l ocation ?

 7 A.       The primary      search   took less than several

 8 minute s -- probably      two to three minute s, and then a

 9 subsequent , secondary      search   took another    few minute s.

10 We were probably     done and had all occupant s secured

11 within   five or six minute s.

12 Q.       How long were you actual ly in the residence,

13 then ?

14 A.       No more than 15 minute s top s.

15 Q.       What do you do ?      You notice    Ms. Dobie , push her

16 to the side ; saw Mr. Dobie in the bed in the open door

17 bedroom .     Do you recall    how many other people       were in

18 the house ?

19 A.       I believe    there were two occupant s, and one of

20 the close d -- be hind one of the        close d bedroom    door s,

21 and I'm not sure if there were one or two in the other

22 bedroom .     There were several     occupant s in the house .

23 Q.       What did you do with the occupant s?

24 A.       We handcuff ed them and brought         them down to the

25 living   room .




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 1 Q.         Is that your standard         procedure ?

 2 A.         Yes .

 3 Q.         Did you take any of them with you when you left ?

 4 A.         No .

 5 Q.         What did you do with the individuals ?

 6 A.         Once we're done securing         the residence , I brief

 7 the team leader        of the   search   team on what we found ,

 8 and we turn everything          over including    the detain ee s,

 9 and then we leave .

10 Q.         So you were there in total no more than 15

11 minute s?

12 A.         That 's correct .

13 Q.         I want to show you some photograph s if I might .

14            Your Honor , may I have        the witness   step down ,

15 please ?

16            THE COURT:     You may .

17            MR. WARD:     Your Honor , may I get a better       view ?

18            THE COURT:     You may .

19            BY MS. JOHNSTON:

20 Q.         I'm going to give you a laser point er .

21            First , asking   you to look at photograph s P-44

22 and P-45 , and if you could stand to the side after

23 you 've look ed at it an d use the laser so everyone            can

24 see , and I'll ask you if you recognize            the residence      in

25 P-44 and P-45 .




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 1 A.         Yes , I do recognize     this .     This is the residence

 2 we executed        the warrant   on June 1st .

 3 Q.         Call ing your attention     to P-46 , the picture

 4 immediate ly next to you on the top row .

 5            Do you recognize      that photograph ?

 6 A.         Yes .    This is the land ing -- the stair s from the

 7 living    room .     The door goes to the living       room ; the

 8 stair s then go up and down from the living             room .    This

 9 is the stair s where I saw Ms. Dobie stand ing at the

10 top .

11 Q.         Could you use the laser to show where she was

12 stand ing ?

13 A.         Right here . (Witness indicating.)

14 Q.         Do you recall     what she was wear ing when you saw

15 her ?

16 A.         Yes .    She was wear ing a sleeve less T- shirt

17 probably      down to her mid -thigh or thereabout .

18 Q.         Similar     to a night shirt ?

19 A.         Correct .     And that 's it .

20 Q.         And her position .      How far was she from the open

21 bedroom    door ?

22 A.         I would say approximately          3' to 4' from the open

23 bedroom    door , which was on the left .

24 Q.         And the bathroom .      How far was she from that ?

25 A.         About the same distance,          since they're   adjacent




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 1 or direct ly across the hall from each other .

 2 Q.        If we can take this one down .

 3           Do you recognize     what's    depict ed in P-48 ?

 4 A.        I do .     This is the bedroom    that I saw Mr. Dobie

 5 lying in the bed .       This was the open door bedroom          that

 6 I saw .

 7 Q.        The only one with the bedroom        door open ?

 8 A.        Correct .

 9 Q.        Where was he when you first observe d him ?

10 A.        He was on the -- facing        the bed -- facing      the

11 head of the bed .       He was on this side , so he would be

12 on the right side .       (Witness indicating.)

13           MR. WARD:      I'm sorry .    Which side , sir ?

14           THE WITNESS:      The right side if you're         faci ng

15 this side right here .        (Witness indicating.)

16           BY MS. JOHNSTON:

17 Q.        Did he follow     your direction s when you told him

18 to ?

19 A.        He did .     I asked him to get out of the bed and

20 crawl to me on the floor .        Since I had Ms. Dobie and

21 was watch ing her at the same time , I want ed to make

22 sure that he was n't in a position          to grab a weapon .         I

23 had him crawl to me prone out on the floor at the head

24 of the bed .

25 Q.        You may resume     the witness    stand .




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 1           THE COURT:       Counsel    and ladies and gentlemen of

 2 the jury , I want you to know that there is a del egation

 3 of Turk ish law student s who are comi ng in to observe

 4 the proceed ings for a moment          with my colleague , Judge

 5 Messi tt e.    Welcome .     Glad to have you here .

 6           BY MS. JOHNSTON:

 7 Q.        Just for clarification 's sake .            You mention ed a

 8 primary   search   and then a secondary         search .

 9           Could you explain      to the jury what the

10 difference     is between     the two and why you do the

11 secondary     search ?

12 A.        Yes , of course .     The primary     search     is those --

13 we look for occupant s in the residence               that are in

14 plain view , those people        that are stand ing or sitting

15 or lying somewhere .         When we do a secondary        search      to

16 look in those area s, the occupant s may not be

17 immediate ly visible       -- for instance , hidi ng in a

18 closet , under a bed , those type s of place s -- so we do

19 a secondary     search     to see if there 's anyone       hidi ng .

20           MS. JOHNSTON:      I have      no further    question s, Your

21 Honor .

22           THE COURT:       All right .     Cross-examination    .

23           MR. WARD:      I have a couple      of question s, Your

24 Honor .

25                                CROSS-EXAMINATION




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1            BY MR. WARD:

2 Q.         Do I refer to you as "special           agent ?    Is that

3 correct , sir ?

4 A.         That 's fine .     Yes , sir .

5 Q.         Special   agent , I assume       you prepared     a report   of

6 your -- the event s you 've just de scribe d; is that

7 correct , sir ?

8 A.         That 's not correct .       Normally    when we're asked

9 to do -- we participate           in a warrant     like this , we

10 prepare     an operation s plan , and that 's the only report

11 that we do prior to the enforcement              action .

12 Q.        What about after the enforcement           action ?

13 A.        We normally      don't do one unless      something

14 un usual happen s and we're required          to prepare     one --

15 for instance , if we use a diversionary             de vice or

16 there 's a shoot ing incident .        Normally     we don't prepare

17 an after action       report .

18 Q.        You received      a telephone     call yesterday      to come

19 here this morn ing to testify ; is that correct , sir ?

20 A.        That is correct .

21 Q.        You were not regular ly summoned          to come in and

22 testify .

23 A.        That 's correct , counselor .

24 Q.        Who was that call from , sir ?

25 A.        Detective    Tom Eveler .




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 1 Q.        Detective     --

 2 A.        Tom Eveler .

 3 Q.        Tom Eveler .

 4           What did Detective         Tom Eveler       tell you you were

 5 comi ng here to testify          about ?

 6 A.        He said that I was probably               going to be need ed

 7 to testify     about the date that we executed              the warrant ,

 8 the position       of the defendant        in relation     to when we

 9 found her and arrested           her .

10 Q.        I'm sorry ?

11 A.        The position       of the defendant         in the residence

12 when we found her and arrested              her .

13 Q.        The position       of what resident ?

14 A.        Ms. Dobie and where we found her .

15           Detective     Eveler    said there were some question s

16 about where she might be in relationship                  to the --

17 Q.        So he told you the question s had been raise d in

18 court yesterday       about where Ms. Dobie was when the

19 entry was made and they need ed you to come in and

20 clarify   that ?

21 A.        That 's correct .

22 Q.        And you immediate ly , of course , went to your

23 file and look ed at the document s relating                to this

24 particular     event of June 1, 2004 , which is over two

25 year s ago .




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1 A.       No , I didn't   go to my file .      When I got the

2 call , I was n't even in the office .         So , no , I didn't

3 re view any file s or note s.

4 Q.       When he said -- first of all , let me ask you

5 this .   Since June 1 of '04, how many of these -- I

6 don't know    what you call them -- " special        entri es " has

7 your team made , sir ?

8 A.       I would say probably       25 or 30 .

9 Q.       And when he -- when this gentleman           call ed you

10 yesterday   and told you this question        had come up in

11 court , did you immediate ly remember        and have a distinct

12 and clear recollection      of the event s of June 1 of '04?

13 A.      Absolute ly .   It was a very distinctive         warrant ,

14 and I do remember     very clear ly what happened       that day .

15 Q.      It was so distinctive , it was distinct           from all

16 the other 25 that you have done ?

17 A.      Absolute ly .   Very much so .

18 Q.      You went in first and you saw Ms. Dobie at the

19 top of the stair s.

20 A.      That 's correct .

21 Q.      And you said she was dress ed in a sleeve less

22 T- shirt that came down to her thigh s.

23 A.      That 's correct .

24 Q.      I think the government       then said , oh , you mean

25 like a night dress .




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 1 A.         I think it was jus t a T- shirt , a sleeve less

 2 T- shirt .

 3 Q.         It was n't a night dress ?

 4 A.         No .   It was a sleeve less T- shirt .

 5 Q.         There were two door s open ; is that right , sir ?

 6 A.         There was a bathroom        door open on the right side

 7 of the hall way and the master          bedroom   on the left-hand

 8 side of the hall way .

 9 Q.         All right .     Where did the name " master      bedroom "

10 come from ?       Is that what you called      it , or is that what

11 Detective     Eveler   call ed it when he call ed you ?

12 A.         I assumed     it was the master    bedroom , since Ms.

13 Dobie was there .        It does n't necessarily      have to be the

14 master   bedroom .     It could be a bedroom .

15 Q.         A bedroom .

16 A.         Right .

17 Q.         All right , sir .    Detective    Eveler    didn't   refer

18 to it as the master        bedroom ?

19            All right .     Did Detective    Eveler    tell you that

20 they believe       that Ms. Dobie had come out of the "master

21 bedroom " or whatever       you want to call it ?

22 A.         I don't think     he -- I don't recall       if he had

23 asked me about that .        He just said that there was a

24 question     about Ms. Dobie 's position       in the hall way and

25 comi ng out of the bedroom .




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 1 Q.       You have a clear and distinct         recollection      of

 2 something   that happened     two year s and one month ago ,

 3 sir , but you can't tell me what Detective           Eveler     said

 4 to you last night ?

 5 A.       The essence     of the conversation      I just recall ed

 6 to you , counselor .

 7 Q.       What I asked you , sir , was did he say to you

 8 that they believe      -- that is Detective      Eveler   and

 9 other s who were on the raid -- that she had come out of

10 that bedroom ?

11 A.       Yes .     And I would say that would probably          be

12 correct .   That was the essence       of what he asked me .

13 Q.       That 's what he said to you ; right , sir ?

14 A.       Yes .

15 Q.       Right .     Now , you said the other two door s were

16 lock ed ; is that right , sir ?

17 A.       That 's correct .

18 Q.       When you say "lock ed ," do yo u mean lock ed with a

19 key ?

20 A.       They were lock ed from the in side .         I don't know

21 if they were lock ed with a key , but my team -- the team

22 member s on my team attempt ed to make entry and found

23 those door s lock ed .     They had to breach      both door s.

24 Q.       Were you there ?

25 A.       I was standing      in the hall way , counselor .




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 1 Ab solute ly .

 2 Q.          You don't know if it was       because   of all the

 3 commotion      out in the hall that somebody         lock ed the

 4 door .

 5 A.          I don't know     why it was lock ed , but it was

 6 lock ed .

 7 Q.          There were actual ly two door s that were opened

 8 and one was to the bathroom ; is that right , sir ?

 9 A.          That 's correct .

10 Q.          You don't know from where Ms. Dobie was stand ing

11 whether     she came out of the bathroom .

12 A.          Right .   She either    came out of the bathroom       or

13 the bedroom .

14 Q.          Or one bedroom      that had an open door ?

15 A.          That 's correct .

16 Q.          Or whether     she came out of one of the other two

17 bedroom s when all the        commotion    start ed , when ever you

18 bash ed in the door or whatever           you did and somebody

19 lock ed the      door .   You don't know if she was left

20 stand ing out in the hall , having          gone to the bathroom

21 and the door s were lock ed be hind her , do you ?

22 A.          No , I don't , counselor .

23 Q.          Goldie Dobie was lying on the right side of the

24 bed ; is that right , sir ?

25 A.          Yes .




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 1 Q.       In bed .

 2 A.       Yes .

 3 Q.       Covered     up ?

 4 A.       Yes .

 5 Q.       Was he asleep or awake ?

 6 A.       Oh , he was awake .

 7 Q.       Were you there for any of the subsequent                search ?

 8 A.       No , I was not .

 9 Q.       All right .        (Cell phone rings   .)     I apologize ,

10 Your Honor for interrupt ing myself .           I stand chastise d,

11 Your Honor .

12          THE COURT:         You're   appropriately     chastise d.

13 Turn it off .

14          BY MR. WARD:

15 Q.       Were you shown photograph s -- first of all ,

16 after you had the telephone           call and you came in here

17 this morn ing I suppose ; is that right ?

18 A.       That 's correct .

19 Q.       You were told to get here early so you could

20 have a talk ing to ?

21 A.       Yeah .     I was told to be ready to          be in the

22 courtroom   by 9:30 .       That 's correct .

23 Q.       But you did meet with somebody              when you got down

24 here to the courthouse ?

25 A.       Yes , I did .       I met with Detective       Eveler   and




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1 Agent Snyder     brief ly .

2 Q.        And the lady sitting       right here , Ms. Johnston ?

3 A.        Correct .     Yes .

4 Q.        And the three of them met with you .

5 A.        Brief ly , yes .

6 Q.        Where was that ?

7 A.        In the U. S. Attorney 's office .

8 Q.        U. S. Attorney 's office .

9           What was said about what had happened           in court

10 yesterday ?

11 A.       I was just asked to recall       what happened     --

12 there was no discussion        on what happened    yesterday     in

13 court , but they asked me to recall        what happened     the

14 day of the warrant       and where I saw Ms. Dobie and --

15 Q.       At the meet ing this morn ing , did Detective

16 Eveler   or anyone   else say the same thing that Detective

17 Eveler   told you last night on the telephone , that Ms.

18 Dobie had come out of that open door bedroom ?

19 A.       There might have been some mention          of that .

20 They asked me if I knew if Ms. Dobie had come out of

21 the bedroom , and I said all I knew was that she was on

22 top of the land ing -- very top , and I had no idea what

23 room she came out of because        I didn't   see her come out

24 of a room .   I saw her at the land ing .

25 Q.       I'm sorry .     I didn't   mean to cut you off .        I




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 1 thought   you had finish ed .

 2           Of course    you have been shown photograph s of all

 3 the people     that have been arrested          or at least   detained

 4 in that residence ; is that correct ?

 5 A.        This morn ing ?

 6 Q.        Yes .

 7 A.        No , that 's not correct .      No , I was n't shown any

 8 photograph s of anyone         who was arrested     that day or

 9 detain ed .

10 Q.        Okay .    I notice     that counsel    didn't   ask you to

11 -- if you saw Ms. Dobie in the courtroom              -- anywhere   in

12 the courtroom .

13           Do you see Ms. Dobie anywhere           in the courtroom ?

14 A.        Ms. Dobie 's right here at the end of the table .

15 Q.        You're    sure about that .

16 A.        Relatively    sure .

17 Q.        When you say "relative ly ," can you give us a

18 percentage ?

19 A.        I would say 50 percent        sure .    I'm not that sure .

20           When I saw Ms. Dobie that morning , it was dark

21 and she was in that T- shirt .

22 Q.        The T- shirt , what , covered     her up so you

23 could n't see her face ?

24 A.        It was dark that morn ing, counselor .

25 Q.        I see .




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 1            Do you usually         go in in the dark ?       Don't you

 2 turn the light s on in view of the apparent                  danger    you

 3 believe     you're    faci ng ?

 4 A.         We have flashlight s on our weapon s system s.

 5 Q.         Right .     But you're     only 50 percent       sure it was

 6 her .     You're    not sure that it was one of the            ladi es

 7 sitting     back on the back row , for example ?

 8 A.         No .

 9 Q.         All right , sir .

10            And you were sure -- well , forget              that .    I'll

11 withdraw     that .

12            That 's all I have sir .          Thank you .

13            THE COURT:      Any re direct ?

14            MS. JOHNSTON:          Just a couple    of question s.

15                          REDIRECT EXAMINATION

16            BY MS. JOHNSTON:

17 Q.         When Detective         Eveler   call ed you yesterday       to

18 see if -- was it to see if you would be available                      to

19 come in today ?

20 A.         Yes .

21 Q.         During     that conversation , did Detective             Eveler

22 discuss     with you any of the testimony           that occurred           in

23 court ?

24 A.         No , not at all .

25 Q.         When you met with Detective            Eveler , did he tell




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 1 you where Ms. Dobie was , or did he ask you question s

 2 about what you recall       that morn ing ?

 3 A.        No .   He just asked me what I recall ed from the

 4 warrant    that day .

 5 Q.        In deed , was that in my presence ?

 6 A.        That 's correct .

 7 Q.        In addition     to that , when you were shown the

 8 photograph s, were you given any instruction s concern ing

 9 what door way s you should      identify   as being the open

10 door s or close d door s?

11 A.        No .   We just look ed at the photograph        and saw

12 which door s were identifi ed and which door s were the

13 bedroom    and the bathroom .

14 Q.        Who provided     that information ?

15 A.        I provide d the information .       I was there .     I

16 knew exact ly where the bedroom        and the bathroom      was .

17 Q.        At the end of your time in the residence , when

18 you turned       Mr. and Mrs. Dobie and the other occupant s

19 over to the Search Team , do you recall          who the lead

20 agent was ?

21 A.        Not offhand .     I'm sorry .

22 Q.        What did you advise     the individual      concern ing

23 the location      of Mr. and Mrs. Dobie , if you recall .

24           MR. WARD:     Objection , Your Honor .

25           THE COURT:      Re state the question .




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 1           BY MS. JOHNSTON:

 2 Q.        What did you tell the team leader -- the search

 3 team leader      concern ing the location     of Mr. and Mrs.

 4 Dobie when you enter ed the        residence ?

 5           MR. WARD:     Objection .

 6           THE COURT:     Over ruled .

 7           THE WITNESS:     I just advise d the team leader

 8 where I found Ms. Dobie that she was the first occupant

 9 of the residence       I had found and where she was and then

10 where I      found Mr. Dobie in the bedroom , and then other

11 member s of the team advise d wh ere they found their

12 occupant s.

13           BY MS. JOHNSTON:

14 Q.        Now , in term s of -- you've     had occasion     to

15 testify      about this incident    at a previous    hear ing as

16 recent ly as January      of 2006 ; is that correct ?

17 A.        That is correct .

18 Q.        When you observe d Ms. Dobie , what if anything

19 did she say to you while she was up there in that

20 hall way ?

21           MR. WARD:     Objection .

22           THE COURT:     Over ruled .

23           THE WITNESS:     Initial ly she wanted      to know why

24 we were there and what was going on .            We told her we

25 were execut ing a search      warrant   and somebody     would




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 1 explain   to her what was going on .        Then she advise d me

 2 she had to go to the bathroom , and it was urgent             and

 3 she was going to have an accident          if we didn't     allow

 4 her to go to the bathroom .

 5           BY MS. JOHNSTON:

 6 Q.        That w as while you were up in the top hall way

 7 area ?

 8 A.        That 's correct .

 9           MS. JOHNSTON:       I have nothing   further .

10           THE COURT:      Any re cross ?

11           MR. WARD:      One point .

12                          RECROSS EXAMINATION

13           BY MR. WARD:

14 Q.        Ms. Johnston     asked you if you were told any of

15 the testimony     from court yesterday , and you said no .

16 A.        That 's correct .

17 Q.        Let 's be clear .     In that call that was made to

18 you by detective       Eveler   yesterday , he said to you that

19 they , being the prosecution        team , believe d that Ms.

20 Dobie had come out of that bedroom , the one with the

21 open door .     That 's what you just testifi ed to ; is that

22 right , sir ?

23 A.        It was something      to that effect .    They want ed to

24 know where she was in relation         to the bed room and the

25 bathroom .




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 1 Q.         Not just where she was .

 2            I want to make this clear .        He said something        to

 3 you -- if not in these exact words , something            to the

 4 effect    that they all believe d she had come out of that

 5 bedroom    with the open door ?

 6 A.         It could have been something        to that effect .

 7 Q.         That 's pretty   much the same thing that was said

 8 to you this morn ing .

 9 A.         Yeah .   I would say that 's probably      correct ,

10 counselor .

11            MR. WARD:    Thank you .

12            THE COURT:    All right .    Anything    further ?

13            MS. JOHNSTON:     Nothing   further .

14            THE COURT:    You may step down .       Thank you very

15 much .

16                         (Witness   excused    at 10 :38 a.m. )

17            MS. GREENBERG:     Your Honor , the government         call s

18 Detective     Nolan Lockard .

19 Thereupon,

20                             NOLAN LOCKARD ,

21 having been called as a witness on behalf of the

22 Plaintiff , and having been first duly sworn by the

23 Courtroom Deputy, was examined and testified as

24 follows:

25                         DIRECT EXAMINATION




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 1           BY MS. GREENBERG:

 2 Q.        Would you state your name , sir , and spell your

 3 last name please ?

 4 A.        I am Detective      No lan Lockard .    Spell ing on the

 5 last name is L O C K A R D.           My ID is 1307 , current ly

 6 with the Prince       George's    County    Police Department .

 7 Q.        You're    a detective    with the Prince      George's

 8 County   Police Department ?

 9 A.        That 's correct .

10 Q.        Could you give the -- what area do you work in ?

11 What subject       area do you work in ?

12 A.        I work in Prince       George's    County , Maryland .

13 Q.        What law s are you charge d with enforci ng ?            What

14 group are you in ?

15 A.        I'm with the Narcotic s Enforcement           Division .

16 Q.        Could you tell the jury some of your background ,

17 train ing and experience         for your job as a narcotic s

18 detective     with the Prince      George's    County   Police

19 Department ?

20 A.        Sure .

21 Q.        Start ing back with when you start ed with the

22 M. P. D. C.

23 A.        Sure .    I work ed with M. P. D. C. for a year, and

24 then I convert ed over to the Prince George 's County

25 Police Department , where I         went to their academy .        From




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1 there --

2 Q.          What year was that , sir ?

3 A.          That was 19 85 .

4 Q.          You went to the police     academy.     What was your

5 first assign ment?

6 A.          My first   assignment   was work ing patrol        at Oxon

7 Hill P olice Station       as a uniform ed officer .

8 Q.          Did you come across     narcotic s offenses        as a

9 patrol   officer ?

10 A.         Some .   Not much .

11 Q.         You were charge d with en forci ng it ?

12 A.         Yes .

13 Q.         What was your next job after patrol         officer ?

14 A.         I went to the Street Narcotic s Section .

15 Q.         What was the name of that division ?

16 A.         That was call ed Street Narcotic s Section .

17 Q.         What did you do there ?

18 A.         That 's where I    work ed as an under cover officer

19 and I purchase d drug s f rom the street         deal er .

20 Q.         What did you do after that ?

21 A.         I went to Special     Operation s D ivision       as a

22 tactical     officer .

23 Q.         How long were you there ?

24 A.         Over five year s.

25 Q.         Where did you go next ?




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 1 A.       I went back to narcotic s as -- went to the Major

 2 Narcotic s Section .

 3 Q.       How long have you been with the Major Narcotic s

 4 Section ?

 5 A.       Over seven year s.

 6 Q.       Have you conduct ed search       warrant s related        to

 7 narcotic s activity ?

 8 A.       That 's correct .     Yes , I have .

 9 Q.       I'm sure you didn't      keep specific     count of them ,

10 but can you give the jury an approximation             about how

11 many search    warrant s you've      been involve d with in the

12 narcotic s area ?

13 A.       Over 200 or more .

14 Q.       In your work as a detective         in the S pecial

15 Narcotic s Section     with Prince     George's   County    Police

16 Department , were you asked by Detective           Eveler    to

17 assist   with a search     warrant    of 36 Farragut    Pl ace ,

18 Northwest , Washington      D. C. on June 1st 2004 ?

19 A.       That 's correct .

20 Q.       What was your role with respect          to the search         of

21 that residence ?

22 A.       My role was to re cover all the evidence            --

23 pertinent   evidence     associate d with the case , make sure

24 that I leave a search       warrant    at the residence , finish

25 up a search    warrant    return , and make sure the evidence




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 1 get s back to the Command        Post .

 2 Q.        Showing   you what 's been mark ed as P-84 .

 3           Do you recognize      that picture ?

 4 A.        Yes, ma'am .

 5 Q.        And you see the "36 " on the front of it ?

 6 A.        Yes, ma'am .

 7 Q.        Could you tell the jury what we're look ing at

 8 here in P-84 ?

 9 A.        This is the house where we conduct ed the search

10 warrant   on June 1st, 2004.

11 Q.        36 Farragut    Place , Northwest,      Washington , D. C. ?

12 A.        That 's correct .

13 Q.        Did you also execute       any arrest    warrant s while

14 you were there ?

15 A.        Yes , we did pick up a subject .

16 Q.        Who did you pick up ?

17 A.        It was Learley      Goodwin .

18 Q.        Was he at the house when you arrive d?

19 A.        Yes, ma'am .

20 Q.        Did you also re cover certain       document s?

21 A.        Yes, ma'am .

22 Q.        I'd like to show you first what 's been mark ed as

23 Goodwin   1.

24           If I may approach , Your Honor .

25           THE COURT:     You may .




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 1            MR . WARD:     I'm sorry .        What was that photo

 2 number ?

 3            MS. GREENBERG:          When I get back there , I'll tell

 4 you , counselor .

 5            BY MS. GREENBERG:

 6 Q.         Do you see that ?         I'm going to put that up on

 7 the screen .

 8 A.         Yes, ma'am .

 9            MS. GREENBERG:          Mr. Ward , the photo number         is ,

10 for the record , P-84 .

11            MR. WARD:      I'm sorry .        PA- 4?

12            MS. GREENBERG:          P-84 .

13            MR. HALL:      P-84 .

14            MR. WARD:      Oh , P-84 .       Thank you .     I'm sorry .

15            BY MS. GREENBERG:

16 Q.         Can you see that on the screen                in front of you ?

17 A.         Yes, ma'am .

18 Q.         Is this a document , Goodwin               1, that you received

19 from the residence ?

20 A.         Yes, ma'am , it is .

21 Q.         What area of the residence ?

22 A.         That was locate d in the master               bedroom   of the

23 residence .

24 Q.         With respect     to the document s that you seize d,

25 did you note for each document               where in the master




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 1 bedroom   you obtain ed it or general ly you put down

 2 "master   bedroom ?"

 3 A.        General ly , master      bedroom .

 4 Q.        What is the title of this document ?

 5 A.        This look s like an insurance           form .

 6 Q.        Could you read it on the screen            into the record

 7 for the jury what is contain ed on Goodwin                 1?

 8 A.        Says , "Paula 's School       of Perform ing Art s will

 9 receive   credit     for all premium        paid on behalf       of

10 Learley   Goodwin     after July 1st of 2003 ."

11 Q.        And continue , please .

12 A.        "If you have any question , please               contact     me at

13 30 1-36 0-8703.      Sincere ly ," -- look s like , "Gary A. -"

14 -- I cannot       pronounce    the last name .

15 Q.        Therkildsen     or something       like that ?

16           MR. MARTIN:         Objection .

17           BY MS. GREENBERG:

18 Q.        Would you spell it if you can't pronounce                    it ,

19 sir ?

20 A.        Sure .    T H E R K I L     D S E N .

21 Q.        The gentleman 's title?

22 A.        Director of Special Investigation Unit,                 MAMSI

23 Life & Health Insurance Company             ; cc : Learley      Goodwin .

24 Q.        This is a copy ?

25 A.        Yes .    It says , "copy ."




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 1 Q.         And also contain ed as part of Goodwin         1 -- can

 2 you tell the jury what we're look ing at here ?

 3 A.         Yes .    That is a MAMSI insurance       card with

 4 member 's number       of M57754973201 .

 5 Q.         In whose name ?

 6 A.         Member    name is Goodwin       -- last name Goodwin ,

 7 first name Learley .

 8 Q.         Effective      date ?

 9 A.         7/1 /19 96 .

10 Q.         Can you read in the "group name " for this MAMSI

11 card ?

12 A.         Group name is Paula 's School of Perform ing --

13 Q.         Look s like an A?

14 A.         I can't see .      It just stopped     on the screen .

15 Q.         Referenci ng Goodwin       2.    I'll put that up on the

16 screen .

17            Do you recognize        what we're see ing here ?

18 A.         It says Atlantic        City , Tropicana C asino &

19 Resort .

20 Q.         Did you re view this exhibit         in connection    with

21 your testimony       here today ?

22 A.         Yes, ma'am .

23 Q.         From where was it re covered ?

24 A.         That was locate d also in the master         bedroom .

25 Q.         What is the -- that 's at the Farragut         P lace




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 1 add ress we're talk ing about here , 36 Farragut           Place ,

 2 Northwest ?

 3 A.       That 's correct .

 4 Q.       What is the number       and name reference d on the

 5 top here ?

 6 A.       It has the name "Nod,"        then it 's cros sed out

 7 with the spell ing N O D, an d then the spell ing of

 8 "Nard"   again , N A R D, and the      telephone     number   is

 9 240 -46 2-39 65 .

10 Q.       On the back of this , is there a name and some

11 number s here ?

12 A.       Yes .      With the name of Tiffany       A. Vessel s.

13 Look s like a date of birth of 6/15 /75 , then a number              of

14 9-6-27 55 .

15 Q.       Can you read these two number s here under the

16 scribble d out --

17          MR. MARTIN:        Your Honor , objection .

18          The document       speak s for itself .     This is a waste

19 of time .

20          THE COURT:        If he can read it .

21          THE WITNESS:        No, ma'am , I cannot     make out the

22 two number s.

23          BY MS. GREENBERG:

24 Q.       Thank you .

25          Goodwin      3.   Can you tell us where you got this




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 1 document ?

 2 A.         This is also a document      that was locate d in the

 3 master    bedroom .

 4 Q.         Could you read into the record        the name here at

 5 the bottom     of that page ?

 6 A.         It says , "Raynard    Dorsey."

 7 Q.         Goodwin    4.   Do you recognize   -- if I may

 8 approach .

 9            THE COURT:      Yes , you may .

10            BY MS. GREENBERG:

11 Q.         Do you recognize     this exhibit ?

12 A.         Yes, ma'am .     These are small baggi es .

13 Q.         Where did you re cover that ?

14 A.         That was locate d in the master       bedroom .

15 Q.         And we're talk ing about 36 Farragut        P lace ?

16 A.         That 's correct .

17 Q.         What cause d you , as the person      in charge   of the

18 evidence     seizure , to take the small baggi es ?

19 A.         In my experience     we take small baggi es because

20 we 're use d to find ing drug s in side of small baggi es .

21 That 's where they place the drug s.

22            MS. GREENBERG:    Your    Honor , may I publish

23 Goodwin    4 to the jury , please ?

24            THE COURT:      Yes , you may .

25            MS. GREENBERG:      I'll hand it to Detective          Eveler




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 1 so I don't have     to go around        the table .

 2           Goodwin   5 -- if I may approach            again , Your

 3 Honor .

 4           THE COURT:      Yes , you may .

 5           BY MS. GREENBERG:

 6 Q.        Do recognize     Goodwin     5?

 7 A.        Yes, ma'am .

 8 Q.        Where was Goodwin      5 obtain ed ?

 9 A.        From the master      bedroom .

10 Q.        Could you tell the jury what Goodwin               5 is ?

11 A.        It look s like a check ing account            from Wachovia,

12 with the name of Tiffany        A. Vessel s.

13 Q.        And the period     for ?

14 A.        It has 3/18 /2004 through           4/15 /2004 .

15 Q.        Goodwin   6.    Can you tell the jury from where we

16 got -- where you got Goodwin            6?

17 A.        That was also another            document   that was locate d

18 in side the master       bedroom .

19 Q.        And what is Goodwin         6?

20 A.        Look s like a receipt        from Budget Rent-A-Car .

21 Q.        In whose name ?

22           Let me zoom in on this .

23 A.        Look s like Maurice        Alexander .

24 Q.        And the date ?

25           Can you see the date here up top ?




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1 A.        I see a "0," "14",          look s like , "05."

2 Q.        That says "valid driver 's license ?"

3 A.        Yes, ma'am .

4 Q.        Can you see the due date here ?

5 A.        Due date is 2/27 /03.

6 Q.        Goodwin 7.       C an you tell us from where you got

7 that ?

8 A.        It 's another     document     that was locate d in side of

9 the master     bedroom .

10 Q.       At the    Farragut     P lace address ?

11 A.       That 's correct .

12 Q.       What is Goodwin        7?

13 A.       A B udget Rent-A-Car         receipt .

14 Q.       Can you see the name of the person ?

15 A.       Tiffany     A. Vessel s.

16 Q.       And the due date for the car due back ?

17 A.       1/19 /03.

18 Q.       On this one , what is the time out ?

19 A.       Time out is      1/15 /03.     Time is 13 :17 .

20 Q.       Goodwin     8.   Can you tell us from where you got

21 this document ?

22 A.       Another     document    that was taken from the master

23 bedroom .

24 Q.       What is Goodwin        8?

25 A.       It look s like a Chevy Chase bank receipt .




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 1 Q.        Who is it for ?

 2 A.        Learley     R. Goodwin .

 3 Q.        What is the address ?

 4 A.        The add ress is 9002 Bexhill             Court , Hyattsville ,

 5 Maryland , 20 783 .

 6 Q.        What is this for Chevy Chase Bank ?

 7 A.        Statement        of Account .

 8 Q.        What is the statement           date on this account ?

 9 A.        The statement        date is February       8, 2002 .

10 Q.        Goodwin     9.     Can you tell us from where you got

11 Goodwin    9?

12 A.        It 's another       document    that was locate d in the

13 master    bedroom .

14 Q.        What is this relating           to ?

15           Can you read that there ?

16 A.        It says , "HJA Hospitality             Enterprise s

17 Develop ment , Incorporated , 18 03 Rhode Island                Avenue ,

18 Northeast ."

19 Q.        What city and state ?

20 A.        "Washington , D. C. , 20018 ."

21 Q.        Goodwin 10        contain s two document s.          Can you tell

22 us from where you got these two document s?

23 A.        One of the document s is upside             down .

24 Q.        Oh , thank you very much .

25           Can you tell us from where you got these two




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 1 document s?

 2 A.        From the master      bedroom .

 3 Q.        At Farragut    P lace ?

 4 A.        That 's correct .

 5 Q.        Start ing with the top document .        Can you tell us

 6 what this is ?

 7 A.        It 's American     Express   -- it look s like it 's a

 8 receipt   for --

 9 Q.        For what ?

10 A.        It 's a receipt     for --

11 Q.        For what company ?

12 A.        United   States    Postal Service .

13 Q.        What's   direct ly above "United S tate s Postal

14 Service ?"

15 A.        "Ex press Mail ."

16 Q.        Who is it from ?

17 A.        Lo bo 's Dis count Car -- look s like it says ,

18 "C enter ."

19 Q.        What's   the address ?

20 A.        1124 Florida      Avenue , Northeast , Washington , D.

21 C. , 20002 .

22 Q.        Who is it to ?

23 A.        It look s like it says the name of "Michael

24 Thurman ."

25 Q.        And the city and state it 's being sent to ?




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1 A.         North Houston , Texas .

2 Q.         Do you see this date in here ?            Can you make that

3 out ?

4 A.         Look s like the month is "4," and I can't make

5 out the date .       Look s like a "10," then look s like a "4"

6 on the year .

7 Q.         Show ing you the second       part of Goodwin       10 .   Do

8 you see that there ?

9 A.         Yes, ma'am .

10 Q.        There 's two sides with writing           on it ; is that

11 correct ?

12 A.        That 's correct .

13 Q.        Could you read into the record , start ing with

14 "Nathan ," and continui ng through           "Mike " the name s and

15 number s?

16 A.        It has "Nathan ," and look s like a telephone

17 number    of "246 -8520 ."      Then it has , "Mike Thurman ," and

18 the telephone      number    is "837 -8356 ."      Then there 's

19 another     one be low that .     It 's "30 1-213 -49 34 ."

20 Q.        Moving   on to Goodwin      11 .     It contain s two

21 document s.     Where did you get these two document s?

22 A.        In side the master       bedroom .

23 Q.        The Farragut      P lace add ress ?

24 A.        Yes, ma'am .

25 Q.        36 Farragut    Place ?




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1 A.       That 's correct .

2 Q.       Again , is this similar         to a card we saw earlier

3 in your testimony ?

4 A.       Yes, ma'am .

5 Q.       Start ing with that .      Can you tell the jury what

6 we're look ing at here ?

7 A.       It 's a MAMSI -- l ook s like an insurance          card .

8 Q.       In whose name ?

9 A.       Goodwin , Learley .     Last name Goodwin .

10 Q.      And the expiration      date ?

11 A.      Expiration     date is 6/30 /02.

12 Q.      And the effective      date ?

13 A.      Effective    date is 7/1/ 96 .

14 Q.      And the group name ?

15 A.      Group name is Paula 's School of Perform ing A.

16 Q.      And the other part of Goodwin            11 is a two -side d

17 document ; is that correct ?

18 A.      Yes, ma'am .

19 Q.      On the backside     of this business        card , could you

20 read in that information       for the record , please ?

21 A.      The name is "Steve ," with a telephone           number ,

22 area code (281) 630 -6498, and it has "Texas " on it .

23 Q.      Turn ing next to Goodwin         12 .   Can you see that up

24 on your screen ?

25 A.      Yes, ma'am .




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 1 Q.          Can you tell the jury from where you got this

 2 document ?

 3 A.          In side the master    bedroom .

 4 Q.          At the 36 Farragut      P lace , Northwest    address ?

 5 A.          That 's correct .

 6 Q.          What is this document ?

 7 A.          It 's a Nextel    bill .

 8 Q.          If we could zoom in for a second .

 9             Who 's the account    name ?

10 A.          Lo bo 's Dis count Car Center .

11 Q.          And the statement     date ?

12 A.          The s tatement    date is October 7 , 2003 .

13 Q.          Covering     what bill ing period ?

14 A.          The bill ing period        is September   '03 to October

15 2, 2003 .

16 Q.          And the total amount         due ?

17 A.          $773 .85 .

18 Q.          On the bottom     here does it have an address        for

19 Lobo 's ?

20 A.          Yes, ma'am .

21 Q.          Could you read in the name and the add ress for

22 Lobo 's?

23 A.          Lo bo 's Dis count Car Center .       The address   is 1124

24 Florida     Avenue , Northeast , Washington , D. C. ; ZIP code

25 is 20002 .




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 1 Q.         And you f ound this at the Farragut            P lace in

 2 Northwest     Washington     D. C. address       you were search ing ?

 3 A.         That 's correct .

 4 Q.         In what room ?

 5 A.         The master    bedroom .

 6 Q.         Show ing you Goodwin          12 A, previous ly introduced

 7 into evidence .        Is this a document        that you seize d --

 8 is this a document        that you seize d on that date , June

 9 1st 2004 ?

10 A.         That 's correct .

11 Q.         From what room ?

12 A.         The master    bedroom .

13 Q.         What is Goodwin       12 A?

14 A.         It 's a Verizon     bill .

15 Q.         Could you tell jury what telephone             number    this

16 is for ?

17 A.         Telephone    number    is (202) 38 8-9033 .

18 Q.         And the bill ing date ?

19 A.         Bill ing date is 12 /13 of '03.

20 Q.         Who is it sent to ?

21 A.         Paul Sinclair.        The address     is 1124 Florida

22 Avenue, Northeast, Washington,               D. C. , 20002 .

23 Q.         I neglect ed to ask you .          On the   Nextel   bill --

24 on Page 2 of the Nextel          bill , which is Goodwin 's

25 Exhibit 12 .     Is there a telephone           number   next to Lobo's




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 1 Discount Car C enter ?

 2 A.        Yes, ma'am .       I see "dis count car center ," and

 3 the telephone       number     is (202) 409-3452 .

 4 Q.        That 's in relation       to the Nextel    bill that 's

 5 mark ed as Goodwin      12 ?

 6 A.        That 's correct .

 7           MS. GREENBERG:         Your Honor , may I approach ?

 8           THE COURT:      Yes , you may .

 9           BY MS. GREENBERG:

10 Q.        Show ing you what 's been mark ed as Goodwin           13 .

11           Do you recognize        these ?

12 A.        Yes, ma'am .

13 Q.        Where did you re cover these ?

14 A.        Those are money strap s.          We re covered   them from

15 the master    bedroom .

16 Q.        At the Farragut        Place address ?

17 A.        That 's correct .

18 Q.        Could you give the jury some idea about the

19 de nomination s that we're see ing here for the money

20 wrapper s?

21 A.        The money wrapper        -- this package    of money

22 wrapper   has $100 , $1,000 , $500 , $2,000 , $10,000         --

23 Q.        They're    all -- those are just example s, but

24 they're   all contain ed within        this exhibit , goodwin      13 ?

25 A.        That is correct .




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 1 Q.       From where did you fin d them ?

 2 A.       Master    bedroom .

 3          MS. GREENBERG:          Your Honor , may I publish          to the

 4 jury Goodwin      13 ?

 5          THE COURT:       Yes , you may .

 6          BY MS. GREENBERG:

 7 Q.       Show ing you what's        been mark ed as Goodwin          14 .

 8          Do you recognize         that exhibit ?

 9 A.       That 's correct .

10 Q.       From where did you obtain             Goodwin    14 ?

11 A.       It 's another     document    that was re covered          from

12 the master    bedroom .

13 Q.       At the Farragut       Place   address ?

14 A.       That 's correct .

15 Q.       For the benefit         of the jury , can you tell the

16 jury in whose name is Goodwin           14 ?

17 A.       Tiffany     Vessel s.

18 Q.       For what number ?

19 A.       (202) 321-6685 .

20 Q.       What kind of bill is this exhibit                Goodwin    14 ?

21 A.       It look s like a Sprint telephone               bill .

22          MS. GREENBERG:          Your Honor , may I approach ?

23          THE COURT:       Yes , you may .

24          BY MS. GREENBERG:

25 Q.       Show ing you two document s that are mark ed as




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 1 part of Goodwin        15 .   I'll put them one at a time on the

 2 screen .

 3            Do you remember        those ?   They were previous ly

 4 introduced     into evidence .

 5 A.         Yes, ma'am .

 6 Q.         From where were these re covered ?

 7 A.         The master     bedroom .

 8 Q.         At the Farragut        P lace address ?

 9 A.         That 's correct .

10 Q.         Start ing with the first document             out of Goodwin

11 15 .   What is that ?

12 A.         It 's the Western Union telegram          .

13 Q.         Who is indicated        to be the send er ?

14 A.         Richard     Willis .

15 Q.         Who is the receiver ?

16 A.         Rodney G reen .

17 Q.         And the available        end destination ?

18 A.         Houston , Texas .

19 Q.         Can you see the date there ?

20 A.         3/18 /02.

21 Q.         And the time ?

22 A.         The time is 4:58 p.m.

23 Q.         And this document        attach ed to it -- that was

24 attach ed to it .        How did that come to be attach ed to

25 it ?




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 1 A.         It 's staple d to it .

 2 Q.         Was this re covered      like this ?

 3 A.         Yes, ma'am .

 4 Q.         In the bedroom       at Farragut   P lace ?

 5 A.         Master   bedroom .

 6 Q.         And the second       part of Goodwin     15 .   Do you

 7 recognize     what that is ?

 8 A.         That is also a Western       Union Telegram .

 9 Q.         And this , similar ly , has a front and then a

10 customer     receipt   tape staple d to the larger         Western

11 Union document .

12 A.         That 's correct .

13 Q.         Is that how it was re covered          by you and your

14 team ?

15 A.         Yes, ma'am .

16 Q.         Who is the send er ?

17 A.         The send er is Tiffany      Vessel s.

18 Q.         And the recipient ?

19 A.         Steve n Ross .

20 Q.         And available    in ?

21 A.         That 's Houston , Texas .

22 Q.         And the date ?

23 A.         3/18 /02.   Time is 5:20 p.m.

24 Q.         Moving   on to Goodwin     16 .

25            Your Honor , I may approach ?




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 1          THE COURT:      Yes , you may .

 2          BY MS. GREENBERG:

 3 Q.       Do you recognize        Goodwin   16 ?

 4 A.       Yes, ma'am .

 5 Q.       What is Goodwin        16 ?

 6 A.       It look s like an address         book .   I t has number s

 7 in it -- telephone       number s.

 8 Q.       Are there also add itional         piece s of paper that

 9 are made part of Goodwin          16 ?

10 A.       Yes .

11 Q.       Where did you re cover that ?

12 A.       In the master     bedroom .

13 Q.       At the Farragut        P lace address ?

14 A.       Yes, ma'am .

15 Q.       Were these little        yellow   stick ies on it when you

16 re covered   it ?

17 A.       Yes, ma'am .

18 Q.       These stick ies -- was the book like that ?

19 A.       Are you talk ing about the yellow           stickies ?

20 Q.       Yes .

21 A.       No .    The book was without       stickies .

22 Q.       So , as a book like that ?         (Indicating.)

23 A.       It was just a plain book .

24 Q.       And from where was that re covered ?

25 A.       Master     bedroom .




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 1 Q.         Goodwin    17 .    Do you recognize      that exhibit ?

 2 A.         Those are some more money            strap s.

 3 Q.         From where was that re covered ?

 4 A.         Master    bedroom .

 5 Q.         Were they in a different            place than the other

 6 money wrapper s?        Is that why they're         separate ?

 7 A.         Yes, ma'am .

 8            MS. GREENBERG:        If I may approach         again , Your

 9 Honor .

10            THE COURT:        Yes , you may .

11            BY MS . GREENBERG:

12 Q.         Goodwin    18 .    Could you tell the jury what we're

13 look ing at here ?

14 A.         Those are ra zor blades .

15 Q.         Were they package d in a white contain er ?

16 A.         Yes, ma'am .

17 Q.         Why did you seize razor blades ?

18 A.         Through    my train ing and experience , that 's just

19 one of the tool s that 's use d to cut drug s.

20            MS. GREENBERG:        Your Honor , what 's the court 's

21 pleasure    on publish ing razor blades ?            What's    the

22 court 's practice ?

23            THE COURT:        Just be care ful .     We make no

24 representation s, ex press or im pli ed .            Be care ful with

25 the razor blades .




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 1           MS. GREENBERG:      Your Honor , with that

 2 admonition , I will publish          Goodwin    18 .

 3           I didn't know     what the court 's practice            was on

 4 that .

 5           THE COURT:      All right .

 6           BY MS. GREENBERG:

 7 Q.        If I may approach         again with Goodwin     19 .

 8           Could you tell the jury what we're look ing at

 9 here ?

10 A.        Look s like another        phone book that was locate d

11 at the address .       It 's a calendar      with telephone       number s

12 in it .

13 Q.        From what location ?

14 A.        The master    bedroom .

15 Q.        And again , these stickies          on it .   Is that

16 something    that was done for trial practice , not by --

17 it wasn't    re covered   like that ?

18 A.        That 's correct .        It was   trial preparation , not

19 practice .

20 Q.        And just for the record , so we can keep track of

21 the telephone       book s, what is on the front of Goodwin            19

22 which you re covered      from the master        bedroom   at Farragut

23 Place ?

24 A.        "2004 .    Team work .     Together   we achieve    the

25 extraordinary ."




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 1 Q.        In the bedroom      was there a night stand ?

 2 A.        Yes, ma'am .      Correct .

 3 Q.        Did you also search       the night stand ?

 4 A.        Yes , we did .

 5 Q.        Did you re cover any additional        document s

 6 specifically      from the night stand ?

 7 A.        Yes, ma'am .

 8           MS. GREENBERG:       If I may approach    again , Your

 9 Honor .

10           THE COURT:       Yes , you may .

11           BY MS. GREENBERG:

12 Q.        Show ing you Government 's Exhibit       Goodwin    20 .

13 That 's a large number        of exhibit s, if you want to take

14 a second    to look through      those .

15 A.        (Witness indicating.)

16 Q.        Could you tell the jury if you know from where

17 in the master      bedroom    you recovered   what's   mark ed as

18 Goodwin    20 ?

19 A.        These document s came from the night stand in the

20 master    bedroom , and it 's a bunch of telephone        number s.

21 Q.        Were these little      green stickies    on them before ,

22 or is that something         that was done as part of trial

23 prep ?

24 A.        Yes , it 's for the trial prep .

25 Q.        Where was the night stand in relation           to the




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 1 bed ?

 2 A.        I think it was on the left side , if I recall .

 3 Q.        In what proximity        to the bed ?

 4 A.        Real close .     It 's kind of tight quarter s in the

 5 bedroom .

 6 Q.        Let me show you certain        of these number s on

 7 there .

 8           Could you read what 's on the screen              for the jury

 9 that 's part of Goodwin       20 ?

10 A.        Gloria Thurman      is the name .       Telephone    number

11 (301) 516 -15 48 , also a number        (301) 43-77068 .        It 's a

12 cell phone .

13 Q.        And there are other number s in this document , is

14 that correct , Goodwin      20 ?

15 A.        That 's correct .

16 Q.        Goodwin   21 .   Could you tell the jury from where

17 you got this document ?

18 A.        21 was locate d in the master           bedroom    on the

19 night stand .

20 Q.        Look ing to the top right portion           of this

21 document .     Can you tell the jury the date of this

22 document ?

23 A.        Yes .   It has 03 April 2003 .

24 Q.        Who is it from ?

25 A.        Embassy   of the United      States     of America .




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 1 Q.        What country ?

 2 A.        King ston, Jamaica , West Indies .

 3 Q.        Who is it to ?

 4 A.        Mary Carter Wells,        1323 Anacostia     Road ,

 5 Southeast , No. 2 , Washington , D. C. , 20019 .

 6 Q.        Could you read the number         of that Anacostia      R oad

 7 address    again ?    I'm not sure if I heard you correct ly .

 8           MR. MARTIN:      Asked and answered .

 9           THE COURT:      Over ruled .

10           THE WITNESS:         1323 Anacostia   R oad , Southeast ,

11 No. 2,    Washington , D. C. , 20019 .

12           BY MS. GREENBERG:

13 Q.        Thank you .

14           This was re covered       from where , sir ?

15 A.        Master     bedroom , on the night stand .

16 Q.        Show ing you what's       been mark ed as Goodwin      22 .

17           Do you recognize        this exhibit ?

18 A.        Yes, ma'am .

19 Q.        What is that exhibit ?

20 A.        That 's a notebook       with 80 sheet s.

21 Q.        Where was that re covered        from ?

22 A.        Master     bedroom    on the night stand .

23 Q.        At the Farragut        P lace address ?

24 A.        That 's correct .

25 Q.        Your Honor , that 's been previous ly introduced




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 1 into evidence .

 2          Again , these yellow      stickies .    This book like

 3 that with the yellow        stickies .

 4 A.       No, ma'am .

 5 Q.       Did you also search       the kitchen    area of this

 6 residence ?

 7 A.       Yes , we did .

 8 Q.       Show ing you what's      been mark ed as P-85 .     Do you

 9 recognize     that exhibit ?

10 A.       Yes, ma'am .

11 Q.       What's    depict ed there ?

12 A.       Yes, ma'am .      That 's the kitchen    area of the

13 address .

14 Q.       Can you tell the jury what they're           look ing at

15 here ?

16 A.       On the right side of the microwave           is a total of

17 three box es of baki ng soda .

18 Q.       Did you seize that baki ng soda ?

19 A.       Yes, ma'am , we did .

20 Q.       Why did you seize that baki ng soda ?

21 A.       Thought    that it was --

22          MR. MARTIN:       Objection .   Rule 701 .

23          THE COURT:       Over ruled .

24          BY MS. GREENBERG:

25 Q.       Why did you seize that baki ng soda ?




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 1 A.        In my train ing and experience , that is use d to

 2 cut drug s.

 3 Q.        Show ing you what 's been mark ed as Goodwin          23 .

 4           Can you tell the jury what this is and how that ,

 5 if at all , relate s to the picture ?

 6 A.        Yes, ma'am .      These are the three box es of Arm &

 7 Hammer    baki ng soda that was re covered        from the kitchen

 8 area that 's right be side the microwave .

 9 Q.        Is that exhibit      what we see in the picture

10 there ?

11 A.        That 's correct .

12 Q.        Goodwin   23 .

13 A.        Yes, ma'am .

14           MS. GREENBERG:       Your H onor , may I publish

15 Goodwin    23 to the jury , please ?

16           THE COURT:       Yes , you may .

17           BY MS. GREENBERG:

18 Q.        Did you locate      other item s from the kitchen ?

19 A.        Yes, ma'am , we did .

20 Q.        Show ing you -- these are Arm & Hammer            baki ng

21 soda box es ; is that correct ?

22 A.        That 's correct .

23 Q.        Did you locate      additional     Arm & Hammer    baki ng

24 soda box es that were different         in the appearance ?

25 A.        Yes, ma'am , we did .




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 1 Q.         Showing   you P-86 .   Can you tell the jury what

 2 we're look ing at here ?

 3 A.         That 's three additional       boxes of baki ng soda --

 4 Arm & Hammer, and       says , "fridge    and freezer " brand .

 5            Also , there 's a scale that is locate d right

 6 be hind one of the box es of the baki ng soda that 's

 7 locate d in the bread box .

 8 Q.         Is that where my finger        is point ing ?

 9 A.         That 's correct .

10 Q.         The three box es are right here ?

11 A.         Yes, ma'am .

12 Q.         And that 's the scale you're       talk ing about ?

13 A.         Yes, ma'am .    That 's the electron ic scale .

14 Q.         Where is this picture , P-86 ?           Where was that

15 take n in the residence        at farragut    P lace , Northwest ?

16 A.         That 's still the kitchen       area .

17 Q.         How far from the microwave ?

18 A.         Just a little    way s off .    Not far .

19 Q.         Show ing you what's    been mark ed as P-24 and P-25 .

20            Could you tell the jury how Goodwin             24 and

21 goodwin     25 relate   to what they're      see ing up on the

22 screen ?

23 A.         24 , the baki ng soda , which is locate d on the

24 screen     at the bottom   that we re covered        from the address

25 in the kitchen .




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 1 Q.         And Goodwin    25 ?

 2 A.         That is the electron ic scale that was re covered

 3 in the bread box in the kitchen             area .

 4 Q.         Immediate ly adjacent         to the three baki ng soda

 5 box es ?

 6 A.         That 's correct .

 7            MS. GREENBERG:        Your Honor , may I publish

 8 Goodwin    24 and Goodwin        25 ?

 9            THE COURT:     Yes , you may .

10            BY MS. GREENBERG:

11 Q.         Did you also search          the base ment area of this

12 residence ?

13 A.         Yes, ma'am , I did .

14 Q.         Show ing you up on the screen         what's    been

15 pre- mark ed as P-87 .

16            Could you tell the jury what we're look ing at

17 here ?

18 A.         That 's the green file cabinet            that I locate d in

19 the base ment area .

20 Q.         Is that how it appear ed when you approach ed it ?

21 A.         Yes, ma'am .

22 Q.         Did you check the drawer s of that file cabinet ,

23 or did someone     on your team check the drawer s?

24 A.         I'm the one that check ed the         drawer s.

25 Q.         Did you re cover anything         in side the drawer s?




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 1 A.        Yes , I did .

 2 Q.        Show ing you what 's been mark ed as P-88 .

 3           Does that depict      how the drawer     appear ed when

 4 you first opened       it ?

 5 A.        Yes, ma'am .

 6 Q.        Is this the part of the file cabinet          that we saw

 7 on P-87 ?

 8 A.        That 's correct .

 9 Q.        And P-89 .      Is that a close -up shot of that

10 particular     drawer ?

11 A.        Yes, ma'am , it is .

12 Q.        Show ing you what's     been mark ed as Goodwin       26

13 and Drug s 31 .

14           Can you tell the jury how that relate s to what

15 they're     see ing in the picture ?

16 A.        Sure .

17 Q.        Starting     with Goodwin   26 .    What is that ?

18 A.        That is a black bowl that was locate d in the

19 third drawer       of the file cabinet       which has cocaine

20 residue     in it .

21 Q.        Is that the black -- what          we see in side what

22 appear s to be a trash bag ?

23 A.        Yes, ma'am , that 's it .

24 Q.        How does Goodwin      26 appear     now as opposed to

25 the picture     that we're see ing ?




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 1 A.        It 's broken     now .

 2 Q.        I'll come back to that in a second .

 3           Drug s 31 .    What is Drug s 31 in relation              to that

 4 picture ?

 5 A.        That 's a kilo of cocaine           I locate d in the file

 6 cabinet .

 7 Q.        Does this picture         depict    how these item s were

 8 when you first locate d them ?

 9 A.        Yes, ma'am .

10 Q.        Could you tell the jury about your observation s

11 -- what did you observe            about the black bowl in side

12 that trash bag that we see on P-89 ?               What did you

13 observe     about this ?

14 A.        Yes .   I re covered      the bowl , and I locate d or

15 found cocaine     residue     in the bottom       of the bowl .

16 Q.        That was your observation            of the bowl ?

17 A.        Yes, ma'am .

18 Q.        And the proximity         of the bowl to the

19 plastic- covered     brick next to it .          Is that how it

20 appear ed when you first opened              the drawer ?

21 A.        Yes, ma'am .      It was a little       slight    cut .     I did

22 that .

23 Q.        The cut on the left ?

24 A.        Yes, ma'am .

25 Q.        Why did you do that ?




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 1 A.        To give it a field test .

 2           MS. GREENBERG:         Your Honor , at this time I would

 3 like to publish        Goodwin   26 and Drug s 31 to the jury .

 4           THE COURT:      Yes , you may .

 5           BY MS. GREENBERG:

 6 Q.        Just to be clear .        This bowl broke since you

 7 recovered     it ?

 8 A.        That 's correct .

 9 Q.        What did you do with these item s after you

10 seize d them ?

11 A.        After I seize d them , we brought          them back to a

12 central     location    and I turn ed them over to an agent .

13 Q.        Were the item s that we see here subsequent ly

14 analyze d by the Montgomery          County lab ?

15 A.        Yes, ma'am .

16           MS. GREENBERG:         No further   question s, Your

17 Honor .

18           Your Honor , I'm sorry .       I apologize .      I real ize

19 that this has n't been read in yet , Your Honor .

20           THE COURT:      All right .

21           MS. GREENBERG:         I'm sorry , Your Honor .      This is

22 related     to Mr. Gervisone 's testimony , so I'll leave it

23 at that .

24           THE COURT:      All right .    Before     we begin

25 cross-examination       , we will take a morn ing break and we




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 1 will resume      at 25 minute s of 12 .

 2                           (Jury excused at 11:20 a.m.)

 3                           (Off the record      at 11 :20 a.m. )

 4                           (On the record      at 11 :38 a.m. )

 5             THE COURT:      Counsel , are you    ready for the jury ?

 6             MS. GREENBERG:      Yes , Your Honor .

 7             MR. MCKNETT :     Your Honor , we're miss ing two

 8 lawyer s.

 9             MS. GREENBERG:      Your Honor , I'm sure Ms .

10 Johnston     would say we can proceed         without   here .    She

11 will be right here .          I'm sure she 's get ting thing s

12 ready for the court .

13             THE COURT:      See if you can rustle       them up .

14             THE CLERK:      Ready , Judge ?

15             THE COURT:      Everybody   back now ?

16             MR. WARD:     Mr. Sussman    is in the bathroom .       He 's

17 comi ng .

18             THE COURT:      Okay .   Well , wait one second .

19             MS. JOHNSTON:      Your Honor , I provided      some of

20 the chart s to your courtroom           deputy   to give you , and

21 there is another         -- in addition    to the one I gave you

22 this morn ing , there is one other one I was attempt ing

23 to get finalize d that 's a summary           of the evidence .

24             THE COURT:      Are we ready now ?

25             MR. WARD:     Your Honor , I see evidence       over on




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 1 the jury box .

 2            THE COURT:     The juror s request ed that that be

 3 provided    to them .

 4            MR. WARD:     Was n't that what they viewed

 5 yesterday ?

 6            THE COURT:     I'm sorry , Mr. Ward ?

 7            MR. WARD:     I thought     they view ed that yesterday .

 8            THE COURT:     They were not finish ed yesterday .

 9 They want to finish        look ing at it .

10            MR. WARD:     Thank you .

11                     (Witness   resume s the stand .)

12                     (Jury return s at 11 :43 a.m. )

13            MR. WARD:     Your Honor , before    we begin , it is my

14 understanding       the jury has asked to see certain

15 evidence    again .

16            THE COURT:     They hadn't     had a chance   to finish

17 re view ing it , nd they are now re view ing it .

18            MR. WARD:     Very well .     Thank you .

19            THE COURT:     Mr. Montemarano , you may proceed .

20            MR. MONTEMARANO :      Thank you .

21            Ms. Greenberg,      you are complete ?

22            MS. GREENBERG:       Yes, sir .

23                           CROSS-EXAMINATION

24            BY MR.   MONTEMARANO :

25 Q.         Good morning , Detective       Lockhard .   How are you ?




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1 A.        Fine , sir .

2 Q.        I invite   your attention     to Government     Exhibit

3 Goodwin   20 .

4 A.        That 's correct .

5 Q.        These document s were part of what you were shown

6 by Ms. Green berg ; correct ?

7 A.        That 's correct .

8 Q.        Just to refresh     your recollection , where were

9 these seize d from again ?       Do you recall ?

10 A.       On the night stand .

11 Q.       These would be direct ly adjacent        to the bed on

12 the night stand in the bedroom ; correct ?

13 A.       That 's correct .

14 Q.       Ms. Green berg didn't     show these to you .      This is

15 part of -- this was also part of that ; correct ?

16 A.       Did you say you got that --

17 Q.       Part of Goodwin     20 ; correct ?

18 A.       That 's correct .

19 Q.       Okay .   That 's 5561 South Dakota Avenue        address ,

20 that would be in D. C. -- it does n't say D. C. there ,

21 but you see the "N ortheast ;" correct ?

22 A.       It don't have D. C. but it has , "N ortheast ,

23 South Dakota ."

24 Q.       20 2 area code ?

25 A.       That 's D. C.




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 1 Q.       This was also part of Goodwin         20 , was it not ,

 2 sir ?

 3 A.       That 's correct .

 4 Q.       And that 5959 South Dakota        Avenue .    That would

 5 be right next to 5961 -- excuse         me , 5559 .    That would

 6 be right next door to 5561 , would it not , as far as             you

 7 understand ?

 8 A.       Yes .

 9 Q.       That 's another     202 area code ?

10 A.       That 's correct .

11 Q.       In fact , that does say , "Washington , D. C.,"

12 does it not ?

13 A.       That 's correct .

14 Q.       It says , "Paulette     Martin , Director ?"

15 A.       Yes .

16 Q.       The person    in the photograph .       Do you see that

17 person   anywhere   in the courtroom ?

18 A.       I'm not sure .

19 Q.       Thank you , detective .

20 A.       That 's correct .

21          MR. MONTEMARANO :      Thank you very much .

22          Pass the witness , Your Honor .         Thank you .

23          THE COURT:     All right .     Thank you .

24                         CROSS-EXAMINATION

25          BY MR. MARTIN:




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1 Q.        Is it "D etective      Lockhard ?"

2 A.        That 's correct .

3 Q.        Good morn ing , sir .      Anthony   Martin   on be half of

4 Mr . Learley       Goodwin .

5 A.        Good morn ing .

6 Q.        Good morn ing .      When you went to 36 Farragut        back

7 on June 1st --        it was June 1st, was n't it , 2004 ?

8 A.        That 's correct .

9 Q.        When you went there , Mr. Goodwin         was n't the only

10 one in the house that day was he ?

11 A.       No .

12 Q.       There was at least       one other person      there ;

13 correct ?

14 A.       That 's correct .

15 Q.       It was a female ; is that correct ?

16 A.       That 's correct .

17 Q.       During     the testimony    that you gave earlier

18 today , there were a number         of item s with different

19 people 's phone number s on it .        Do you   remember    that ?

20 A.       That 's correct .

21 Q.       One of those name s was Tiffany         Vessel s.    Do you

22 recall   that ?

23 A.       Yes .

24 Q.       How many bedroom s were in that house ?

25 A.       If I recall , I think it was three upstairs .




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 1 Q.        They were upstairs .

 2           Were you the lead detective        or law enforcement

 3 personnel    that day ?

 4 A.        No, sir .

 5 Q.        How many individuals       were there all together ?

 6 A.        I think it was six on the raid team , and maybe

 7 five people       from our squad .

 8 Q.        I guess the place was divide d up ?         That is , the

 9 house and each member       of the team had a different         area

10 of responsibility ; would that be correct ?

11 A.        That 's correct .

12 Q.        What was your primary        area of responsibility ?

13 A.        The master    bedroom , and to search     the base ment .

14 Q.        When you went upstairs        to the master   bedroom ,

15 did you have occasion       to look in the closet ?

16 A.        Yes .

17 Q.        When you look ed in the closet , did you note

18 whether   or not     there were men 's clothe s exclusive ly or

19 women's   clothe s exclusive ly , or a combination ?

20 A.        I think it was a combination .

21 Q.        A combination    of both ?

22           And with respect     to these phone number s that you

23 had been shown earlier .        Well , let me show you some of

24 these item s here , if I could .        Some of these are well

25 mark ed and some are not .




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1           Let me show you what's         been mark ed as

2 Government 's Exhibit       Goodwin    20 .

3           May I approach , Your Honor ?

4           THE COURT:       You may .

5           BY MR. MARTIN:

6 Q.        Do you remember      being shown that by government

7 counsel , Ms. Greenberg?

8 A.        That 's correct .

9 Q.        And you went through         those , sir ?

10 A.       Yes .

11 Q.       That 's paper s and business          cards with different

12 phone number s; right ?

13 A.       That 's correct .

14 Q.       With respect      to these paper s and other

15 document s.      There are different         handwriting s on those

16 documents , are there not ?

17 A.       That 's correct .

18 Q.       So there 's not one single           person 's handwriting

19 on these .

20 A.       No, sir .

21 Q.       And you 've been a police officer            now since 19 85 ?

22 A.       Yes .

23 Q.       And you've     submitted     item s in the past for

24 fingerprint      analysis ; correct ?

25 A.       Yes , I have .




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 1 Q.       And some of those item s that you've              submit ted in

 2 the past have include d paper and cardboard            and the

 3 like ; correct ?

 4 A.       No, sir .

 5 Q.       You've    never submitted        any paper document s for

 6 fingerprint      analysis ?

 7 A.       No, sir , I haven't .

 8 Q.       You were also shown Government 's Exhibit 1                 which

 9 was a MAMSI correspondence .             Do you remember    that ?

10 A.       Yes .

11 Q.       Maybe instead        of approach ing you , if I can get

12 this to work I can show that to you and refresh                 your

13 recollection      if you don't recall .

14          Do you remember        that ?

15 A.       Yes, sir .

16 Q.       And this was one of many document s that were

17 seize d at 36 Farragut ; right ?

18 A.       That 's correct .

19 Q.       I think you testifi ed that this was also seize d

20 out of the master      bedroom ; is that correct ?

21 A.       That 's correct .

22 Q.       Now , this document       by itself    -- nothing     that you

23 see in that correspondence          there or by virtue        of that

24 letterhead     suggest s any drug activity        to you , does it ?

25 A.       No, sir , it don't .




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 1 Q.       You were shown Government 's Exhibit            2 --

 2 Goodwin 's 2.      D o you recall   that ?

 3 A.       Yes .

 4 Q.       Do you recall      that , sir ?

 5 A.       Yes .

 6 Q.       The name "Tiffany       Vessel s" is there ?

 7 A.       That 's correct .

 8 Q.       Again , that 's the     same young lady that you had

 9 en counter ed at the house that day ; right ?

10 A.       That 's correct .

11 Q.       And if I didn't       ask you before , let me ask you

12 now .   You didn't    arrest   Ms. Vessel s, did you ?

13 A.       No , we didn't .

14 Q.       Again , show ing you Goodwin        Exhibit   3.

15          Do y ou see that document ?

16 A.       Yes , I can .

17 Q.       There 's a name there of " Raynard        Dorsey."

18          Do you see that name ?

19 A.       Yes , I do .

20 Q.       Did you have occasion       to speak at all with Ms.

21 Vessel s?

22          Without    tell ing me what she said , did you speak

23 to her at all ?

24 A.       No , I didn't .

25 Q.       So you don't know who Raynard          Dorsey      is then ?




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 1 A.        No, sir .

 2 Q.        And he was n't there that day .

 3 A.        No, sir .

 4 Q.        Again , with respect       to this handwriting .       You

 5 don't know whose handwriting           this is , do you ?

 6 A.        No , I don't .

 7 Q.        You don't know whether        or not    this document     was

 8 ever submitted       for fingerprint     analysis    to try and

 9 determine      who had hand led this page , do you ?

10 A.        No , I don't .

11 Q.        Show ing you now what's       been mark ed as Goodwin

12 Exhibit   4.

13           Can you see that , sir ?

14 A.        Yes .

15 Q.        Those are the plastic        baggi es that were

16 publish ed to the ladies and gentlemen             earlier .

17           Where did you take this baggy from ?

18 A.        Master    bedroom .

19 Q.        Again , the master       bedroom .    That was your area

20 of responsibility ; right ?

21 A.        Yes, sir , it was .

22 Q.        Would you agree with me that as a police officer

23 that plastic       is a good repository        for fingerprint s?

24 A.        Yes , it is .

25 Q.        Did you submit        these plastic    baggi es for




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 1 fingerprint     analysis ?

 2 A.         No , I didn't .

 3 Q.         So you don't know who handle d that baggy , do

 4 you ?

 5 A.         No, sir , I don't .

 6 Q.         Did you have -- you didn't          talk to Ms. Vessel s

 7 about those     baggi es ?

 8 A.         No , I didn't .

 9 Q.         Show ing you what's     been mark ed as Goodwin      5.

10 Remember     this ?   Does that refresh       your recollection      if

11 I show you the letterhead         there ?

12 A.         That 's correct .

13 Q.         Goodwin    5.   What is that , sir ?

14 A.         It 's a Wachovia --     look s like it 's a check ing

15 bank account     statement .

16 Q.         It 's an activity     statement ; right ?

17 A.         Check ing statement .

18 Q.         It 's an activity     statement .

19            On this particular      activity     statement   -- well ,

20 let 's go back to this .        Let me not snatch      it away from

21 you , because    that would n't be fair .

22            At the top there , the name is Tiffany           Vessel s'

23 name , is it not ?

24 A.         That 's correct .

25 Q.         And there 's no other name on this statement              as




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 1 far as   you can tell .

 2            And if you 'd like , I would be happy to walk over

 3 to you and show you the document               if you can't see .

 4 A.         That 's fine .

 5 Q.         You can see it ?

 6            You don't see any other name there be sides Ms.

 7 Vessel s, do you ?

 8 A.         No, sir .

 9 Q.         So it would appear           this is just her account        and

10 no one else 's ; correct ?

11 A.         That 's correct .

12 Q.         You were also shown Goodwin           6.    This is the

13 Budget Rent-A-Car           receipt .

14            Do you see that , sir ?

15 A.         Yes , I see that .

16 Q.         I'm look ing at this , and my eye s aren't            very

17 good .   I think that 's pretty           obvious   to anybody     who 's

18 been watch ing me the last few week s.                Maybe if I

19 approach     you , you could tell us who rent ed this

20 vehicle .

21            Your Honor , may I?

22            THE COURT:        Yes , you may .

23            BY MR. MARTIN:

24 Q.         Thank you , sir .

25            Goodwin     6.    Can you tell us who it was who




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1 actual ly rent ed that vehicle ?

2 A.         Maurice     Alexander .

3 Q.         Do you see any other name there ?

4 A.         No .    That 's about it .

5 Q.         You don't see Mr. Goodwin 's name on there

6 anywhere , do you ?

7 A.         No, sir .

8 Q.         Thank you , officer .

9            Is there any indication      whether   or not   this was

10 paid for by that check ing account        I show ed you earlier ,

11 Tiffany    Vessel s' account ?

12 A.        I don't think so .

13 Q.        Is this another     Budget receipt , Goodwin     7?   Do

14 you see that ?

15 A.        Yes .

16 Q.        Do you recall     look ing at that , sir ?

17 A.        Yes , I did .

18 Q.        The print is very light .      Can you see it ?       Are

19 you able to read it from where you are ?

20 A.        Most of it .

21 Q.        If you can read it , what's     the name there

22 indicati ng where it says "credit        identification " or

23 "bill ing instruction s," the name of the rent er .          Can

24 you see that name ?

25 A.        Can you point at what you're       try ing to show me ?




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 1 Q.        Right here , sir .       (Indicating.)

 2 A.        "Tiffany    A. Vessel s."

 3 Q.        Thank you .

 4           Court 's indulgence .

 5           You were also shown some document s in Goodwin

 6 11, and I'm going to try to put both of these up on the

 7 screen    as well .    Tell me if you can see those .

 8           Can you see those , sir ?

 9 A.        Yes .

10 Q.        Okay .    Let 's start with the one on the bottom .

11           Would you de scribe       for the ladies and gentlemen

12 of the jury       what that is ?

13 A.        It 's a MAMSI insurance           card .

14 Q.        It 's an insurance       card .     And the member     name is ?

15 A.        "Goodwin , Learley ."

16 Q.        And MAMSI by itself        does n't have any

17 significance       in term s of drug activity        as far as    you

18 know as a narcotic s officer , does it ?

19 A.        That 's correct .

20 Q.        And you've    got here again a business         card ;

21 right ?

22 A.        That 's correct .

23 Q.        And you don't know who "Sam " is , do you ?

24 A.        No , not at all .

25 Q.        And you didn't      search   Lobo 's Dis count Car Center




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 1 at 1124 Florida A venue , did you ?

 2 A.        You asked did I search          it ?

 3 Q.        Yeah .   Did you search        it ?

 4 A.        No , I didn't .

 5 Q.        You have no idea who Paul Sinclair              is either , do

 6 you ?

 7 A.        No, sir , I don't .

 8 Q.        Remember   these ?    This is Government 's Exhibit

 9 Goodwin    13 .

10           Do you remember      those ?

11 A.        Yes .

12 Q.        These are the money wrapper s; right ?

13 A.        Yes .

14 Q.        These were not submitted              for fingerprint

15 analysis , were they ?

16 A.        Not by myself .

17 Q.        When you went into the master              bedroom   and you

18 found these document s, you said it was pretty                 tight in

19 the bedroom .

20           Do you remember      exact ly where in the master

21 bedroom    these were ?

22 A.        I think they was on the left side of the bed .

23 Q.        On the left side of the bed .

24           Was it under the bed ?

25 A.        No .




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1 Q.         Was it on a night stand ?

2 A.         It 's like a night stand .      It 's a combine d area .

3 Q.         How many night stands      were there ?

4 A.         In that one bedroom ?      I think there were      three .

5 Q.         There were three night stands ?

6 A.         Yes .

7 Q.         When you separate d out the item s, or when you

8 took the item s out of the night stand s, did you

9 separate     them according    to which night stand it was in ?

10 A.        Some of them .

11 Q.        But not all .

12 A.        Not all .

13 Q.        We don't really     know which night stand that

14 these wrapper s came from , do we ?

15 A.        They came from the left side of the bed .

16 Q.        The left side of the bed ?

17 A.        Yes .

18 Q.        When you went into the house , you didn't          find

19 the occupants --

20 A.        Beg your pardon ?

21 Q.        When you went into the house , you didn't          find

22 the occupants     in bed , did you ?

23 A.        They were in the bedroom .

24 Q.        They were in the bedroom , but they weren't

25 actual ly in the bed were they ?




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 1 A.       I don't know .

 2 Q.       If you recall .

 3 A.       I don't know .

 4 Q.       Here again , we have what's         -- what I'm show ing

 5 you is Goodwin      14 .

 6          Remember     this , sir ?

 7 A.       Yes, sir .

 8 Q.       This is a Sprint activity          statement , is it not ?

 9 A.       That 's correct .

10 Q.       That 's in the name of Tiffany         Vessel s, as well ?

11 A.       That 's correct .

12 Q.       You got this out of that same bedroom , didn't

13 you ?

14 A.       That 's correct .

15 Q.       Do you remember      if you got this out of the same

16 night stand with the money wrapper s?

17 A.       No, sir , I don't .

18 Q.       Show ing you what's         been mark ed as Goodwin    15 .

19 This appear s to be a Western          Union receipt   or bill .

20          Can you see that , sir ?

21 A.       Yes, sir .

22 Q.       Would you agree with me that it appear s to be

23 the customer    copy of a receipt         for a Western   Union

24 transaction    or transfer ?

25 A.       Yes , i t is .




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 1 Q.         Again , the name with respect      to this activity

 2 statement .        Can you see the name there ?

 3 A.         Yes .

 4 Q.         If I can bring it over to you .

 5 A.         I can see it .

 6 Q.         Could you see it ?

 7 A.         Yes .

 8 Q.         Whose name is on that ?

 9 A.         Tiffany    Vessel s.

10 Q.         Thank you .

11            You were also shown Goodwin       16 .   I'm going to

12 hold it up because        it might be easier    if I held it up

13 for you to see .

14 A.         Okay .

15 Q.         Do you recognize       that ?

16 A.         Yes .

17 Q.         That 's a duct -tape d phone book ; right ?

18 A.         That 's correct .

19 Q.         And you , I think earlier , had said that you

20 didn't     speak to Ms. Vessel s regard ing any of these

21 item s; right ?

22 A.         That 's correct .

23 Q.         Mr. Goodwin    never told you that this was his ,

24 did he ?

25 A.         No , he didn't .




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 1 Q.         Same thing with respect         to Goodwin   19 .   Same

 2 question .     Mr. Goodwin     never said this was his , did he ?

 3 A.         That 's correct .

 4 Q.         Same question , sir , with respect        to Goodwin       22 .

 5 Again , a spiral     notebook .

 6            Mr. Goodwin    never said that was his , did he ?

 7 A.         No , he didn't .

 8 Q.         Again , you didn't     submit    that to any lab for

 9 analysis     -- fingerprint     analysis    of any type .

10 A.         No, sir , I didn't .

11 Q.         You were also shown some photo s of baki ng soda .

12 Remember that?

13 A.         Yes .

14 Q.         Ms. Green berg had shown you that .

15            With respect    to those box es .      Again , they

16 weren't    sent for fingerprint        analysis   were they ?

17 A.         Not to my knowledge .

18 Q.         And you had found what appear ed to be cocaine               in

19 a file cabinet .      Remember    that in the photos you were

20 shown?

21 A.         That 's correct .    Yes.

22 Q.         And you field tested        that --

23 A.         Yes, I did .

24 Q.         -- for cocaine , but you didn't         find any crack at

25 36 Farragut , did you ?




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 1 A.       No, sir .

 2 Q.       And you know what crack look s like ; right ?

 3 A.       Oh , yes .

 4 Q.       Drug s 31 .     I believe    that the cocaine    that you

 5 found in the file cabinet .           Was that in a plastic

 6 wrapper ?

 7 A.       Yes , it was .

 8 Q.       Again , the same question        I've asked before .         Was

 9 the wrapper      sent for fingerprint      analysis   at any

10 for ensic lab ?

11 A.       Not to my knowledge .

12 Q.       So you have no clue as to who put that in that

13 file cabinet ?

14 A.       No, sir .

15 Q.       Show ing you what 's been mark ed as Goodwin          25 .

16 Remember this?

17 A.       Yes .

18 Q.       Maybe if I do this you could see it better .

19          Why don't I stop this non sense ?

20          May I approach , Your Honor ?

21          THE COURT:       You may .

22          BY MR. MARTIN:

23 Q.       Thank you , sir .

24          Can you see that ?

25 A.       Yes , I can .




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 1 Q.        And you know what that is ; right ?

 2 A.        Yes .

 3 Q.        This is what ?       What is that ?

 4 A.        It 's a scale .

 5 Q.        And the reason       you seize d that is because          it 's

 6 also common ly use d in drug activity ; right ?

 7 A.        Yes .

 8 Q.        And it 's also an item common ly found in a

 9 kitchen ; right ?

10 A.        Not a Tanita      scale .

11 Q.        With respect      to this Tanita      scale .    If it 's not

12 common ly found in a kitchen , don't you think it would

13 be important       to find out who was handli ng this scale ?

14 A.        Yes, sir .

15 Q.        But this was n't sent to a forensic             lab for

16 fingerprint       an alysis,   was it ?

17 A.        Not to my knowledge .

18 Q.        And this scale is mark ed suspect          defendant

19 Learley   Goodwin , but at this point would it be safe to

20 say that Learley       Goodwin    was n't the only person       who was

21 re sidi ng at 36 Farragut ?

22 A.        Sir , I don't know      who was re sidi ng there .         Just

23 only Mr. Goodwin .

24 Q.        Let me ask you this .           Who wrote Learley

25 Goodwin 's name on this evidence            or property




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 1 description ?

 2          Do you recognize      the handwriting ?

 3 A.       No, sir , I don't .

 4 Q.       That 's not your handwriting ?

 5 A.       No , not at all .

 6 Q.       So you didn't      make that determination , although

 7 you were the person       on the scene who was at 36 Farragut

 8 that morn ing ; correct ?

 9 A.       Yes , I did .

10 Q.       Your indulgence , sir , just a moment .

11 A.       Sure .

12          MR. MARTIN:       Detective    Lockhard , thank you for

13 your patience .

14          Your Honor , I have no further         question s for the

15 detective .

16          THE COURT:       Thank you .

17          Any addition al cross-examination        ?

18          MR. HALL:       No question s, Your Honor .

19          MR. MITCHELL:       No question s, Your Honor .

20          MR. WARD:       Just a couple , Your Honor .

21                           CROSS-EXAMINATION

22          BY MR. WARD:

23 Q.       Detective , you talk ed about do ing a field test ?

24 A.       That 's correct .

25 Q.       Is that something      you fair ly routine ly do in




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 1 your business ?

 2 A.       Yes, sir .

 3 Q.       Using a re agent test ?

 4 A.       That 's correct .

 5 Q.       All right , sir .       They're    usually    pretty

 6 accurate , aren't     they ?     Or a lot of them ?

 7 A.       Yes , that 's correct .

 8          MR. WARD:      Thank you .

 9          THE COURT:      Any further       cross ?

10          MR. MCKNETT :     No , Your Honor .

11          THE COURT:      Any re direct ?

12          MS. GREENBERG:         Brief ly , Your Honor .

13                        REDIRECT EXAMINATION

14          BY MS. GREENBERG:

15 Q.       Follow ing up on Mr. Ward 's question .

16          Detective     Lockhard , are your field test s as

17 re liable    as the chemical      analysis    by the Montgomery

18 County Lab ?

19 A.       No, ma'am .

20 Q.       That 's why you submit          suspect ed item s for

21 analysis ?

22 A.       Yes, ma'am .

23 Q.       Counsel    asked you -- Mr. Martin           asked you about

24 the scale , the Tanita         scale .   Is that what you're

25 referring     to , the name on the scale ?




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 1 A.       That 's correct .

 2 Q.       Why were you -- you mention ed you would n't

 3 expect   to see one in a kitchen .        Could you tell the

 4 jury why ?

 5 A.       I have never seen a Tanita         scale or -- never

 6 seen this type in the kitchen .

 7 Q.       How about in the drug search es that you 've done ?

 8 A.       Plenty .

 9 Q.       Mr. Martin    also asked you about not arresting

10 Ms. Vessel s.

11          You arrested     Mr. Goodwin ?

12 A.       Yes .   He was indict ed .

13 Q.       And you had authority        to arrest    him ?

14 A.       That 's correct .

15 Q.       What kind of authority ?

16 A.       I think they had an arrest         warrant     for him that

17 day .

18 Q.       Did you have a similar        authority    for Ms.

19 Vessel s?

20 A.       No , we didn't .

21 Q.       Is that why you didn't        arrest   her ?

22 A.       That 's correct .

23 Q.       You also testifi ed -- Mr . Martin         asked you about

24 your responsibility       for search ing the master        bedroom .

25          Did you have additional        responsibilities      with




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1 respect      to the Farragut   -- with respect     to the Farragut

2 Place , North west address ?

3 A.        That 's correct .

4 Q.        What were your additional        responsibilities ?

5 A.        To re cover all the evidence       that we found that

6 was pertinent      to the case and to take it to the Command

7 Post -- return      it all to the Command      Post , and turn it

8 over to an agent .

9 Q.        Mr.    Martin   asked if you were in charge        of the

10 search   and you said you weren't , but you were in charge

11 of the evidence ?

12 A.       That 's correct .

13 Q.       You were responsible      for the evidence      being

14 turn ed over from the search ; is that correct ?

15 A.       That 's correct .

16 Q.       Were you responsible      for determini ng what item s

17 got analyze d for fingerprint s and the         like ?

18 A.       No, ma'am , I was n't .

19 Q.       That was somebody     else 's responsibility ?

20 A.       That 's correct .

21 Q.       Do you know who that was ?

22 A.       That would be , I guess , the investigati ng

23 officer .

24 Q.       Who was that ?

25 A.       The one that we was responsible         for was




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1 Detective      Eveler .

2 Q.        And if I could approach             and show you

3 Miscellaneous       37 just for identification .

4           Are you familiar      with that document ?

5 A.        Yes, ma'am , I am .

6 Q.        This is the search      warrant        for that residence ?

7 A.        That 's correct .

8 Q.        What is Attachment      A to that warrant ?

9           I'm sorry , Attachment         B.     Would you explain       to

10 the jury what Attachment        B is to a search        warrant ?

11 A.       Attachment      B is the item s that we are able to

12 search   for and to re cover .

13 Q.       When you say "able to ," who give s you that

14 authority ?

15 A.       The court .      The judge .

16 Q.       Mr. Martin      show ed you certain       MAMSI cards and

17 thing s of the like relating       to Mr. Goodwin .          Do you

18 recall   those ?

19 A.       That 's correct .

20 Q.       Direct ing your attention            to Paragraph   9 of that

21 warrant .     If could read , that to yourself          an d tell me

22 if you're     familiar   with that .

23 A.       Yes, ma'am .

24 Q.       Does the seizure      of item s with Mr. Goodwin 's

25 name on it , is that covered       by the warrant ?          If so ,




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 1 how ?

 2 A.         By Paragraph     9.

 3 Q.         How is that , sir ?

 4 A.         It 's a residency      rental   and ownership   of the

 5 premises    and of vehicle s de scribe d here , including           but

 6 not limited     to utility       and telephone   bill s, cancel led

 7 envelope s, rental s, purchase s or agreement            -- lease

 8 agreement s and key s.

 9 Q.         Is it under that authority         that you seize d the

10 MAMSI card with Mr. Goodwin 's name on it ?

11 A.         That 's correct .

12            MS. GREENBERG:        Court 's indulgence .

13            Nothing   further , Your Honor .

14            THE COURT:     Any re cross ?

15            MR. MARTIN:      Just a moment , Your Honor .

16                          RECROSS EXAMINATION

17            BY MR. MARTIN:

18 Q.         Ms. Green berg just show ed you attachment         B, and

19 she specifically        direct ed your attention     to Paragraph

20 9.

21            If I could approach        the witness , Your H onor .

22            THE COURT:     You may .

23            BY MR. MARTIN:

24 Q.         I'd ask you to look at Paragraph s 7 through             9.

25 Just read it to yourself , sir .           When you finish    reading




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 1 it , look up , please .

 2 A.         I'm ready .

 3 Q.         Are you ready ?

 4            Okay .   Paragraphs 7       through   9 is tell ing you

 5 general ly to pick up paper s and document s that you

 6 find .   It does n't say , "Learley         Reed Goodwin 's paper s

 7 and document s," does it ?

 8 A.         No , it don't .

 9 Q.         That 's why you pick ed up all the document s;

10 correct ?

11 A.         That 's correct .

12 Q.         Including     those of Ms. Vessel s; right ?

13 A.         That 's correct .

14            MR. MARTIN:       Nothing    further , Your Honor .

15            MS. GREENBERG:          May the witness   be excused ?

16            THE COURT:      Yes .     You may step down .   Thank you

17 very much , officer .

18            MS. GREENBERG:          Your Honor , next we call

19 Sergeant     Muldoon .

20 Thereupon,

21                            TIMOTHY     MULDOON ,

22 having been called as a witness on behalf of the

23 Plaintiff, and having been first duly sworn by the

24 Courtroom Deputy, was examined and testified as

25 follows:




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 1                              DIRECT EXAMINATION

 2           BY MS. GREENBERG:

 3 Q.        Could you state your name and spell your last

 4 name for the jury, please?

 5 A.        My name is Sergeant Timothy        Muldoon of the

 6 Prince    George's   County Police Department.

 7           My last name is spelled       M-U -L- D-O -O -N.

 8 Q.        Sir, could you give the jury an idea of your

 9 background, training and experience, please?

10 A.        I've been with the      Prince   George's   County Police

11 Department for over 16 years.           I'm currently assigned

12 as a supervisor in the Narcotics Intelligence Unit.

13 I've been doing narcotic work for just about ten years

14 now.   My primary training was the Basic Narcotic

15 Investigators School put on by the           Prince   George's

16 County Police Department.          I have gone through the

17 Basic Narcotics Investigator School sponsored by the

18 DEA ; Advanced Narcotic Investigators School sponsored d

19 by DEA; training with the multi-jurisdictional task

20 force which is underwritten by the Department of

21 Defense, and that was a course in undercover

22 operations;    I've done undercover operation schools with

23 DEA; I've been through wiretap intercept training

24 through    DEA, and a number of other schools sponsored by

25 our department -- surveillance schools, and that's




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 1 about it.

 2 Q.       The usual?

 3 A.       Yeah, the usual.

 4 Q.       You're currently a sergeant?

 5 A.       I am.

 6 Q.       Would the -- and you have your own squad that

 7 works for you?

 8 A.       I do.

 9 Q.       You've been investigating narcotics activity for

10 how long?

11 A.       About ten years.

12 Q.       What was your position back in June of 2004?

13 A.       I was a --    I was a detective in a street

14 narcotics squad.       I did that for quite a few years.

15 Q.       On June 1st 2004 were you asked to assist in the

16 execution of a search warrant at 620           Sheridan Street,

17 Apartment 301 in      Hyattsville , Maryland?

18 A.       Yes, ma'am.

19 Q.       Who asked you to do that?

20 A.       Detective    Eveler .

21 Q.       Showing you what's marked as         P-1.

22          Do you recognize what's depicted in           P-1?

23 A.       Yes, ma'am.    This is the exterior of the

24 apartment that -- the apartment building that we

25 executed the search warrant at.




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1 Q.         And P-1(A)?

2 A.         That's the front door -- the entryway to the

3 apartment building.

4 Q.         And the apartment was on the third floor; is

5 that correct?

6 A.         Yes, ma'am.

7 Q.         In Hyattsville,    Maryland?

8 A.         Yes, ma'am.

9 Q.         Could you give the jury an idea about what time

10 did you enter apartment 301 at 620          Sheridan   Street?

11 A.        I believe it was about 10      :45 in the afternoon --

12 in the morning.

13 Q.        How long did the search warrant take at that

14 residence, approximately?

15 A.        Two and a half hours, or maybe three hours.

16 Q.        When you first arrived at this apartment, who

17 was there?

18 A.        LaNora   Ali and a gentleman.      I believe it was

19 her husband.

20 Q.        Do you remember his first name?

21 A.        Not offhand.

22 Q.        And were you one of the first officers to

23 arrive?

24 A.        I was.

25 Q.        What happened when you arrived at the residence?




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 1 A.       We knocked on the door, announced our

 2 intentions, and advised that we had an arrest warrant

 3 for Ms. Ali, and we entered the apartment, asked both

 4 of them to sit on the couch in the living room of the

 5 apartment, at which time it was kind of strange.          The

 6 gentleman was real eager to start cleaning up the

 7 apartment, and     Ms. Ali the same.

 8          They wanted -- we told them, you know, there's

 9 no need to clean up the apartment; we're going to be

10 searching the apartment, and they were insistent on

11 cleaning up the apartment.       We asked them to sit down

12 and just cooperate with us.        We told them our

13 intentions and then proceeded with        the search.

14 Q.       Could you tell the jury -- showing you

15 Government's Exhibit       P-1(B) -- what they're looking at

16 here?

17 A.       As you come into the apartment, if you were to

18 look down the hallway, this is a walk-in closet

19 directly down the hallway.

20 Q.       Okay.   And from looking at that picture, where

21 is the doorway?

22          We're standing here --

23 A.       You're standing in the doorway looking down the

24 hallway, and the living room is to the left.

25 Q.       Just to clarify.     If     I was walking in, that's




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 1 what I'd first see?

 2 A.       Yes.

 3 Q.       Did you search that closet?

 4 A.       Yes, we did.

 5 Q.       Showing you what's been marked as           P-1(C).

 6          What is depicted here?

 7 A.       That is the closet.      As you can see, it's pretty

 8 full.   There's a lot of stuff in it.

 9 Q.       Do you see this blue suitcase up here?

10 A.       Yes, ma'am.

11 Q.       Could you tell the jury -- that's marked for the

12 record as    Ali 1 -- what relationship, if any, this has

13 to what they're seeing on the picture there?

14 A.       That suitcase was in the -- that was in the

15 closet, in the back right-hand corner.         It was taken

16 out of the -- it was taken out of the closet and opened

17 up.

18 Q.       Sergeant, perhaps      I could ask you to step down,

19 and I'll ask for      Ms. Merez and the court reporter if

20 you can keep your voice.      If you can't keep your voice

21 up, we have a little lapel mic          for you if you can't

22 keep your voice up.

23 A.       I can keep it up.

24 Q.       If I can borrow the lazer pointer.

25          Can you show the jury on the         TV screen there




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1 where you got     Ali 1 from in that closet.

2          MR. MCKNETT :     Your Honor, may      I relocate?

3          THE COURT:     Certainly.

4          MR. MCKNETT :     We can't see where he's pointing

5 with that pointer on the screen.

6          THE COURT:     By all means, come on over.

7          BY MS. GREENBERG:

8 Q.       Describe it for the record.

9 A.       By the time I had first seen it, it was actually

10 taken out.   Detective Hooper, she was the one who was

11 assigned to the closet.

12 Q.      You were the seizing agent?

13 A.      I was the seizing agent.

14 Q.      From where was it located?

15 A.      It was back in the back corner there, and it was

16 taken out.

17 Q.      For the record, you said that's the back,

18 right-hand corner?

19 A.      Back, right-hand corner.

20 Q.      Did you seize this suitcase marked as            Ali 1?

21 A.      I did.

22 Q.      If you could tell the jury, is this in

23 substantially the same condition as when you seized it?

24 A.      The stuff inside wasn't bagged up and marked as

25 evidence when we seized it.




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 1 Q.        But they were all inside the suitcase?

 2 A.        Yes.    At first look what we thought were books

 3 were actually -- they were safes to hold substantial

 4 amount of money.

 5 Q.        While you're holding the exhibit -- let me make

 6 sure I'm saying      Ali 1( B).   If you could, hold that up

 7 for the jury and describe what it is and describe how

 8 it is when you first seized it.

 9 A.        Ali 1( B) is a safe disguised as a book.        It was

10 laying down in the suitcase when we saw it.

11 Q.        If I could direct your attention up to the

12 screen.

13           Oh.    Could you tell us what's on the back, on

14 the binder of      Ali 1(B)?

15 A.        Treasure   Island .

16 Q.        And if you could look up on the screen while

17 still looking at      Ali 1(B).

18           What is the jury seeing up on the screen there?

19 A.        That is the three books, and it shows how one of

20 them -- one of them is opened and showing the money.

21 Q.        For the record, that's P-1(D).

22           Can you see on the screen there -- yes, please

23 keep your glasses on.      If you could stay with          Ali 1(B),

24 does that appear to be the same color --

25 A.        Yes.




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 1 Q.         -- as Ali 1(B)?

 2 A.         That appears to be the second book.       That would

 3 be the book right up next to the suitcase.

 4 Q.         Open showing the money?

 5 A.         That appears to be the closed one.        This appears

 6 to be the closed one, and this is the one that's still

 7 sitting in the suitcase.

 8 Q.         Which is, for the record,       Ali 1(C).

 9            It is still sitting in the suitcase?

10 A.         Yes.

11 Q.         And Ali 1(D)?

12 A.         That appears to be the one that is open, and

13 that's why you can see the sign on the open cover

14 underneath it, and it's sitting basically in that

15 fashion.

16            MR. WARD:    Excuse me,     Your Honor.     If the

17 detective would keep his voice up.

18            THE WITNESS:    Yes, sir.

19            THE COURT:     Keep your voice up.

20            BY MS. GREENBERG:

21 Q.         You have to wear the      mic if you don't.

22 A.         I don't want to wear a microphone.

23 Q.         We've got    Ali 1(D).

24            Does it appear the same now as it appeared in

25 the search warrant that the jury is seeing?




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 1 A.        Yes.

 2 Q.        What is the binder on this?

 3 A.        The Bounty .

 4 Q.        Was it closed and locked?

 5 A.        Yes, I believe so.     We opened them on the scene

 6 using a --       I believe we used a screwdriver to open

 7 them.

 8 Q.        And Ali 1(C).     If you could describe the type of

 9 book we're looking at here and how it was when you

10 recovered it.

11 A.        It's a green cover.     It's the same type of

12 thing.    It's a book safe.        Imperial Lexicon Volume I       ,

13 and this same type of thing.       It's a book safe.     And

14 this one you can see is sitting in the -- that's the

15 one that is closed inside the suitcase.

16 Q.        And if you could talk about the third book safe,

17 please.

18 A.        Which is this one here.     (Witness indicating.)

19 that's the open one.         I think we went through them all.

20 Q.        And just to be clear, the three titles are?

21 A.        Treasure Island, Imperial Lexicon          and The

22 Bounty.

23 Q.        I'm going to put     P-1( E) on the screen for the

24 jury.

25           If you could, tell us how that compares to what




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1 we're seeing now in P-1(D).

2 A.       It's just more of a -- it's a closer shot of the

3 money and the book safes inside the suitcase and

4 sitting outside the suitcase.

5 Q.       We could see the inside of one of the book

6 safes.

7          Did you recover anything from the inside of the

8 other book safes?

9 A.       Yes.   We first noticed it looked like a

10 substantial amount of money, and just looking at the

11 wrappers we estimated --        I believe   I estimated on the

12 scene at about $120,000     .

13 Q.      Did you do a money count and prepare a Customs

14 form relating to the count of what was seized from

15 these three items:       Ali 1(B), Ali 1(C) and       Ali 1(D),

16 the book safes marked      Treasure    Island , The Bounty     and

17 Imperial Lexicon ?

18 A.      I handed the money and all the evidence you see

19 here over to the case agent, and         I'm sure they did the

20 official count.

21 Q.      Is that contained in Ali 1(A)?

22 A.      Yes.   It appears to be.

23 Q.      What is the official count?

24 A.      $129,600.

25 Q.      And again, although we're only seeing one




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 1 picture, moneys were seized from each of these?

 2 A.         Yes, ma'am.

 3 Q.         How was it organized within the book safes?

 4 A.         I don't recall.     I don't recall the amount in

 5 each one.

 6 Q.         Without stating the amount, how was it

 7 organized?     Was it all thrown in there?

 8 A.         No, no.   It was wrapped nicely in the money

 9 wraps which are listed as Ali 1(G).

10 Q.         Now, these money wrappers that you've referenced

11 as Ali 1(G).     Where did these come from?

12 A.         They were wrapped around the bills.

13 Q.         Could you state for the record what type of

14 money wrappers those are?

15 A.         These are $10,000 wrappers.

16            MS. GREENBERG:     Your Honor, may     I publish    Ali

17 1(G) and --

18            THE COURT:    Yes, you may.

19            MS. GREENBERG:    -- and    Ali 1(A) to the jury?

20            BY MS. GREENBERG:

21 Q.         Could you tell the jury what Ali 1(F) is?

22 A.         These are documents that were in the suitcase as

23 well, and having been briefed with a couple of -- just

24 kind of briefed on the case,          I noticed that all

25 Paulette    Martin --




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 1          MR. MCKNETT :     Objection,    Your Honor.     The

 2 witness is testifying as to what he's been briefed on.

 3          THE COURT:      Well, testify to what you have

 4 personal knowledge of.

 5          THE WITNESS:     Okay.   This is -- these are papers

 6 with the name " Paulette       Martin" on it, and they were

 7 seized because     I knew the name "     Paulette    Martin."

 8          BY MS. GREENBERG:

 9 Q.       Is that from inside the suitcase?

10 A.       Yes, ma'am.

11          MS. GREENBERG:       Your Honor, may     I publish     Ali

12 1(F) at this time?

13          THE COURT:     Yes, you may.

14          BY MS. GREENBERG:

15 Q.       And Ali 1(E).     What is that?

16 A.       This is a --

17 Q.       Where was that recovered from?

18 A.       Out of here as well.      (Witness indicating.)

19 Q.       Out of the suitcase?

20          If I can put it up on the screen.

21          Can you read what the company is here?

22 A.       "California Security Cans."

23 Q.       Where is that located?

24 A.       In California.     Hermosa Beach.

25 Q.       Are there various items checked under here?




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1 A.          Yes.    There's Lysol spray, a Dow bathroom

2 cleaner and spray starch stain remover.

3 Q.          Could you -- there's certain things that are

4 marked as "25 percent off" with checkmarks next to it

5 under "Automotive."

6 A.          I can't see that.

7 Q.          Yes, because    I haven't moved it up far enough.

8 A.          Okay.

9 Q.          Can you read that into the record?

10 A.         Yes, ma'am.    If you could slide it a little

11 more.    " WD-40 Brake Cleaner, Gunk Engine Cleaner,

12 Liquid Wrench, Puncture Seal, Marvel Mystery Fluid."

13 Q.         And under "Specialty Can Safe?"

14 A.         Under "Specialty Can Safe, 25 percent off AJAX"

15 and --

16 Q.         And they're checked off?

17 A.         Yes, ma'am.

18 Q.         There's another checkmark down here; is that

19 correct?

20 A.         Yes, for "Carpet Deodorant."     And then under

21 "Beer and Soda:      Heineken beer,     RC Cola, 7-Up, Diet

22 Rootbeer , Sunkist , Dr. Pepper, Ginger Ale and           Pepsi."

23 Q.         On the other side here?

24 A.         "Diet Pepsi" and " Hawaii Punch."

25 Q.         And those are what?




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 1 A.        Beer cans or soda safes.

 2 Q.        Under "Deluxe Safes?"

 3 A.        Under "Deluxe Safes" it's "Fire Extinguisher

 4 Safe, Fully Working," and then "Auto Battery Safe."

 5 Q.        And, sir, lastly in that particular exhibit,             Ali

 6 1, did you locate any other items within the suitcase?

 7 A.        Yeah.   It struck our attention pretty quickly --

 8 when we opened this up, we noticed all the digital

 9 scales.     I made a note that there's 15 of the digital

10 scales in there.       At first glance they all appeared

11 unopened and unused at the time.

12 Q.        Could you read into the record -- are they all

13 the same type of scale?

14 A.        It appears we might have two different types.

15 Q.        Could you state for the record the two different

16 types?

17 A.        We have a    Tanita digital mini-slim scale, Model

18 Number 1475 T, and      Tanita Professional Mini, Model

19 1479 BV, as in "Victor."

20 Q.        And you counted how many scales?

21 A.        Fifteen, ma'am.

22 Q.        That's marked as     Ali 1(D)?

23 A.        Yes, ma'am.    No,   H.

24 Q.        I'm sorry,     Ali 1( H).    Thank you.

25           MS. GREENBERG:     May      I publish a representative




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 1 from Ali 1(H)?

 2          THE COURT:    Yes, you may.

 3          MS. GREENBERG:       As well as one of the books?

 4          Why don't we go with        The Bounty , which is     Ali

 5 1(D)?

 6          THE COURT:    You    may.

 7          BY MS. GREENBERG:

 8 Q.       You may resume the witness stand, sir.

 9          Did you also search the living room area of this

10 residence?

11 A.       Yes, ma'am.

12 Q.       Showing you what's marked as P-1(F).

13          Can you tell the jury what we're looking at

14 here?

15 A.       This, I believe -- this is the office area of

16 the home.

17 Q.       And were certain items taken from there?

18 A.       Yes.

19 Q.       What appears on this table right here?

20          Do you know what that is?

21 A.       Yeah.    I believe that's a cell phone that we

22 recovered.

23 Q.       Did you take a closer picture of that?

24 A.       I believe so.

25 Q.       Showing you P-1(G).




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 1          What is reflected there?

 2 A.       That is a -- that's a cell phone that we

 3 recovered.

 4 Q.       Showing you what's been marked as            Ali 6.

 5          If I may approach,       Your Honor?

 6          THE COURT:      Yes, you may.

 7          BY MS. GREENBERG:

 8 Q.       Do you recognize      Ali 6?

 9 A.       Yes.   This is the -- is this the cell phone

10 depicted in the picture and the one that is out of the

11 office of the apartment.

12 Q.       Did you seize any other cell phones that day?

13 A.       I believe we seized four.

14 Q.       Directing your attention to         Ali 5.

15          Do you recognize that exhibit?

16 A.       It is a cell phone that         I need photos to verify

17 which cell phone it was.

18          MR. MCKNETT :     Your Honor,     I'm sorry,    I couldn't

19 hear the witness's answer.

20          THE WITNESS:      I can't -- just looking at it like

21 this, I'm not sure which cell phone it is.          If         I had

22 the photographs or my notes,         I would be able to --

23          BY MS. GREENBERG:

24 Q.       Did you seize a cell phone out of a purse?

25 A.       Yes, I did.




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 1            MR. MCKNETT :       Objection.

 2            Leading,    Your Honor.

 3            THE COURT:        Rephrase the question.

 4            Sustained.

 5            BY MS. GREENBERG:

 6 Q.         Could you tell us, by looking at your notes to

 7 refresh your recollection, if that relates to another

 8 cell phone that you seized from the residence?

 9 A.         There's --     I seized a -- of the four, there's a

10 Cingular    cell phone from the table in the center of the

11 office.

12 Q.         What is distinctive about this phone that you

13 can tell it's on the table that's depicted in the

14 picture before the jury?

15 A.         This one?

16 Q.         Yes.

17 A.         The case is similar -- the case is the same, and

18 you can see the antenna and the clip.            It's that phone.

19            This one is another        Cingular   phone, and    I don't

20 know if my notes show which one it would be.                  I believe

21 I have two        Cingular    -- I have two   Cingular   phones:    One

22 from the table, and then            I have this one here.

23 Q.         Where is that from?

24 A.         I believe it's from the purse.

25 Q.         Where was the purse located?




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 1 A.       In the living room on the dining room table,

 2 which is the same place.

 3 Q.       Drawing your attention to the bedroom area of

 4 that residence.

 5          Did you also cause that to be searched?

 6 A.       Yes, ma'am.

 7 Q.       How many bedrooms were there?

 8 A.       Just the one.

 9          MS. GREENBERG:       Your Honor, if     I may approach.

10          THE COURT:     Yes, you may.

11          BY MS. GREENBERG:

12 Q.       Handing you what's been marked as           Ali 2.

13          Do you recognize that?

14 A.       This is an address book, or a notebook, that was

15 recovered.

16 Q.       From where?

17 A.       From the bedroom.

18 Q.       And Ali 3?

19 A.       Documents recovered from the bedroom.

20 Q.       Ali 4?

21 A.       Another phone bill recovered from the bedroom.

22 Q.       Were these little      stickies    on Ali 2 when you

23 recovered it, or that's been done since they were

24 re cover ed?

25 A.       That's been done since.




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 1 Q.       Putting     Ali 3 up on the monitor.

 2          Can you tell us in whose name this is in?

 3 A.       It's under the name "      L. N. Ali," and it's got

 4 the phone number.

 5 Q.       What is the phone number?

 6 A.       (301) 270-5319.

 7 Q.       And the date?

 8 A.       February 2, 1998.

 9 Q.       And Ali 4.

10          What are we looking at here?

11 A.       It is a     Verizon phone bill for      Lanora   Ali Garner

12 at 620   Sheridan    Street, Apartment 301.

13 Q.       What city and town?

14 A.       Hyattsville,     Maryland.

15 Q.       City and state.

16          And this is a period --        I'm sorry.    Let's go to

17 the billing date.

18          What is the billing date here?

19 A.       The billing date is 9/28 of '03.

20 Q.       And the total due?

21 A.       $239 .63.

22 Q.       Directing your attention to P-1(H).

23          Can you tell the jury what we're looking at

24 there?

25 A.       If you can slide it up a little bit more.




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 1          There's a small amount of cocaine and a straw,

 2 and the cocaine's in tinfoil.

 3 Q.       What are we looking at here in P-1(H)?

 4          Where is this?

 5 A.       In the bedroom, on the top of the dresser.

 6 Q.       And which bedroom is this?

 7 A.       The only bedroom.

 8 Q.       In what house?

 9 A.       It's 620    Sheridan.

10 Q.       Showing you what's been marked -- if            I may

11 approach -- as Drugs 34.

12          THE COURT:    Y es, you may.

13          BY MS. GREENBERG:

14 Q.       Can you tell the jury how that relates to what

15 they're seeing in the picture there, P-1(H)?

16 A.       These are the drugs that have been repackaged.

17 Q.       The drugs that they're seeing in the picture

18 there?

19 A.       Yes, ma'am.

20          MR. MCKNETT :     What's the e xhibit number , please?

21          MS. GREENBERG:     Drugs 34.

22          MR. MCKNETT :     Thank you.

23          MS. GREENBERG:       Your Honor, if     I may publish

24 this to the jury.

25          THE COURT:     Yes, you may.




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 1          BY MS. GREENBERG:

 2 Q.       Would you tell the jury what we're seeing here

 3 in P-1(I)?

 4 A.       In the dresser drawer there was a straw and some

 5 cocaine -- cocaine baggy inside the jewelry box.          The

 6 cocaine was in the top of the napkin that was inside of

 7 the jewelry box -- next to that jewelry box.

 8 Q.       Where is this -- where was this photo taken?

 9 A.       In the bedroom one -- in the bedroom, in the

10 dresser drawer.

11 Q.       How does that relate to what we're -- what we

12 saw in P-1(H) with the jewelry box?

13 A.       I don't know what you mean, "how it relates."

14 Q.       Same place?    Same area?

15 A.       Same area.    It's the outer bedroom.

16 Q.       Showing you what's been marked as Drugs 33.

17          Can you tell the jury how this relates to what

18 they're seeing on the screen?

19 A.       Yes, ma'am.    These are all the items taken out

20 of the -- taken out of that drawer.        You can see the

21 napkin; you can see the jewelry box, the straw and the

22 small amount of cocaine.

23          MS. GREENBERG:       Your Honor, may     I publish Drugs

24 33 to the jury.

25          THE COURT:     Yes, you may.




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 1          BY MS. GREENBERG:

 2 Q.       Sir, now we're looking at P-1(J).

 3          What is depicted there?

 4 A.       This is the bathroom inside the apartment.

 5 Q.       And did you locate items in there?

 6 A.       Yes.

 7 Q.       What did you locate in --         I'm sorry.    If    I could

 8 show you what's been previously marked as             Ali 7,    Ali 8

 9 and Drugs 32.

10          Could you tell the jury how, if at all,              Ali 7

11 relates to what they're seeing on the screen before

12 them?

13 A.       There was a brown toiletry bag on the shelf

14 depicted on the picture right behind the toilet, and

15 inside the brown toilet tube bag there were empty

16 glassine baggies with trace amounts of cocaine in it

17 and a straw cut down.

18 Q.       Can you see the toiletry bag on the picture?

19 A.       You see it on that first -- it's hard to see.

20 It is hard to see on there.          I believe it's on that

21 first shelf.    That should be it right there what you

22 zoomed in on the first shelf there.

23 Q.       Could you describe where it is on the picture?

24 A.       It's on the first shelf, what you have zoomed in

25 on.




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 1 Q.       Where on the picture?      Towards the left?

 2 Towards the right?      Towards the middle?

 3 A.       Towards the right.

 4 Q.       Perhaps if you could come up here again -- I

 5 apologize -- and just point it out so the jury can see,

 6 and also point out over here so counsel can see before

 7 you go see the jury.

 8          If you could point it out so counsel can see.

 9 A.       This right here.     (Witness indicating.)

10 Q.       And then if you could go show the jury with the

11 laser.

12 A.       Right there.     (Witness indicating.)

13 Q.       Thank you.

14          And Drugs 32.     Do you recognize that exhibit?

15 A.       This would be the small amount of cocaine that

16 came out of the toiletry bag.

17 Q.       The same location and the same bag you pointed

18 out?

19 A.       Yes, ma'am.

20 Q.       And Ali 8?

21 A.       This is a crack pipe that came out of the same

22 location.

23 Q.       Out of that bag that you pointed out?

24 A.       Yes, ma'am.

25          MS. GREENBERG:     Your    Honor, may    I publish    Ali 8,




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 1 Ali 7, and Drugs 32 to the jury?

 2            THE COURT:   Yes, you may.

 3            MS. GREENBERG:     Your Honor, at this tie time         I

 4 would like to read a stipulation that was agreed to by

 5 the parties relating to 620         Sheridan    Street.

 6            THE COURT:   O kay.

 7            MS. GREENBERG:    First of all, "Government

 8 Exhibit Drugs 32, .60 grams of cocaine was recovered

 9 from 620    Sheridan    Street, Apartment 301,       Hyattsville ,

10 Maryland, on or about        June 1st 2004;

11            Government Exhibit Drugs 33, a substance

12 containing a detectable amount of cocaine and              .14 grams

13 of cocaine base, commonly known as "Crack" was

14 recovered from 620       Sheridan   Street, Apartment 301,

15 Hyattsville , Maryland on or about           June 1st 2004;

16            Government Exhibit Drugs 34,        .08 grams of

17 cocaine base, commonly known as "Crack," was recovered

18 from 620    Sheridan    Street, Apartment 301,       Hyattsville ,

19 Maryland on or about        June 1st 2004;

20            And Government Exhibits      Ali 7 and    Ali 7, plastic

21 bags, straws and a plastic bottle pipe containing a

22 detectable amount of cocaine was recovered from 620

23 Sheridan Street, Apartment 301,          Hyattsville , Maryland

24 on or about     June 1st 2004."

25            No further questions,     Your Honor.




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 1            THE COURT:     All right.    Cross-examination.

 2            MR. MCKNETT:     Yes,     Your Honor.

 3            Your Honor, may        I ask when the court intends to

 4 break for lunch?

 5            THE COURT:     Pardon me?

 6            MR. MCKNETT:     May     I ask when the court is going

 7 to break for lunch?

 8            THE COURT:   When am       I going to take a break?

 9            MR. MCKNETT:     When would the court intend to

10 break for lunch?

11            THE COURT:     Right about 1:00, because there's a

12 judges meeting that I have to be at at 1:00, but close

13 to 1:00.     If you can't get finished before that, that's

14 fine.   We will come back.

15            MR. MCKNETT:      I won't get finished.       I wanted to

16 find a good break.

17            THE COURT:     No.   Pick an appropriate break point

18 and we'll break down.

19                           CROSS-EXAMINATION

20            BY MR. MCKNETT:

21 Q.         Detective, good afternoon.

22 A.         How are you sir?

23 Q.         I want to start by asking you some questions --

24 I'm taking this in reverse order, but              I want to start

25 with the photographs         Ms. Greenberg had showed you.




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 1          I want to start with photograph          P-1(J).    Do you

 2 see that here?

 3 A.       That helps.

 4 Q.       If I understood correctly, you indicated that

 5 this item here is the brown bag you were referring to?

 6 A.       That appears to be in the photo.

 7 Q.       Where is that brown bag now?       Do you know?

 8 A.       I don't know.

 9 Q.       Do you recognize this item back here, this blue

10 item?

11 A.       It appears to be a blue toiletry bag.

12 Q.       Let's take    P-I.   this is the photograph of a

13 dresser drawer?       I think you described it that way.

14 A.       Yes, sir.

15 Q.       This would be the top of the dresser here --

16 A.       Yes, sir.

17 Q.       -- items on it, and then this is the inside of

18 the drawer.

19          What was this item here?

20 A.       It looks like a watch box -- a box that would

21 contain a watch.

22 Q.       And this here is?

23 A.       An open napkin.

24 Q.       Was that napkin open in the drawer?

25 A.       Just as it appears there.




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1 Q.          When you arrived to take a picture; correct?

2 A.          Yes, sir.

3 Q.          Who found this?

4 A.          I'm not sure who was assigned to the bedroom,

5 but as soon as it was found it was brought to my

6 attention.

7 Q.          You don't know who was assigned to search the

8 bedroom?

9 A.          Not offhand.

10 Q.         Is there anything that would refresh your

11 recollection as to who was assigned to search the

12 bedroom?

13 A.         It would be down to two people.     It would be

14 Detective Simms or Detective        Collandria .

15 Q.         How many people were on your team -- your search

16 team?

17 A.         I had three county officers and       I believe two

18 from federal agencies.

19 Q.         Can you give us their names, please?

20 A.         I had Detective    Collandria   and Detective Simms,

21 Detective Hooper, and        I'm not real familiar with the

22 federal guys.

23 Q.         Is there anything that would refresh your

24 recollection as to who was in that team?

25 A.         I don't have anything with me.




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 1           MR. MCKNETT :     Your Honor,    I need to retrieve a

 2 document from the table, if         I may.

 3           THE COURT:    That's fine.

 4           MR. MCKNETT :    May I approach the witness,          Your

 5 Honor?

 6           THE COURT:      Yes, you may.

 7           BY MR. MCKNETT :

 8 Q.        Detective,    I want to show you a document.        It's

 9 a report of investigation.          I just want to turn to the

10 second page and see if that would refresh your

11 recollection as to who was on your team.

12 A.        It has myself, Detective Simms, Detective

13 Collandria , D etective     Hooper and, from Customs, Brown

14 and Hornberger , along with        Davis from    Montgomery

15 County.

16 Q.        Can you look to see who prepared that report?

17           Just flip that page back over.

18 A.        Right here?

19 Q.        Yeah.

20 A.        "Phillip    Carch ."

21 Q.        "Carch ?"    "Card?"

22 A.        It appears.

23 Q.        Was he on your team?

24 A.        No, sir.

25 Q.        Why is it he would have prepared this report if




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 1 he was not on your team?

 2 A.         Because   I hand over all evidence that we get

 3 over to the case agent or people responsible for the

 4 case, and they're responsible for preparing any kind of

 5 report of investigation.

 6 Q.         Who was the case agent to whom you turned over

 7 all the evidence that was seized?

 8 A.         The one   I was reporting to was Detective         Eveler.

 9 Q.         Detective   Eveler?   Thank you.

10            Does looking at that list of individuals refresh

11 your recollection as to who was assigned to search the

12 bedroom?

13 A.         Not specifically, but it was either going to be

14 Simms or Collandria.

15 Q.         But just --   I want to be clear on the process.

16            When you come in -- when your team comes in, are

17 the areas to be searched already -- had they already

18 been assigned, or are they assigned upon entry?

19 A.         Upon entry, because     I don't know the layout of

20 the apartment to see what's most effective.

21 Q.         So your team would have entered the apartment

22 and you would have done a visual search            examination     and

23 then assigned various people to go to different areas

24 and search; is that the way it works?

25 A.         Pretty much, sir.




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 1 Q.         But you don't -- it would be physically

 2 impossible for you to be with each person as they

 3 conducted the search; correct?

 4 A.         That's correct.

 5 Q.         Then after they search their areas they come to

 6 you and say, come see what         I found.

 7 A.         Yeah.

 8 Q.         And then you go -- in this case you would have

 9 gone to the bedroom; correct?

10 A.         Yes.

11 Q.         I'm referring again to      P-1(I).

12            You would have gone to the bedroom and that

13 person would have already pulled the drawer out;

14 correct?

15 A.         Typically, yes.

16 Q.         And said, this is what      I found; correct?

17 A.         Yes.

18 Q.         So you don't know if this paper and this -- is

19 this the straw you're referring to here?

20 A.         Yes.

21 Q.         You don't know if they were actually in that box

22 when it was found or not, do you?

23 A.         Typically, it's left as they see it.       Or if

24 they're searching -- as soon as they determine it could

25 possibly be evidence, anything -- all things seized at




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1 that point.

2 Q.       I didn't mean to cut you off.

3 A.       So when    I came there, that's what it looked

4 like.   Whether that seizing officer found it all

5 packaged nicely,      I don't know at this time.

6 Q.       Just to be clear, this item and these items

7 could have been in this item when first found.          You

8 don't know one way or the other; correct?

9 A.       It's possible.

10 Q.      I want to refer your attention now -- direct

11 your attention now to P-1(H).      This I think you

12 described as being on the dresser when you first saw

13 it.

14 A.      Yeah.   It's a little jewelry box.

15 Q.      This is the jewelry box here?

16 A.      That's the drawer of it.

17 Q.      Well, this object here is the drawer; right?

18 A.      Yes, sir.

19 Q.      And what's this item here?

20 A.      It appears to be a bracelet and a broach.

21 Q.      Okay.   When you say "jewelry box," you're

22 referring to this drawer.

23 A.      It appears that drawer is from a jewelry box.

24 Q.      Okay.   It appears, does it not, that this drawer

25 came out of here, doesn't it?




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1 A.          If you pan out -- yeah.

2 Q.          It looks like it was removed from this?

3 A.          Yes, sir.

4 Q.          Whatever this is.

5 A.          Yes, sir.

6 Q.          The jewelry box on top of the dresser; correct?

7 A.          Yes, sir.

8 Q.          And when you arrived, this is the way it looked;

9 correct?

10 A.         Yes.

11 Q.         This drawer had been taken out by someone, put

12 on top of the dresser, and these items were on display;

13 correct?

14 A.         Yes, sir.

15 Q.         Again, you don't know who took this drawer out

16 of this chest, do you?

17 A.         Not offhand.

18 Q.         And it would be logical, would it not, that the

19 person who was searching that room would have walked

20 in, pulled the drawers out -- and there's another

21 drawer here it looks like, right? -- pulled the drawers

22 out and looked in them to see what's in them; correct?

23 A.         That's correct.

24 Q.         And then removed this drawer because it

25 contained what appeared to be contraband; correct?




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1 A.          Yes, sir.

2 Q.          And then called you in to look at it?

3 A.          Yes, sir.

4 Q.          Detective,   I want to draw your attention now to

5 exhibit P-1(G), and         I think you referred to -- is this

6 the cell phone you referred to that was seized?

7 A.          Yes, sir.

8 Q.          And just to back up a little bit.     This is the

9 table that appears in the office area; correct?

10 A.         Yes.

11 Q.         Let me see if    I can find that.   Right there,

12 right?

13 A.         Yes, sir.

14 Q.         This is it here?

15 A.         Yeah.

16 Q.         There's the cell phone.   This a larger picture;

17 correct?

18 A.         Yes, sir.

19 Q.         Perhaps that wasn't the cell phone.     In any

20 event, it's hard to tell on this picture -- this is a

21 close-up; right?

22 A.         Yes, sir.

23 Q.         There's nothing -- what's the significance of

24 seizing the cell phone?

25 A.         In investigations, they're often valuable




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 1 evidence and who they're making contact with, who

 2 they're making phone calls to and receiving phone calls

 3 from.   A lot of evidence is stored in the cell phone.

 4 Q.         It's not -- the significance is not the cell

 5 phone itself, it's the information in the cell phone.

 6 A.         It could be the cell phone itself.      It depends

 7 on whose hands it's in.

 8 Q.         Do you know whose hand that cell phone was in?

 9 A.         It's sitting on a table.

10 Q.         Excuse me?

11 A.         It's sitting on a table.

12 Q.         So you seized it not because it was in

13 somebody's hand, but you seized it because you thought

14 there was other evidence you could develop from it;

15 correct?

16 A.         Yes.

17 Q.         Let's go back to when you first came in.

18            This is the parking lot as it appeared when you

19 arrived; correct?

20 A.         Yes, sir.

21 Q.         Can you see the apartment from here -- Ms.           Ali's

22 apartment?

23 A.         I don't believe so.

24 Q.         And this doorway here is here -- hidden behind

25 this car here?




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1 A.          Yes, sir.

2 Q.          And you took this picture to further identify

3 the premises; correct?

4 A.          Actually,   I didn't take those pictures.

5 Q.          You didn't take any of these pictures?

6 A.          I didn't take the pictures of the exterior of

7 the building.

8 Q.          Okay.   You took them to identify the building;

9 correct --

10 A.         Yes, sir.

11 Q.         -- to make sure you're in the right place?

12 A.         Yes, sir.

13 Q.         Then as you entered the apartment you see this

14 is an entryway here?

15 A.         Yeah, a little hallway.

16 Q.         What's here to the left?

17 A.         That's the living room.

18 Q.         This is the walk-in closet you referred to;

19 correct?

20 A.         Yes, sir.

21 Q.         This is a close-up of the walk-in closet, right?

22 A.         Yes, sir.

23 Q.         Are you looking -- it appears that somebody --

24 if you look here -- these items here -- do you see them

25 on picture     P-1(B)?




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1            You can see where    I'm pointing; correct?

2 A.         Yes.

3 Q.         They appear to be these items here in picture

4 P-1(C); right?

5 A.         Yes.

6 Q.         So the door to the closet would be over here.

7 A.         You're basically standing in the doorway.

8 Q.         But wouldn't you be standing --

9 A.         You're looking directly at them that way, and

10 with that second picture you're looking directly at

11 them again.

12 Q.        You're looking directly at them?

13 A.        I can't see.

14 Q.        Are you saying this picture?

15 A.        You're standing almost over top of them.

16 Q.        Excuse me?

17 A.        You're standing almost over top them shooting to

18 the back right corner.

19 Q.        Are you saying that you're standing -- whoever

20 took this picture -- did you take this picture?

21 A.        I think Detective Hooper did.

22 Q.        Are you saying that Detective Cooper was?

23 A.        Actually,    I took those pictures prior to the

24 search.

25 Q.        Are you saying that you were standing directly




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 1 in the doorway when you took the picture?

 2 A.       Pretty much at the doorway.

 3 Q.       I'm sorry,    I didn't finish my question.

 4 A.       Okay.

 5 Q.       Are you saying that you were standing directly

 6 in the doorway when you took this picture?

 7 A.       Yeah, just about.     Just about in the doorway.

 8 Q.       So you had the exact same angle on these two

 9 pictures?    One's closer than the other.

10 A.       Yeah.   Might have had the camera maybe turned a

11 bit to the right on the second picture, on the

12 close-up, but basically the same vantage point.

13 Q.       On this picture, if you're looking straight in,

14 you see the sugar -- looks like sugar, right?          Sugar

15 bags?

16 A.       Yes, sir.

17 Q.       But directly behind them, on         P-1(B), are other

18 items.   But directly behind them on          P-1(C), they're

19 clothing.    So you couldn't have been standing directly

20 in the doorway when you took this picture, could you?

21 A.       Sure could.    The camera could have been tilted a

22 different way.

23          THE COURT:      Mr. McKnett,    I think we're at a --

24 we'll take a break now, ladies and gentlemen, and we

25 will resume at ten minutes after two.




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 1                           (Off the record at 1     :02 p.m.)

 2                           (On the record at 2     :18 p.m.)

 3           THE COURT:      Ready for the jury?

 4           All right, Bea.

 5                    (Witness resumes the stand.)

 6                    (Jury returns at 2     :19 p.m.)

 7           THE COURT:

 8           THE COURT:      All right.    You may proceed,       Mr.

 9 McKnett .

10           MR. MCKNETT :      Thank you,    Your Honor.

11           BY MR.   MCKNETT :

12 Q.        Detective,      I want to come back to these two

13 photographs that       I was having trouble with before we

14 broke for lunch.

15           You took these photographs; right?

16 A.        Yes, sir.

17 Q.        This is coming in the front door; right?

18 A.        Yes, sir.

19 Q.        And if   I --

20           MS. JOHNSTON:      Could we have an e       xhibit number,

21 please?

22           MR. MCKNETT :      E xhibit   P-1(B).

23           BY MR.   MCKNETT :

24 Q.        Now I'm looking at       P-1(C).   If    I understand

25 correctly, you would have taken            P-1(C) when you were




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 1 standing about here?

 2 A.         Maybe a little to the right, just inside the

 3 doorway.

 4 Q.         Looking more to the right than straight back?

 5 A.         Yes.

 6 Q.         Okay.   This would be the far right corner in

 7 that walk-in closet; correct?

 8 A.         Yes.

 9 Q.         And it was back in this area, somewhere behind

10 these clothes, where you found that blue suitcase?

11 A.         Yes, sir.

12 Q.         You didn't find it, but somebody found it.

13 A.         Yes, sir.

14 Q.         Do you know who found it?

15 A.         Detective Hooper.

16 Q.         Detective Cooper.

17            Was it Detective Cooper's responsibility to

18 search the walk-in closet?

19 A.         It was.

20 Q.         Did he have any other responsibilities that day?

21 A.         She did.    I don't recall what other

22 responsibilities, but       I vividly remember her doing the

23 closet.

24 Q.         Did Detective   Cooper do the search of the

25 suitcase itself?




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 1 A.        She opened it up once she saw -- she pulled it

 2 out into the living room.      She opened it up and she saw

 3 the contents of it; she called me over and              I seized it.

 4 Q.        Okay.    This --   I'm looking now at       P-1(D) and

 5 P-1(E).   They're pictures of the same thing, but one's

 6 a closer picture; correct?

 7 A.        Yes, sir.

 8 Q.        P-1(D) is further away;       P-1(E) is closer.

 9           Now, when you came to inspect the items, this is

10 the way they were laid out when you got there; correct?

11 A.        No.     I believe everything was in the suitcase,

12 including the scales.

13 Q.        Okay.    The suitcase was opened.

14 A.        We couldn't see the money at first.

15 Q.        Right.    That was my next question.       The safe was

16 closed?

17 A.        The safes were closed.

18           What immediately brought our attention to the

19 contents of the suitcase were the bag of scales.

20 Q.        But everything was still in the suitcase when

21 you arrived at the closet.

22 A.        Yes.

23 Q.        Coming back to     P-1(C) and    P-1(B).

24           Did you take these photographs after you took

25 the picture of the safe -- the suitcase?




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 1 A.       No.   This is prior to searching the closet.

 2 Q.       Was the closet door opened when you first

 3 arrived as it is in this picture?

 4 A.       Yes, I believe so.        I believe the coats hanging

 5 on it would have made it impossible to close.

 6 Q.       Since we last talked, have you been able to

 7 remember who searched the bedroom?

 8 A.       No.    I haven't given it any thought.

 9 Q.       Do you recall who searched the bathroom, the

10 bathroom reflected in       P-1(J)?

11 A.       If I recall,     I did that myself.

12 Q.       You testified that you did not take photographs

13 P-1 P-1(A); correct?

14 A.       That's correct.

15 Q.       Do you know who did?

16 A.       I do not.

17 Q.       Was it a member of your team?

18 A.       No, sir.

19 Q.       Was it a member of the entry team?

20 A.       No, sir.    That was part of the briefing packet.

21 Q.       You had these beforehand?

22 A.       That's correct.

23 Q.       I mentioned the briefing team -- not the

24 briefing team; the entry team.

25          You say your team entered at about 10:45;




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 1 correct --

 2 A.       That's correct.

 3 Q.       -- in the morning?

 4          Do you know what time the entry team entered

 5 that apartment?

 6 A.       We did not utilize them.

 7 Q.       Excuse me?

 8 A.       We did not utilize a SWAT team for the entry of

 9 the --

10 Q.       At all?

11 A.       That's right.

12 Q.       What time did you arrive at the premises that

13 day?

14 A.       At that specific apartment?

15 Q.       Yes.

16 A.       About 10 :45.

17 Q.       Where had you been --

18          MS. GREENBERG:     Objection.

19          Relevance.

20          THE COURT:     Overruled.

21          MR. MCKNETT :     Where had you been --

22          MS. GREENBERG:     May we approach,        Your Honor?

23                    (At the bar of the Court.)

24          MS. GREENBERG:       Your Honor, they -- it's not

25 that they were conducting another search warrant in




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 1 this case; they went to the wrong address.               I don't see

 2 how that's relevant to this witness's testimony.

 3            MR. MCKNETT:     Your Honor, it's sloppy police

 4 work and    I'm entitled to show the officer's credibility

 5 would be affected by the precision with which the

 6 search is carried out, the sloppy police work -- they

 7 went to the wrong apartment.

 8            THE COURT:     Same building?

 9            MR. MCKNETT:     Same building.

10            MS. GREENBERG:     It was not this officer's fault.

11            MR. MCKNETT:     I'm not saying it's his fault.

12 I'm not blaming anybody.

13            MS. GREENBERG:     He's impeaching him with

14 somebody else's mistake, and it's not relevant.

15            MR. MCKNETT:     I think it's fair for me to ask

16 him about circumstances about a search.         What happened

17 is they went into a wrong apartment about six o'clock

18 in the morning.     It was a previous apartment my client

19 lived in, 415, as opposed to 301 where she lived.          They

20 entered that apartment, realized their mistake,

21 apparently came back here and got a valid warrant for

22 the proper address, but         I'm entitled to --

23            MS. GREENBERG:     It was the information,        Your

24 Honor, made available through all the records and given

25 to the magistrate.      They were given permission to go to




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 1 that apartment.

 2          THE COURT:      I know.

 3          MR. MCKNETT :     Your Honor, it's important because

 4 it's going to be part of my final argument that not

 5 only were they sloppy in the beginning of the search;

 6 they were sloppy in the search of the apartment itself.

 7 I'm making an argument that some of the items --

 8          THE COURT:     They had information on an old

 9 apartment number, and that's where they went to and

10 found out it was the wrong one.       Then they went back to

11 the right one.

12          MR. MCKNETT :     In the affidavit itself it lists

13 the proper apartment number, but in the search warrant

14 it lists the wrong one.      They were prepared by the same

15 person, and one of the --

16          THE COURT:     Is he the affiant in support of the

17 search warrant?

18          MS. GREENBERG:     No,    Your Honor.

19          MR. MCKNETT :     Excuse me,    Your Honor?

20          THE COURT:     Is he the affiant in support of the

21 search warrant?

22          MR. MCKNETT :     I think   I'm entitled to ask him as

23 far as the precision --

24          THE COURT:     It has nothing to do with his

25 precision is the problem.      Whoever the affiant was may




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 1 very well --

 2           MR. MCKNETT:     Your Honor,     I'm not going to ask

 3 him if it was his fault.         I'm going to ask him if he

 4 was directed to the wrong apartment.

 5           THE COURT:     I'm going to sustain the objection.

 6           MR. MCKNETT:     Your Honor, this cuts to the heart

 7 of my argument and the heart of my defense.

 8           THE COURT:     Go after him for all the sloppiness

 9 in the search he conducted all you want, but the fact

10 he went to the address on the warrant that he had in

11 his hands at six o'clock in the morning and it turned

12 out to be the wrong address does not show that he, this

13 officer, was sloppy.      It shows that somebody else was

14 sloppy.

15           MR. MCKNETT:     Your Honor,     I don't think --         I'm

16 not comfortable revealing this initially because                I

17 don't think     I should have to do it, but        I will.

18           There is also a fundamental problem with what

19 this officer has already testified to as to the time

20 and place of my client at the time he entered the

21 apartment.     He testified that my client was in the

22 apartment at 10 :46 that morning and he saw her there

23 and he arrested her -- his team arrested her.          I can

24 show from other documentation that my client was in

25 fact arrested shortly after 6        :30 that morning and was




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 1 literally downstairs in this building being questioned

 2 at 10 :46 when this officer entered the apartment.

 3          MS. GREENBERG:      That's a legitimate area of

 4 cross-examination,      Your Honor, not --

 5          THE COURT:      You may examine him about that.

 6 That's fine.

 7          What I'm saying is,       I don't think you can

 8 impeach this witness as being a sloppy police officer

 9 based upon what some other police officer did when he

10 swore out an application for a warrant.

11          MR. MCKNETT :       Your Honor,   I am not saying he's a

12 sloppy police officer.         I am not going to say that.          I

13 am not going to ascribe the mistake to him.               I will ask

14 him, if the court would like, did you go to the address

15 on the warrant that you were given?        And he will say

16 yes.   And   I'll say, did you -- subsequently, did you

17 find out that it was the wrong apartment?         That's not

18 his fault.

19          THE COURT:    Mr.     McKnett , we are not going to put

20 on trial the issue about the first search of the wrong

21 apartment based upon what some other officer did in an

22 application for a warrant.          I've sustained the

23 objection.

24          You may inquire as to whether he was arrested --

25 she was arrested at a different time than is testified




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 1 to.

 2            MR. MCKNETT:    He's already testified to that,

 3 and I don't intend to get into that with him,              Your

 4 Honor, but     I do -- the purpose of me asking these

 5 questions is to show that there are inconsistencies in

 6 the testimony of these officers as to what happened

 7 that morning.

 8            THE COURT:     I don't think that going into what

 9 happened at 6 :30 in the morning is going to impeach

10 what he's testified to from the stand thus far.

11            MR. MCKNETT:     Your Honor, I had intended to do

12 that.

13            MS. GREENBERG:      Your Honor has ruled.     We're

14 just revisiting the same arguments.

15            THE COURT:     I've already made my ruling,        Mr.

16 McKnett.     I wish     I could do it better, but that's the

17 best I can do.

18            MR. MCKNETT:     Just to complete the record, then.

19 What I had intended to do was address the incorrect

20 entry -- the entry to the incorrect apartment by

21 someone perhaps on the entry team, but he said there

22 was no entry team; he did it.       So, he went to the wrong

23 apartment and his people arrested          my client at about

24 6:30 in the morning.

25            THE COURT:     He went to the apartment that was




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 1 identified on the search warrant.

 2          MR. MCKNETT :     Excuse me?

 3          THE COURT:     He went to the apartment that was

 4 identified on the warrant.

 5          MR. MCKNETT :     Then they went immediately

 6 downstairs to the correct apartment and arrested my

 7 client at that time and then waited until a valid

 8 warrant was delivered at 10        :30.   Then they went in and

 9 did the search, but his team arrested my client at --

10          THE COURT:     You can ask him, what time of day

11 did you arrest her.

12          MR. MCKNETT :     He's already said 10      :46 -- 10 :45.

13          THE COURT:     You can challenge him.      This is your

14 right to cross-examine him on that.

15          MR. MCKNETT :     But his credibility is the issue,

16 Your Honor.

17          THE COURT:     His credibility is always an issue.

18 If you ask him, isn't it a fact, officer, that you

19 didn't arrest her at 10      :45 -- you arrested her at 6        :30,

20 isn't that a fact?     If he then says no, it's not the

21 case, then we may have to revisit the question.

22          MR. MCKNETT :     In order to accurately and fully

23 explore that issue, I have to be able to put it in

24 context, and the context is he arrested her shortly

25 after going to the wrong apartment.




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 1             THE COURT:     I don't think it's proper

 2 impeachment of this officer that he went to the wrong

 3 place that was accurately described in the first search

 4 warrant.     You may impeach him if he tried to deny that

 5 he didn't arrest her at 6          :30.    If in fact she was

 6 arrested at 6 :30 and he's now saying he arrested her at

 7 10 :45, you can challenge her.

 8             MS. GREENBERG:        Your Honor,   I don't want him

 9 challenging him by saying, you went to the wrong

10 apartment and then afterwards --              I don't want him

11 slipping it in and out.

12             THE COURT:     Let's see what happens.

13             MR. MCKNETT:     If    I can't address that he went to

14 the wrong apartment, how can              I challenge him when he

15 arrested my client?

16             THE COURT:     If he denies he arrested her at

17 6:30, we may have to go back to this issue.

18             MR. MCKNETT:     But if    I can't --    I understand.

19 I'm just trying to be clear on what questions               I can

20 ask.   If    I can't ask him where --

21             THE COURT:     I can't tell you what you can ask

22 him until     I hear what his answer is to that question.

23 You're telling me, as an officer of the court, that she

24 was in fact arrested at 6          :30, and on cross-examination

25 you ask, isn't it a fact, officer, she wasn't arrested




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 1 at 10 :45; she was arrested at 6        :30 in the morning?

 2 Isn't that true?      And if he says no, it was 10           :45, then

 3 we have to revisit the question of if he went there at

 4 6:30 with the wrong warrant.

 5          MR. MCKNETT :     Depending on his answer.

 6          THE COURT:     It depends on the answer.      We may

 7 have to come back and talk about this.

 8                         (Back in open court.)

 9          MR. MCKNETT :     Your Honor, may       I consult    Mr.

10 Montemarano     for a second?

11          THE COURT:      You may.

12          BY MR. MCKNETT :

13 Q.       Detective,     I want to turn your attention right

14 now to the blue suitcase,         Ali 1, which    I will now, if        I

15 may Your Honor, put up on the table here.

16          Detective, where was that suitcase when you

17 first saw it?

18 A.       On the living room floor.

19 Q.       Was it closed when you saw it?

20 A.       No, it was open.

21 Q.       Do you know who opened it?

22 A.       Detective Hooper.

23 Q.       Do you know how he opened it?

24 A.       She?   No,   I do not.

25 Q.       Did you ever see a key to the suitcase?




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 1 A.         I don't recall.

 2 Q.         Well, is it a fact that      Detective    Cooper had to

 3 pry it open, didn't he?

 4 A.         I don't know.

 5 Q.         You were in charge of the search; right?

 6 A.         That's correct.

 7 Q.         And you don't know who searched the bedroom;

 8 correct?

 9 A.         I don't recall at this time.

10 Q.         And you don't know how the agent opened this

11 suitcase; correct?

12 A.         No, sir.

13 Q.         Do you have any records that would refresh your

14 recollection?

15 A.         No, sir.

16 Q.         Did you make notes as you were carrying out this

17 search?

18 A.         Of how the suitcase was opened?      No, sir.

19 Q.         Did you make any notes at all?

20 A.         Notes on some locater cards.     That's about it.

21 Q.         The locater cards?    That's about it?

22            Did you make any notes as to certain times

23 things were discovered?

24 A.         I don't know if that was logged on the cards or

25 not.




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1 Q.         Do you know if you made any records concerning

2 when the suitcase was open?

3 A.         No, I don't believe     I did.

4 Q.         Did you seize any keys from       Ms. Ali?

5 A.         I don't recall seizing any keys.

6 Q.         Did you seize any keys from -- well,          Ms. Ali's

7 husband,     Mr. Garner?

8 A.         I don't recall recovering any keys -- seizing

9 any keys.

10 Q.        But you do recall seeing the suitcase?

11 A.        Yes, sir.

12 Q.        When you saw it, it was open.

13 A.        Yes, sir.   On the floor in the living room.

14 Q.        I think you said what first caught your eye were

15 the safes.

16 A.        The scales.

17 Q.        Excuse me, the scales -- bag of scales.       There

18 were 15 or so scales in here?

19 A.        Yes, sir.

20 Q.        Were these scales submitted for fingerprint

21 analysis?

22 A.        I don't know, sir.

23 Q.        There's no black powder on them, is there?

24 A.        I didn't open them up, but it didn't appear

25 there was.




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 1 Q.       There's no black powder on any of the boxes, is

 2 there?

 3 A.       There doesn't appear to be, sir.

 4 Q.       That would indicate they were not submitted for

 5 fingerprint analysis, wouldn't it?

 6 A.       I don't know if they've been cleaned.         I can

 7 only assume they were not.

 8 Q.       Well, would it be your practice to do a

 9 fingerprint analysis on an object and then clean it up

10 nicely afterwards?

11 A.       I typically do not.

12 Q.       Does anybody?

13 A.       I can't testify for everybody or anybody.

14 Q.       Have you ever seen anybody do that?

15 A.       I don't believe I have.

16 Q.       Then you noticed these book safes; correct?

17 A.       Yes, sir.

18 Q.       This is not the condition they were in when you

19 found them, is it?

20 A.       No, sir.    They were closed.

21 Q.       They were closed.

22          Do you know how these were opened?

23 A.       With a screwdriver.

24 Q.       So you didn't have the key for these either, did

25 you?




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 1 A.         No, sir.

 2 Q.         These were in the suitcase.

 3 A.         Yes, sir.

 4 Q.         All three of them.

 5 A.         Yep.

 6 Q.         All three of them were locked.

 7 A.         Yes, sir.

 8 Q.         This is the bag the safes were in, isn't it?

 9 A.         I don't know.

10 Q.         It's an empty bag.    It was not in the suitcase

11 when you found it; right?

12 A.         That's right.

13 Q.         This California Security Can receipt or list,

14 whatever you want to call it,         Ali 1(E) -- by the way,

15 the book safes are        Ali 1(B), (C) and (D); the scales

16 are Ali 1(H), and the suitcase is           Ali 1; is that

17 correct?

18 A.         I'll take your word for that over there.

19 Q.         The California Security Cans checklist,           Ali

20 1(E).

21            Do you see that here?

22 A.         Yes, sir.

23 Q.         Do you see up in the right-hand corner the date?

24 A.         "June 1996."

25 Q.         That's the date that's printed on the form;




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1 correct?

2 A.         Yes, sir.

3 Q.         This was discovered when?

4 A.         June 1st of 2004.

5 Q.         Eight years later; correct?

6 A.         Yes, sir.

7 Q.         The Currency/Money/Instrument Seizure Inventory,

8 Ali 1(A).

9            Do you recognize that?

10 A.        It's a form that I looked at earlier today.

11 Q.        That was not the suitcase when you found it, was

12 it?

13 A.        No, sir.

14 Q.        Who filled that out?

15 A.        I'm sure the detective's name is on the bottom.

16 It's difficult to read.

17 Q.        Whose name is that?

18 A.        It's difficult -- "Lanf      ord," maybe?   It's

19 difficult to read from here.

20 Q.        It's zoomed in as far as I can go.      Oh, no it's

21 not.   I can do better than that.       Here we go.

22 A.        "Lamf ord ."   " Lawford."   I can't make out the

23 signature on the bottom.

24 Q.        Do you know either of those two people?

25 A.        I do not.




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 1 Q.       This was something that was prepared and then

 2 put in or within the suitcase; correct --

 3 A.       Yes.

 4 Q.       -- in lieu of the cash.

 5 A.       Yes.

 6 Q.       Where's the cash?

 7 A.       I don't know.

 8 Q.       Ali 1(G), the money wrappers.

 9          You testified earlier that these were around the

10 money; correct?

11 A.       Yes, sir.

12 Q.       The money was bundled up in these wrappers.

13 They were not laying loose in the suitcase, were they?

14 A.       That's correct.

15 Q.       There's also in this bag, as part of            Ali 1(G)

16 these three envelopes.

17          Do you recognize them?

18 A.       Yes.

19          Those three envelopes would have been containing

20 what I have listed as an approximate $9,600 of money.

21 Q.       And there's writing on the back of this one.

22          Do you see that?

23 A.       That says two thousand $100s and three $50s.

24 Q.       Do you know who put that on there?

25 A.       No, I do not.




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 1 Q.       So the money was wrapped up in these money

 2 wrappers.

 3 A.       My estimate on the scene was $120,000 was

 4 wrapped up in the wrappers, and the other money was in

 5 the envelopes.

 6 Q.       $120,000 was wrapped up in the wrappers, and

 7 then there was how much in these envelopes?

 8 A.       $9,600.

 9 Q.       Detective,     I'm now showing you      Ali 1(F).

10          Let me hand those to you, if         I may,   Your Honor.

11          Detective, what are they?

12 A.       These appear to be receipts for furniture with

13 the name " Paulette     Martin" on it, looking at the first

14 one.

15          How deep do you want me to go in the stack?

16 Q.       Excuse me?

17 A.       How deep do you want me to go in the stack?

18 Q.       I want to ask you about that.

19          Did you examine these?

20 A.       Not each individual one.          I looked at the -- saw

21 that they had names associated with the case, so               I

22 seized the whole bundle.

23 Q.       Detective,     I would like you to look at some of

24 these documents.      There is a -- is there a cash

25 register receipt, a yellow one, in there somewhere?




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 1 A.        Right in the front?

 2 Q.        Yes.

 3 A.        For Danker Furniture?

 4 Q.        Yes.   What's the date on that?

 5 A.        6/25 of '96.

 6 Q.        '96?

 7 A.        Yes, sir.

 8 Q.        Look at some --     I don't want to sit here and

 9 make you sit here and look at every receipt in there.

10           Do they all appear to be in the same of

11 "Paulette    Martin?"

12 A.        Yes, they do.

13 Q.        I want to draw you your attention -- let me look

14 at this first.      Look at some of the dates, if you

15 would.

16           Would you read off some of the dates at random?

17 A.        Let's see.      June of '02.      July '02.      April of

18 '02.     April of '99.    No date.   '96.    '02.   '97.   '99.

19 '99.

20           Would you like me to keep going?

21 Q.        You can stop whenever you want to.

22           Every document you looked at had          Paulette

23 Martin's name on it?

24 A.        It did.

25 Q.        I'll retrieve that, if you like.




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1          So, the money was in these safe boxes.

2 A.       The majority of it was, yes.

3 Q.       What was not in the safe boxes was in these

4 envelopes; correct?

5 A.       That's correct.

6 Q.       The envelopes were closed?

7 A.       I don't recall.

8 Q.       You can't recall that?

9 A.       I don't recall if they were closed or not.

10 Q.      In any event, it was all in the suitcase, and

11 the suitcase was closed and locked; correct?

12 A.      I don't know if it was locked or if --            I don't

13 know if we needed to force it open or not.

14 Q.      Wouldn't that have been a significant fact to

15 make note of that entry had to be made by way of force

16 into the suitcase?

17 A.      Not really.

18 Q.      Wouldn't it have been a significant fact to make

19 note of that someone had the keys and you did not have

20 to force entry into the suitcase?

21 Q.      That would have been a significant fact,

22 wouldn't it, if the keys were in         Ms. Ali's possession?

23 A.      If they were.

24 Q.      But they weren't, were they?

25 A.      No.




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 1 Q.       They weren't in      Mr. Ali's possession, were they?

 2 A.       I don't recall using a key to open it up.

 3 Q.       Detective, let's look at some of the other

 4 things that were seized at         Ms. Ali's residence.

 5          There was a brown spiral notebook; correct?

 6 A.       Yes, sir.

 7 Q.       And you seized that because items of that sort

 8 have information in them; correct?

 9 A.       Typically, yes.

10 Q.       And you can use that in some cases to find lists

11 of ledger sheets, drug sales, that sort of stuff;

12 right?

13 A.       You can find a lot of things in them.

14 Q.       That's one of the things you can find; right?

15 A.       Sometimes.

16 Q.       You didn't find any of that in the brown

17 notebook, did you?

18 A.       I didn't look.

19 Q.       Did anybody tell you you found ledger sheets --

20 they found ledger sheets in that notebook?

21 A.       There's no need to tell me.

22 Q.       You found -- let me find the right e          xhibit

23 number here.    In picture P-1(G) -- no, excuse me,

24 P-1(G) was the drawer.

25          Let me put it this way.      You called it a




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 1 "jewelry box drawer;" correct?

 2 A.         Yes, sir.

 3 Q.         And it had -- again, what did it have in it?

 4 What was this item?

 5 A.         Tinfoil, with a little bit of coke in it.

 6 Q.         What's this item?

 7 A.         A straw.

 8 Q.         That would indicate personal use, wouldn't it?

 9 A.         Sometimes, yes.

10 Q.         Sometimes?

11 A.         Well, yes.

12 Q.         Always; right?

13 A.         There's actually legitimate purposes for straws

14 sometimes, but --

15 Q.         Well, seeing --

16 A.         In proximity, yes.

17 Q.         Found this way, that would indicate virtually

18 100 percent of the time personal use of cocaine;

19 correct?

20 A.         Yeah.

21 Q.         Showing you now picture 1(I).

22            Similar; correct?

23 A.         Yes, sir.

24 Q.         A straw?

25 A.         Yes, sir.




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1 Q.       And a little -- you can just make it out here a

2 little baggy.

3          Do you see that?

4 A.       Yes.

5 Q.       That's a very small baggy, isn't it?

6          It's a very small baggy, isn't it?

7 A.       If it was filled with coke, it's actually a

8 pretty good size bag.

9 Q.       You find a baggy that size -- did that have

10 residue on it?

11 A.      Yes.

12 Q.      Which means it had drugs in it at one time but

13 doesn't now?

14 A.      That's correct.

15 Q.      It would indicate somebody used the drugs that

16 were in that baggy; correct?

17 A.      Perhaps.

18 Q.      Especially when you find a little straw next to

19 it; correct?

20 A.      Yes.

21 Q.      Indicates personal use, doesn't it?

22 A.      It often does.

23 Q.      Almost 100 percent of the time?

24 A.      It often does.

25 Q.      Let's go to the bathroom and P-1(J).         Not




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1 literally, but --

2          THE COURT:     We'll do that at 3      :30.

3          BY MR. MCKNETT:

4 Q.       This is P-1(J); correct?

5 A.       Okay.

6 Q.       And you claim that -- you testified that this

7 right here is the brown toiletry bag that was seized --

8 A.       Yes, I believe that is --

9 Q.       -- correct?

10 A.      I don't think     I seized the toiletry bag.          I

11 believe it was just the contents.

12 Q.      The contents?

13 A.      Yes, sir.

14 Q.      The items that were in the bag were seized?

15 A.      Correct.

16 Q.      And those items,      I believe you testified to as

17 to -- were    Ali 7 and 8.     Ali 7 was a plastic baggy with

18 a straw and trace; right?

19 A.      Out of the bathroom       I have cocaine, baggies and

20 the crack pipe looking at my notes.           I don't know what

21 --

22 Q.      You didn't find a quantity of cocaine, did you?

23 You found the straw.

24 A.      No.   There was about a half a gram of coke.

25 Q.      Do we have that here?      Can     I see it, please?




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 1          Officer, when items of this sort -- drugs,

 2 paraphernalia, suspected        CDS -- are seized, a report is

 3 made; correct?

 4 A.       Yes.

 5 Q.       They're entered in a log of sorts -- a form;

 6 right?

 7 A.       Yes.

 8 Q.       Do you --    I want to show you what's been marked

 9 as a Number 1.

10          Do you recognize this form?

11          Let me zoom it in a little bit.            I can show it

12 to you, if it would be easier.

13 A.       They won't be able to see it.

14 Q.       I can show it to you and then put it back up.

15          Do you want to see it?

16 A.       Yes.

17          MR. MCKNETT :     May I approach,      Your Honor?

18          THE COURT:      Yes, you may.

19          THE WITNESS:     This is a      Montgomery County Police

20 form that    I'm not familiar with it.      Looking at it,

21 it's a request for analysis of drugs and evidence

22 transmittal sheet.

23          BY MR. MCKNETT :

24 Q.       This has to do with the search on           Sheridan

25 Street; right?




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 1 A.         Let me look at it.    Yes, it appears to.

 2 Q.         So this would -- this is the list of items that

 3 were found during the search of          Ms. Ali's residence;

 4 correct?

 5 A.         Yes.

 6            MS. GREENBERG:      Your Honor,   I'm going to object

 7 to it.     This witness says he's not familiar with that

 8 form.

 9            MR. MCKNETT:     He said he's familiar with the

10 contents of it.

11            THE COURT:     Well, he's not familiar with the

12 form.    He's just familiar with --

13            MR. MCKNETT:     He answered the question that he

14 knows this was the report that was filed concerning the

15 --

16            THE COURT:     I'll overrule the objection.      Stay

17 within his personal knowledge, if you can.

18            BY MR. MCKNETT:

19 Q.         To the best of your knowledge, all the drugs and

20 paraphernalia that would have been seized would have

21 been listed on this form or a form like this; correct?

22 A.         I don't know exactly what form they would have

23 been --    I merely hand them over to the case agent, and

24 where it goes from there         I'm not real sure.

25 Q.         There is a form -- if not this one -- somewhere




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 1 that lists all the drugs --

 2 A.       In Prince    George's    County we have forms that

 3 cover drugs and property; that's correct.

 4 Q.       You say "we." You're talking about?

 5 A.       We -- me being      Prince   George's   County police.

 6 Typically, yes.

 7 Q.       There were members from Montgomery County on

 8 your team, weren't they?      Your search team?

 9 A.       Yeah.

10 Q.       It's possible that somebody from           Montgomery

11 County seized the drugs and forwarded them?

12 A.       I imagine that was filled out by a           Montgomery

13 County police officer.

14 Q.       Right.

15          You said there was about a half a gram of

16 cocaine that was seized?

17 A.       Yes, sir.

18 Q.       Powder?

19 A.       Excuse me?

20 Q.       Powder?

21 A.       I don't recall.

22          If I could see it,       I could tell you.

23 Q.       If you see --     I'm sorry,    I couldn't hear you.

24 A.       Ha nd me the exhibit, and typically you can tell.

25 Q.       Okay, you're right.      It's right here in front of




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 1 me.

 2 A.         The drugs aren't in here.     You don't have the

 3 drugs.     The drugs aren't there.

 4 Q.         Okay.   Well, hold onto that for just a second.

 5 A.         Okay.

 6 Q.         Take a look at the other item in there.

 7 A.         This?

 8 Q.         Is there an e xhibit number on that?

 9 A.         This is   Ali 8.

10 Q.         And the other -- the first one is Ali 7?

11 A.         This is   Ali 7.

12 Q.         Okay.   Have you had a chance to look at them?

13 A.         Yes.

14 Q.         Familiar with it?

15 A.         Yes.

16 Q.         Could I have it back, please?

17 A.         Yes, sir.

18 Q.         Thank you.

19            MS. GREENBERG:      Mr. McKnett, here is the other

20 exhibit.

21            MR. MCKNETT:     Thank you.

22            Now, I'm going to show you Drugs 32.

23            MS. GREENBERG:      I'm sorry.   Could you say the

24 number again?

25            BY MR. MCKNETT:




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 1 Q.         Drugs 32.

 2 A.         Okay.

 3 Q.         Those are the drugs; correct?

 4 A.         Actually,    I was wrong.   In that condition       I

 5 can't tell if it's crack or if it's coke.         It got

 6 smashed up.

 7 Q.         Okay.   This is -- in any event, this is it;

 8 right?

 9            I'm not going to take it out of a sealed bag.

10 It's the small package here?

11 A.         Yes, the small package.

12 Q.         It's kind of hidden on reflection, but          I'll

13 publish that if        I may in just a moment.

14            Let's come back to     Ali 7 for just a second.      As

15 you pointed out, there are no drugs in there, but there

16 is an object in there; isn't there?

17 A.         There's a baggy with smaller baggies and a

18 straw.

19 Q.         A straw?

20 A.         Yes, sir.

21 Q.         Thank you.

22            It looks like there are three, perhaps, smaller

23 baggies.     Want to take a look again?

24 A.         Three or four.    There's a few.

25 Q.         It appears they also have -- at least two of




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1 them -- it looks like all of them have residue in them.

2 A.        It does.

3 Q.        And you found these small baggies which are hard

4 to see on the screen, but        I'll publish them here.

5           There's a straw here; correct?

6 A.        Yes.

7 Q.        When the straw was recovered, it didn't have

8 this red tag on it, did it?

9 A.        No.

10 Q.       It was a clear plastic straw; correct?

11 A.       Yes.

12 Q.       It also had residue on it; correct?

13 A.       Yes.

14 Q.       Which would indicate that it had been used for

15 ingesting cocaine?

16 A.       Correct.

17 Q.       It would a fair assumption that the cocaine that

18 had come out of this through this straw would have come

19 out of these envelopes, wouldn't it?

20 A.       Sure.

21 Q.       And this item,     Ali 8.   You looked at that;

22 right?

23 A.       Yes.

24 Q.       What is that?

25 A.       It's a homemade crack pipe.




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1 Q.       And it is used to smoke crack cocaine; correct?

2 A.       Correct.

3          MR. MCKNETT :     Your Honor, may      I publish these

4 items?

5          THE COURT:     Yes.

6          MR. MCKNETT :     Did you publish these?

7          MS. GREENBERG:        You can do it again.

8          BY MR. MCKNETT :

9 Q.       And that sort of homemade smoking pipe would

10 also indicate personal use, wouldn't it?

11 A.      Yes.

12 Q.      Not sale or distribution; correct?

13 A.      It indicates use.

14 Q.      But it does not indicate distribution, does it?

15 A.      No.

16 Q.      It indicates the person who used that was the

17 end user; correct?

18 A.      Correct.     It does not exclude the other, no.

19 Q.      Well, it doesn't exclude the possibility the

20 person who used it could have, at a different time,

21 distributed it; correct?

22 A.      It does not exclude that.

23 Q.      But it does indicate that at least when using

24 that pipe that was for personal use.

25 A.      It means to me that that pipe is used to smoke




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 1 crack cocaine.       I don't draw any other assumptions from

 2 the person because of the crack pipe.

 3 Q.         That pipe is not used to distribute or sale

 4 cocaine.

 5 A.         No, unless you share the pipe.

 6            MR. MCKNETT:      Your Honor, may I get a glass of

 7 water?

 8            THE COURT:      Certainly.

 9            BY MR. MCKNETT:

10 Q.         Detective,     I want to take you back now again to

11 the time of your entry into the apartment.

12            You said -- you entered at what time?

13 A.         I think   I might have erred on the exact time we

14 entered the apartment.          I believe we entered probably

15 an hour before, probably --         I'm going to say about

16 9:45.

17 Q.         Could it have been around -- well, let's start

18 from the beginning.

19            When did you receive the paperwork that

20 authorized the search of the apartment?

21 A.         The search of     Ms. Ali's apartment?    Apartment

22 301?    10 :45.

23 Q.         So why did you enter an hour earlier than that?

24 A.         Because we had to go up there -- prior to that,

25 we went to a different apartment and then learned that




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 1 we were at the wrong apartment, and then we went

 2 upstairs, after consulting with Detective             Eveler --

 3 conferred with him, and we went upstairs to apartment

 4 301.

 5 Q.         You went -- which apartment did you go to first?

 6            MS. GREENBERG:     Objection.

 7            THE COURT:     Overruled.

 8            THE WITNESS:      I don't recall the apartment

 9 number, but it was downstairs.

10            BY MR. MCKNETT :

11 Q.         It was below     Ms. Ali's apartment?

12 A.         I believe so.

13 Q.         Did you have a search warrant for that

14 apartment?

15            MS. GREENBERG:     Objection.

16            THE COURT:     Overruled.

17            THE WITNESS:     Yes, we did.

18            BY MR. MCKNETT :

19 Q.         Do you have that search warrant with you?

20 A.         I do not.

21 Q.         Before a search warrant is issued, legal

22 procedure requires that an affidavit be prepared;

23 correct?

24 A.         Correct.

25            MS. GREENBERG:      Your Honor, objection.




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 1            This is not the witness that prepared the

 2 affidavit.

 3            If we can approach the bench.

 4            THE COURT:     You can't go much farther with this

 5 witness.

 6            MR. MCKNETT:      I'm asking about the process.

 7            THE COURT:     You can go into the process.

 8            BY MR. MCKNETT:

 9 Q.         I was about to make clear that you did not fill

10 out the application, did you?

11 A.         Correct.

12 Q.         It was someone else?

13 A.         Correct.

14 Q.         And whoever filled out the application submitted

15 it to --

16            MS. GREENBERG:     Objection as to what some other

17 person did.

18            THE COURT:   Yeah.     Mr. McKnett,    I think that's

19 far enough on that subject.

20            MR. MCKNETT:      I'll move on.

21            THE COURT:     Somebody else has to do it.

22            BY MR. MCKNETT:

23 Q.         Ultimately, a search warrant was issued; is that

24 correct?

25 A.         That's correct.




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 1 Q.       That is delivered to you?

 2 A.       That is correct.

 3 Q.       You assemble your team, or your team has already

 4 been assembled; correct?

 5 A.       Yes.

 6 Q.       Your search team      I'm talking about.

 7 A.       Yes.

 8 Q.       And then you and your search team go to the

 9 premises identified on the search warrant; correct?

10 A.       Yes.

11 Q.       And you carry out the search; correct?

12 A.       Correct.

13 Q.       But in this case there was a mistake made --

14          MS. GREENBERG:     Objection.

15          THE COURT:    Overruled.

16          BY MR. MCKNETT :

17 Q.       -- correct?

18 A.       Yes.

19 Q.       And the initial search warrant that you had was

20 for an address other than the address where             Ms. Ali

21 resided; correct?

22 A.       That's correct.

23 Q.       You recognized that mistake; correct?

24 A.       Yes.

25 Q.       You then contacted Agent        Eveler , is that what




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1 you said?

2 A.        Yes.

3 Q.        You explained to him that a mistake had been

4 made; correct?

5 A.        Yes.

6 Q.        And eventually a correct and accurate search

7 warrant was delivered to you.

8 A.        Correct.

9 Q.        At that point you carried out the search.

10 A.       We carried out the search, yes.

11 Q.       You had been in the apartment for at least an

12 hour before.

13 A.       Yes.

14 Q.       Who was in the apartment during that hour?

15 A.       I believe it was Detective Logan who had to be

16 excused because of a medical condition.        Detective

17 Hooper and Detective Collandria,         I believe.

18 Q.       Where was the rest of your search team?

19 A.       I'm not sure.      I'm not 100 percent sure who was

20 in the apartment with us during the waiting period.

21 Q.       Did you make a report of this?

22 A.       Not -- no official report, no, sir.

23 Q.       Did you make any report of this?

24 A.       Just handing out evidence logs to the case

25 agent.




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 1 Q.       Did you make any report about the fact that you

 2 had been a given faulty search warrant?

 3          MS. GREENBERG:     Objection,      Your Honor.

 4          THE COURT:     Sustained.

 5          BY MR. MCKNETT :

 6 Q.       You're sure that      Ms. Ali was in the apartment

 7 when you went in at -- what time did you say it was?

 8 A.       It was probably about an hour before.

 9 Q.       You're sure she was in the apartment at that

10 time when you went in?

11 A.       Yes, ma'am -- yes, sir.

12 Q.       And you're sure that her husband was in there?

13 A.       If that was -- yeah.

14 Q.       The other gentleman?

15 A.       Yeah.

16 Q.       Mr. Garner.    He was there.

17          And you testified that they both attempted to

18 tidy up the apartment.

19 A.       Yes.

20 Q.       They weren't trying to hide things, were they?

21 A.       I don't know.       I don't know what their

22 intentions were.

23 Q.       Well, they were tidying up as people -- the way

24 people tidy up when they come into somebody's

25 apartment; correct?




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 1 A.         What they were -- they were trying to put things

 2 into the closet, maybe to cover up a suitcase.           It's

 3 hard to say.

 4 Q.         But you don't know what they were doing, do you?

 5 A.         That's what     I was trying to say earlier.

 6 Q.         Okay.   Could it have -- what time -- is it

 7 called "staging?"       Is that the right term?    You

 8 "stage?"

 9 A.         Yes.

10 Q.         When did you stage for the search of          Ms. Ali's

11 apartment?

12 A.         It was early.

13 Q.         What time?

14 A.         I don't recall.      I don't recall.    It was early.

15 6:00 or 7:00.

16 Q.         I'm sorry?

17 A.         6:00 or 7:00 in the morning.

18 Q.         Where did you stage?

19 A.         About a mile away.

20 Q.         What did you do between 6:00 or 7:00 and 9            :45?

21            MS. GREENBERG:    Objection.

22            THE COURT:     Overruled.

23            THE WITNESS:     We went to the other apartment,

24 and then there's some down time in between the staging

25 and the execution of the warrants; made entry into the




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 1 first apartment, consulted with Detective             Eveler and

 2 then went to the --       Ms. Ali's apartment.

 3          BY MR.   MCKNETT :

 4 Q.       It took you from 6:00 or 7:00 until 9           :45 to

 5 realize that you were in the wrong apartment?

 6 A.       Don't -- no.     Oh, no.   We realized instantly.

 7 Once we were inside the first apartment we realized

 8 that that was not the right apartment.             I mean, things

 9 don't happen instantaneous, but as soon as possible we

10 went upstairs to -- went to         Ms. Ali's apartment.      The

11 exact amount of time,       I'm not sure of, but       I'm

12 estimating it was about an hour.

13 Q.       Were there -- were there people in the other

14 apartment?

15 A.       Yes.

16 Q.       Have the items that were before the jury -- did

17 they come back?       I want to make sure they've come back.

18          Detective, you mentioned several people who were

19 on your team; correct?

20 A.       Yes.

21 Q.       Could you name them again, please, and tell me

22 what the obligation as far as searching was with regard

23 to each of them?

24 A.       I mean, as     I stated earlier,     I didn't know

25 exactly -- the one      I remember was Detective Hooper, and




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 1 she had the -- she had the closet.            You couldn't fit

 2 anymore than one person in that closet.           It was pretty

 3 cramped.

 4            As far as the bedroom and the office, it would

 5 have been other people on the search team.                I'm not --

 6 I don't have specifically who searched where.

 7 Q.         There were how many people on the search team?

 8 A.         It was three, and then the two outside agencies.

 9 I don't think they did much of the search.            It was

10 primarily Hooper, Collandria and Simms.

11 Q.         You can't tell us what each of them was doing

12 during the search.

13            MS. GREENBERG:         Your Honor, asked and answered

14 about five times.

15            THE COURT:     Yeah.    Sustained.

16            MR. MCKNETT:     Can you tell us -- was that

17 sustained,     Your Honor?

18            THE COURT:     Yes.     Sustained.

19            BY MR. MCKNETT:

20 Q.         Can you tell us what the members of the search

21 team that entered the apartment the first time were

22 doing while you were waiting for that valid warrant?

23            MS. GREENBERG:        Objection.

24            THE COURT:     Overruled.

25            THE WITNESS:     Same team.




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 1          BY MR. MCKNETT :

 2 Q.       Same team?

 3 A.       Same team.

 4 Q.       All of them?

 5 A.       Yes.

 6 Q.       And you were all in the apartment.

 7          How much searching was done before the valid

 8 warrant arrived?

 9 A.       How much searching of what apartment?

10 Q.       Of Ms. Ali's apartment.

11 A.       None.

12 Q.       None at all?

13 A.       No.

14 Q.       Well, when you go to -- when you search a place,

15 you do a sweep, don't you?

16 A.       There was no searching done prior to that

17 warrant coming up.

18 Q.       When you go into an apartment -- any residence,

19 you do a sweep; correct?

20          MS. GREENBERG:       Objection.    Asked and answered.

21          THE COURT:      Overruled.

22          MR. MCKNETT :     It wasn't answered,       Your Honor.

23          BY MR.   MCKNETT :

24 Q.       What's the first thing a team does when it

25 enters an apartment?




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 1 A.         Look for people; make sure there's no other

 2 people there, and just render the apartment safe.

 3 Q.         You look in all the rooms; right?

 4 A.         Yes.

 5 Q.         You look in all the closets; right?

 6 A.         Yes.

 7 Q.         You look anywhere someone could be hiding;

 8 correct?

 9 A.         Yes.

10 Q.         So there is a search done.

11 A.         Yes.

12            MS. GREENBERG:    Objection.

13            THE COURT:   Sustained.

14            BY MR. MCKNETT:

15 Q.         Would you call that a search of the apartment?

16 A.         We're looking for people.      We're making the

17 apartment safe, just so no one sneaks up behind us.

18 Q.         You would call that a search?

19            You're searching for other people in the

20 apartment; correct?

21 A.         Yes.   We're looking for other people, yes.

22 Q.         You're looking in places that -- in closets that

23 are closed; correct?

24 A.         Yes.

25 Q.         And you're looking in bathrooms; correct?




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 1 A.        Yes.

 2 Q.        And you're looking, if the situation calls for

 3 it, behind the shower curtain; correct?

 4 A.        Sure.

 5 Q.        You're looking somewhere anyone could be; right?

 6 A.        Sure.

 7 Q.        And that's happening out of your presence, isn't

 8 it?

 9 A.        Excuse me?

10 Q.        Well, you can't see where everybody is at all

11 times in that apartment, can you?

12 A.        That's correct.

13 Q.        So when the -- if a person goes into a bedroom

14 and does a -- is it protective search?         Is that a good

15 phrase?

16 A.        I think the term that you're trying is

17 "protective sweep," maybe.

18 Q.        That's the one     I'm looking for.

19 A.        Okay.

20 Q.        Protective sweep.

21           When a protective sweep is being done, it's

22 being done by individual members of your team in

23 different rooms from each other; correct?

24 A.        Yes.

25 Q.        And you can't observe what each of them is doing




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1 in each room, can you?

2 A.       No, sir.

3 Q.       How long did that take in the case of            Ms. Ali's

4 apartment?

5 A.       Less than a minute.

6 Q.       So, for the rest of that hour that you conceded

7 you were there waiting, what were you doing?

8 A.       Standing in the living room.       Didn't sit down

9 once.

10 Q.      Nobody sat down?     Nobody left the living room?

11 Everybody came back in?

12 A.      Everyone just -- we stayed in the living room.

13 The gentleman wanted to get dressed.       We let him call

14 work and let them know there was going to be a delay.

15 Basically, we knew we had to -- we knew we had time on

16 our hands, and we stood there and we talked.

17 Q.      Did you talk to      Ms. Ali?

18 A.      Casual conversation.

19 Q.      Did you talk to the gentleman who was there with

20 Ms. Ali?

21 A.      Just casual conversation.       Killing time.

22 Q.      Excuse me.      I didn't mean to cut you off.

23 A.      Just killing time.

24 Q.      Where was    Ms. Ali when you first came into the

25 apartment?




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1 A.       I believe she answered the door.

2 Q.       Where was the other gentleman?

3 A.       Coming out of the shower.

4 Q.       Did you ever get his identification?

5 A.       I believe we did.

6 Q.       Do you recall what it was?

7 A.       I don't.

8 Q.       Does the name "Garner" come to mind?

9 A.       Yes.

10 Q.      Ulysses Garner, perhaps?

11 A.      Yeah.

12 Q.      After Ms. Ali answered the door, what did you

13 do?

14 A.      We told her -- we told her why we were there,

15 told her that we had an arrest warrant for her, and we

16 told her that we had a search warrant issued -- we were

17 going to have a search warrant issued for the house --

18 for the apartment, at which time we secured the

19 apartment and we had      Mr. Garner and     Ms. Ali sitting

20 after -- we let     Mr. Garner get dressed, and then

21 everyone sat in the living room.

22 Q.      Was Ms. Ali under arrest then?

23 A.      Yes.

24 Q.      When a person is arrested, is it your practice

25 to fill out a report of arrest?




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 1 A.       If it's my arrest, yes.

 2 Q.       Whose arrest was it in this case?

 3 A.       It was not mine.

 4 Q.       Whose was it?

 5 A.       I don't know.

 6 Q.       You were in charge; right?

 7 A.       I was in charge of that location.            I was not in

 8 charge of the paperwork to fill out forms.

 9 Q.       But you don't know who arrested          Ms. Ali?

10 A.       Who filled out the warrant -- the arrest warrant

11 and the indictment?     No,     I do not.

12 Q.       Who arrested her?

13          Which member of the team arrested           Ms. Ali?

14 A.       I don't recall.

15 Q.       Was it a member of your police department?

16 A.       I don't know.        I don't know.

17 Q.       When a person is arrested by a member of your

18 police department, is a report made that this person

19 has been arrested?

20 A.       Not necessarily.      If we're acting -- if we're

21 doing it for somebody else, no.

22 Q.       Were you doing -- were you arresting            Ms. Ali for

23 somebody else?

24 A.       Yes.

25 Q.       Who were you arresting her for?




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 1 A.        Whoever filled out the indictment or whoever

 2 filled out the arrest warrant.

 3 Q.        Did you have the arrest warrant?

 4 A.        No.    I was advised that there was an arrest

 5 warrant in my briefing package.       There might have been

 6 a copy of the arrest warrant.           I don't recall seeing it

 7 though.

 8 Q.        So you arrested somebody without a copy of the

 9 arrest warrant.

10 A.        Yes.

11 Q.        You don't know who you were arresting her for,

12 and you don't know who made out the report that she was

13 arrested, but you were in charge.

14 A.        Correct.

15 Q.        Thank you.

16           Thank you,   Your Honor.

17           THE COURT:   Any further cross?

18           Redirect.

19                        REDIRECT EXAMINATION

20           BY MS. GREENBERG:

21 Q.        Sir, if you would take us back to          June 1st 2004.

22           To follow up on some of       Mr. McKnett's     questions.

23           You testified you went to the wrong residence;

24 is that correct?

25 A.        That's correct.




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 1 Q.        Did you have a valid search warrant for that

 2 residence ?

 3 A.        I did.

 4 Q.        How quickly did you realize you were at the

 5 wrong residence?

 6 A.        Immediately.

 7 Q.        How did you know that?

 8 A.        When the people inside did not fit the

 9 description.        I asked the people's names.     None of the

10 people matched up, and you just kind of know.          They

11 were --   I don't know if they were Cambodian.

12 Q.        What caused you to know where the correct

13 apartment was?

14 A.        In my briefing packet there was some

15 documentation --        I think they were    MVA printouts -- and

16 they listed "apartment 301," at which point             I asked

17 Detective     Eveler,    I said, would you like me to go

18 upstairs and knock on 301 to see if           Ms. Ali is up

19 there?

20 Q.        Staying with the wrong apartment.

21           Did you ever develop information that that had

22 been Ms. Ali's apartment at some time?

23 A.        Yes.     On some of the printouts there was that

24 apartment on it.

25 Q.        How about your discussions with the people in




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1 that apartment?

2 A.       It was very limited.      It was -- they had just

3 moved there, and we just -- you just knew it right

4 away.

5 Q.       They had just moved into the apartment?

6 A.       It wasn't long before that.          I don't think it

7 was long after that that they left.

8 Q.       Because of your actions?

9 A.       I don't know.       I don't know.

10 Q.      But it was clear to you that         Ms. Ali had changed

11 apartments; is that correct?

12 A.      Yes.

13 Q.      So the probable cause presented to the

14 magistrate was no longer valid, although it had existed

15 at one time?

16 A.      That's correct.     For that apartment, yes.

17 Q.      Therefore you called Detective          Eveler , who was

18 giving you instructions?

19 A.      That's correct.

20 Q.      And was it Detective       Eveler who told you that he

21 had obtained an arrest warrant for          Ms. Ali?

22 A.      Yes.    I mean, it was in the briefing packet so

23 there was an arrest warrant for her.

24 Q.      Did you have any reason to doubt that there was

25 a legitimate arrest warrant for         Ms. Ali?




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1 A.        Not at all.

2 Q.        Do you often go on the word of another law

3 enforcement officer when they give you that?

4 A.        All the time.

5 Q.        And then you went to the correct apartment.         Is

6 that where       Ms. Ali had moved to?

7 A.        Yes.

8 Q.        And you had a valid arrest warrant still for

9 her, based on your conversations with Detective              Eveler?

10 A.       Yes, I did.

11 Q.       What did you do at the apartment 301, the new

12 apartment?

13 A.       We knocked on the -- we kept it fairly low key.

14 She answered the door and, like         I said, we announced

15 our intention.     We told her we had an arrest warrant

16 for her, you know, step back inside.       At which time we

17 sat her down on the couch and the gentleman was walking

18 out of the shower.     We had him sit down on the couch

19 and get dressed and sit down on the couch as well.

20 Q.       The period of time      Mr. McKnett was asking you

21 about.   Why was it necessary for you to stand there and

22 wait for that period of time?

23 A.       Because Detective     Eveler or the other agents

24 were making contact with the judges and getting a new

25 warrant signed.




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 1 Q.       Based on the new information you developed?

 2 A.       That's correct.

 3 Q.       Now, sir, did you have any reason when you first

 4 went to the original apartment that it was the wrong

 5 apartment?

 6 A.       Prior to going inside?      No,     I had no --     I

 7 assumed it was going to be the right apartment.

 8 Q.       Did you search that first apartment?

 9 A.       No.

10 Q.       After you realized the mistake?

11 A.       No.

12 Q.       Did you at all times act courteously to the

13 people there?

14          MR. MONTEMARANO :      Objection.

15          THE COURT:     Overruled.

16          MS. GREENBERG:     Did you?

17 A.       Yes.

18 Q.       Sir, was there -- when you went up to            Ms. Ali's

19 apartment with the arrest warrant, was there any

20 difficulty in entering the residence?

21 A.       Not at all.

22 Q.       In fact, how did you get in?

23 A.       We were allowed in.      We knocked on the door and

24 were allowed in.

25 Q.       In connection with --       Mr. McKnett     didn't give




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 1 this an exhibit sticker, so          I'll just mark it as

 2 miscellaneous 38.

 3           If I may approach,        Your Honor.

 4           THE COURT:     You may.

 5           BY MS. GREENBERG:

 6 Q.        You might recall he asked you about this exhibit

 7 and asked you who this person was that filled out the

 8 report relating to your search warrant that date on

 9 miscellaneous 38.

10           Do you see that?

11 A.        Yes, sir.

12 Q.        Ma'am.

13 A.        Ma'am.     I'm used to saying "sir."        I'm sorry.

14 Q.        Who is the approving official on that?

15 A.        Steven Snyder.

16 Q.        And what role, if any, did you understand

17 Special Agent       Snyder to play in this investigation?

18 A.        I wasn't that familiar with the case.

19 Q.        I'm sorry?

20 A.        I don't know.

21 Q.        But he approved this report?

22 A.        Yes.     It appears so.

23 Q.        If I could have drug exhibits 32, 33 and 34,

24 please.

25           Mr. McKnett asked you a number of times about




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 1 the seizing agent -- your role as seizing agent and the

 2 finding agent.

 3           Could you explain to the jury quite simply what

 4 your instructions were to the agents working with you

 5 on this date when your role was the lead agent for the

 6 search warrant?

 7 A.        If I'm the seizing agent -- if         I'm the lead

 8 agent on the search warrant,         I'll have a team that,

 9 basically,       I'll assign to a room.   They'll search the

10 room.   When they find something that they believe might

11 be significant evidence, they'll come get me, at which

12 point I determine whether it's going to be seized or

13 not.    If it's going to seized, we photograph it in

14 place as they found it or once they discovered that it

15 was possible evidence, and at which time             I seize it.

16 Q.        One what instructions, if any, did you give them

17 about moving the exhibits?

18 A.        Like I said, you -- once you determine it's

19 possible evidence, you leave it and then             I come.

20 Q.        And certain of the items you were able to take

21 pictures of and certain you weren't?

22 A.        Yes.

23           MS. GREENBERG:      If I may approach,      Your Honor.

24           THE COURT:      You may.

25           BY MS. GREENBERG:




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 1 Q.         Showing you drug exhibits 32, 33 and 34, for

 2 example.

 3            Starting with 33.    When    Mr. McKnett showed you

 4 this straw in the jewelry box, with the tissue in it or

 5 -- and the gift wrapper, why were they all packaged in

 6 the same box?

 7 A.         It's hard to say.    Probably to keep it nice and

 8 tidy.

 9 Q.         Where were these in proximity to each other?

10 A.         Next to each other.

11 Q.         And you could see that on the picture?

12 A.         Yes.

13 Q.         On some occasions you put the picture in the

14 exhibit?

15 A.         Yes.

16 Q.         Similarly, the tinfoil and the drugs are in 34;

17 is that correct?     Drug      Exhibit 34?

18 A.         Yes.

19 Q.         Similarly, the cocaine or crack cocaine in an

20 envelope were in 32; is that correct?

21 A.         Yes.

22 Q.         Except for the picture that you took of it

23 which, just for the record -- well, we'll start with

24 that question.

25            The picture you took.    Except for that, this




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 1 exhibit is sealed with what was located in the

 2 residence; correct?

 3 A.       Yes.

 4 Q.       And there's notations on the back of certain of

 5 these pictures.     Did you review those?

 6          Does that refresh your recollection as to who

 7 recovered those particular exhibits?

 8 A.       Yes.    Detective Brown.

 9 Q.       What exhibit are you referring to there?

10 A.       This is my exhibit -- out of the jewelry box.

11 Detective Brown, who        I did not mention earlier.     He

12 wasn't on that report.

13 Q.       That's in Drug      Exhibit 34?

14 A.       Yes.

15 Q.       And similarly, Drug        Exhibit 33?

16 A.       Detective Brown. I.D. 22        456.

17 Q.       Is there any question in your mind that all of

18 these exhibits we showed you today were recovered from

19 the Sheridan     Street address at which you arrested           Ms.

20 Ali?

21 A.       No.    No doubt.

22 Q.       To finish up with the drug exhibit questions.

23          Mr. McKnett     asked you if you field tested

24 certain of the items.       Do you recall that question?

25          MR. MCKNETT :      Objection,    Your Honor.     I didn't




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 1 ask him about field testing.

 2          THE WITNESS:     He didn't ask.

 3          MS. GREENBERG:     Let me ask it this way.

 4          Can a field test differentiate between cocaine

 5 and cocaine base?

 6          MR. MCKNETT:     Objection,     Your Honor.

 7          THE COURT:     Wait a minute.     Wait a minute.    Was

 8 this asked on cross?

 9          MS. GREENBERG:     What?

10          THE COURT:     Was this asked on cross?

11          MS. GREENBERG:       I thought it was,      Your Honor,

12 but I can move on.

13          THE COURT:     Sustained.

14          Move on.

15          BY MS. GREENBERG:

16 Q.       You explained that you took certain things on

17 cross-examination by       Mr. McKnett, such as a cell phone,

18 address book, and he asked you what relevance that had

19 to the investigation.

20          Do you recall those questions?

21 A.       Yes.

22 Q.       Under what authority did you take these items?

23 A.       By search warrant.      The search warrant gave me

24 the authority to seize them.

25 Q.       And there's an attachment on the search warrant?




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1 A.       Yes.

2 Q.       And it lists out "cell phones?"

3 A.       Yes.

4          MR. MCKNETT :     Objection.      I didn't challenge his

5 authority to seize these items.       It's outside the

6 scope.

7          THE COURT:     Overruled.

8          BY MS. GREENBERG:

9 Q.       Cell phones?

10 A.      Yes.

11 Q.      Address books?

12 A.      Yes.

13 Q.      Drugs?

14 A.      Yes.

15 Q.      Things of that sort?

16 A.      Yes.

17 Q.      Did you make an independent assessment as to

18 what relevance it would have to the investigation?

19 A.      Not my job.

20 Q.      You were following the search warrant authorized

21 by the judge?

22 A.      Yes.

23 Q.      You also talked about the money that was seized,

24 and on cross-examination you estimated $120,000 from

25 the book safes and approximately $9,600 from the




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 1 envelopes.

 2          From where did you get that estimate?

 3 A.       Just a preliminary count on the scene.

 4 Q.       Who counted?

 5 A.       Me.

 6 Q.       And is that consistent with the final count,

 7 approximately?

 8          You said an estimate.      Is it consistent?

 9 A.       Yeah, I believe so.

10 Q.       What is the procedure -- the money is not here.

11 You testified to that on cross-examination.

12          What is the procedure for your department after

13 you take seized money?

14 A.       Typically, it's to deposit it into a fund.          The

15 bills themselves aren't necessary for court.          Either a

16 receipt or, in our department's case, a property record

17 with serial numbers.

18 Q.       That's standard operating procedure?

19 A.       Yes.

20          MS. GREENBERG:     No further questions,         Your

21 Honor.

22          THE COURT:     Any recross?

23          No recross?

24          All right, you may step down.       Thank you very

25 much.




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 1                   (Witness excused at 3     :27 p.m.)

 2           THE COURT:     We will take a recess       until 20

 3 minute s of four .

 4                   (Jury excused at 3:28 p.m.)

 5                   (Off the record     at 3:28 p.m. )

 6           THE COURT:     Counsel , with regard      to having    a

 7 session    tomorrow .    That session    is not going to be able

 8 to happen .     The guilty   plea that I have in the

 9 afternoon     is an un movable    feat , and I don't think       we're

10 going to be able to accomplish          that much , and Mr.

11 Montemarano     pain anyway .     So , we will not meet

12 tomorrow .

13           MR. MONTEMARANO :      A pain , or in pain ?

14           THE COURT:     I said , "in pain ."

15           MS. GREENBERG:      Your Honor we'll stipulate .

16           THE COURT:     I want you to know that with regard

17 to next week .     The jury had asked if we were going to

18 have long er session s to start at something            like 9:00 or

19 8:00 .    The one day I absolute ly , positive ly cannot          do

20 that is Tuesday , because        that 's when I have     a followup

21 visit with the surgeon .         So , we will have to start at

22 10 o'clock     on Tuesday , and I'm going to explore         between

23 now and next Tuesday       the option    for start ing early .

24 So , counsel    should   be contemplating     the possibility

25 that we will not be do ing 10 o'clock          starts    after




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 1 Tuesday     of next week .      So , I want to be able to get all

 2 the testimony     in that we can -- hope fully all of it

 3 next week -- and then have a complete              and success ful

 4 charge    conference   on Monday , the 31st .

 5           MS. GREENBERG:         Sir , what time will we go to on

 6 Tuesday ?     What time do you expect          to stop on Tuesday ?

 7           THE COURT:     5:00 .

 8           MS. GREENBERG:         Thank you .

 9           THE COURT:     Yeah .     I have a status     conference

10 that I can move to 5:30 to make sure I don't have                 any

11 problem     with it , but -- no .      If I'm start ing at 10:00,

12 I'm going to go to five .           I have some matter s that are

13 in the morn ing on Wednesday          and Thursday    and Friday ,

14 and I'm going to see what I can do to move some of them

15 around , but that 's what I plan to do .

16           Yes, sir .

17           MR. MONTEMARANO :        When would Your Honor like to

18 deal with the question          of the various     chart s?

19           MS. JOHNSTON:         Your Honor , if I could speak up

20 right now .     Our next witness       is Detective    Eveler .

21           THE COURT:     The chart witness ?

22           MS. JOHNSTON:         A short witness ?

23           THE COURT:     No .     The chart witness ?

24           MS. JOHNSTON:         The chart witness .

25           THE COURT:     Will he short as well , but he 's the




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 1 chart witness .

 2            MS. JOHNSTON:     No .     Un fortunate ly , I don't think

 3 he 's going to be short in term s of his time on the

 4 stand , given some of the previous           cross-examination    .

 5            THE COURT:     All right .     I s there any chart I

 6 haven't    seen a copy of ?

 7            MS. JOHNSTON:     Yes .     There is one , Your Honor ,

 8 and that is the last one which is also the last one

 9 that we're going to cover with him .

10            THE COURT:     All right .     Well , let me see it .

11            MR. HALL:     That is one , Your Honor , that most of

12 us do have an objection        to.

13            MR. WARD:     I think all of us do .       I certain ly

14 do .

15            MR. MONTEMARANO :        Your Honor , with regard    to the

16 drug chart just provided        you by Ms. Johnston .        I can

17 sort of -- we've re view ed it .          We don't believe     there

18 are any factual        error s in it that would deal with Page

19 1, 2 and most of Page 3.            However , at the bottom     -- in

20 other words , the amount s are correct           and the kinds of

21 drug s are correct , the location s are correct , the

22 exhibit    numbers     are correct    -- w e're all probably     going

23 to have to double        check that against      our substantive

24 evidence    that we have in our file s -- but f or the sake

25 of discussion , they're       all correct .




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 1            There are min or errors       that have been alleviate d

 2 at the bottom        of the chart .     The court will note the

 3 listing     of the    404 (b) evidence    in the case .     The

 4 defense     unanimously    object s to the insertion        of the

 5 404 (b) evidence       in this sort of summary      chart .       The

 6 Summary     chart deal s with actual       seizure s.     It is the

 7 amount s of drug s which the court is -- the jury will be

 8 considering     regard ing specific       substantive     offense s, as

 9 well as the Count One conspiracy .

10            We believe     there is a considerable       risk of both

11 prejudice     and confusion      if the jury is considering

12 404 (b) evidence       and amount s with regard     to those

13 count s.     This should      be direct ed sole ly to the seizure s

14 and not to 404 (b) evidence           which the court has already

15 instruct ed the jury is only admissible           for limited

16 purpose s and it is purpose s which this chart does not

17 speak to

18            THE COURT:      Tell me about the     other exhibit s.

19            MR. MARTIN:      Behalf    of Mr. Goodwin    and with

20 respect     to the first exhibit , Drug s 1 --

21            THE COURT:      Wait .    I need to know which one

22 you're     talk ing about .

23            MR. MARTIN:      I'm look ing at Chart 14 .

24            MR. MONTEMARANO :        Same chart , Your Honor .

25            MR. MARTIN:      Same chart .




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 1           THE COURT:      I've got it in front of me .

 2           MR. MARTIN:      Your Honor , it says , "re covered

 3 from ."     I believe    the stipulation      was re covered      from

 4 the vehicle     driven    by Learley     Goodwin , and with that

 5 change    we don't have any objections .

 6           MS. JOHNSTON:      Right .

 7           THE COURT:      The first entry for November            25 ,

 8 2003?

 9           MR. MARTIN:      That 's correct .

10           THE COURT:      All right .

11           MS. JOHNSTON:      How would you like it to read ,

12 counsel ?

13           MR. MARTIN:      "Vehicle     driven   by Learley

14 Goodwin ."

15           THE COURT:      Are there any other issue s with

16 regard    to this exhibit      that I    haven't   heard from any

17 other defense     counsel    on ?

18           MR. WARD:      I would like to add something            to what

19 Mr. Montemarano       has said , Your Honor .       I think it 's

20 more than a matter        of simply     the possibility      of

21 confusion     and an error .        I think --

22           THE COURT:      On what issue , Mr. Ward ?

23           MR. WARD:      The 404 (b) evidence .

24           THE COURT:      Stop .     Stop .   Don't snatch    defeat

25 from the jaw s of victory .




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 1           MR. WARD:       I was n't repeat ing ; I was add ing to .

 2           MR. MARTIN:       No .     Defeat .

 3           THE COURT:       I said , don't snatch        defeat   from the

 4 jaw s of victory .

 5           MR. MONTEMARANO :          When geese are fly ing your

 6 way , Pete r, sit down .

 7           THE COURT:       I would like to have this chart --

 8 if you're     going to have this as an exhibit , take off

 9 the 404 (b) materials .           You can use that in argument .

10 In closi ng argument , you can stand up there and put it

11 on a Power Point and do anything                you want and argue

12 about it , but I don't think            it should    be on this

13 exhibit .

14           MS. JOHNSTON:           Your Honor , perhaps    if I could

15 explain     what the purpose        of the exhibit     is , because

16 counsel     seem s to be thinking        that somehow    we're argui ng

17 drug quantity     from this exhibit .

18           THE COURT:       No .     My concern    -- Ms. Johnston , I

19 recognize     what it's     being use d for and the limiting

20 instruction s that I gave on it , but put ting it on the

21 same chart with the direct             evidence    that is

22 attributable     to these people         as part of this conspiracy

23 I think create s a potential            for confusion    and

24 prejudice .     So , you can argue this -- you can put this

25 on a separate     piece of paper for closi ng argument , but




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 1 I don't think     it should      go on an exhibit     that come s

 2 into evidence     as a summary .       It 's a simple    matter .    Go

 3 back upstairs     in the word process or and delete          these

 4 last line s.

 5            MS. JOHNSTON:       The purpose   of this exhibit        is

 6 for the jury in determin ing what exhibits go with what,

 7 what testimony they heard went with what              because we had

 8 to pull some chemists out of order           ; some thing s are

 9 done by admission       --

10            THE COURT:     I have no problem        with this being a

11 summary    exhibit     under the Federal     Rule s of Evidence .

12 But as far as     the 404 (b) part of it , it should         be on a

13 separate    document .       Frankly , I think it should     be use d

14 during    closi ng argument      and not as an exhibit .      They

15 can take notes and write the same thing down and they

16 will get the same information , but I think there 's a

17 potential    for confusion       and prejudice     by leavi ng this

18 exhibit    -- having     this exhibit    include    the 404 (b)

19 materials    that I believe , if I'm reading          it correct ly ,

20 would go from South Dakota          10 n down ; is that correct ?

21            MS. JOHNSTON:       No , Your Honor .     Mr. Bynum 's

22 seizure    on November       12 of 19 99 is not 404 (b) .

23            THE COURT:     Which one do you mean ?

24            MS. JOHNSTON:       That is --

25            MR. WARD:     I didn't    say it was .




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 1           THE COURT:      I'm sorry .   You're    correct .       I'm

 2 sorry .     The one that 's -- the last four , I guess ,

 3 entri es --

 4           MR. WARD:     No , Your Honor .

 5           MR. MITCHELL:       Your Honor , it 's the -- it 's part

 6 of those last four entri es .

 7           THE COURT:      The four entri es that say cocaine ,

 8 heroin , cocaine and 7,743        grams of cocaine     .

 9           MR. MITCHELL:       The only thing I would like to

10 clarify     in this -- Y our Honor , those drug s specifically

11 reference d on November        12 , 19 99 were actual ly not

12 admitted .     The drug s themselves     were not admitted .             A

13 report    was admitted .      So , if we could clarify      they're

14 not -- if that 's included        in here that they're           not

15 look ing at drug s but they reference          a report    of a drug

16 seizure   --

17           THE COURT:      Just put in the report       of drug

18 seizure .

19           MR. MITCHELL:       Drug analysis .

20           MS. JOHNSTON:       Your Honor , that 's what it says .

21 There is a blank here ; the first column            reference s the

22 exhibit     number .   There is no exhibit       for the 57 .88

23 grams of crack and trace cocaine          that was a drug

24 seizure     from Derrek    Bynum on November      12 , 19 99 .     The

25 information     come s from    the testimony     of Gervisone .




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 1           THE COURT:      I agree .     Take off the last four

 2 item s.

 3           MS. JOHNSTON:      To be consistent          with that , then

 4 I think I need to take off Mr. Whiti ng 's 404 (b) .

 5           MR. HALL:     That 's just what I was going to bring

 6 up .

 7           MR. WARD:     An d Mr. Bynum .

 8           THE COURT:      Where is it in the chart?

 9           MR. HALL:     Start ing after South Dakota          10, Your

10 Honor , at least      as to my client , the 404 (b) and the

11 74.36 .

12           THE COURT:      That 's what I said the first time ,

13 that everything       under South Dakota      come s out .

14           MR. HALL:     I understand      that , Your Honor .

15           MR. MITCHELL:      Right .     But the only thing that 's

16 left within    the conspiracy      period    is the drug seizure

17 from Derrek    Bynum on November        12 , 19 99 .    The reason

18 it 's mis lead ing is no drug s were actual ly admitted .             It

19 was simply    testimony    as to a report .       So , that could be

20 clarifi ed that a report       was admitted , not --

21           THE COURT:      All right .     I think the appropriate

22 word ing can be put in here to make that clear you're

23 talk ing about simply      a report .

24           MR. MITCHELL:      That 's it .

25           THE COURT:      Take everything      out except     from the




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 1 -- be low South Dakota      10, except     for the seizure       of

 2 crack from Derrek       Bynum on November     12 , 19 99 , and

 3 clarify    it to indicate    that this is an analysis          of

 4 drug s seize d from Derrek         Bynum on November    12 .

 5           MS. JOHNSTON:      Do you want me to write "analysis

 6 of drug s" in the column       that says "Exhibit       No. ," or

 7 should    I put "drug s destroy ed analysis " only because

 8 the drug --

 9           THE COURT:     You can put down "analysis " only .

10 Make it simple .       I think that would be straightforward .

11           MS. JOHNSTON:      Where would you like me to put

12 that ?    In the first column        or in the second     column ?

13           THE COURT:     In the second     column .

14           MR. MITCHELL:      In the second    column .

15           THE COURT:     In the second     column     where it says ,

16 "drug seizure     from Derrek       Bynum on November     12 , 19 99 ."

17 After that analysis       only .

18           All right ?    Does that clean this exhibit          up ?

19           MR. MITCHELL:      I would suggest     in the second

20 column    from the left .

21           THE COURT:     I thought     you just agreed with what

22 I --

23           MR. MITCHELL:      Okay .    Maybe I mis understood .

24           THE COURT:     In the column     that has the words "

25 "drug seizure     from Derrek       Bynum on November     12 , 19 99 ,"




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 1 I was going to put down a "drug analysis             only ."

 2          MR. MITCHELL:       What I was suggest ing was not the

 3 far left but the one where it list s the drug amount

 4 report   only .

 5          THE COURT:      I think it 's --

 6          MR. MITCHELL:       I'm not going to fight on that

 7 one .

 8          THE COURT:      I think where I said to put it is

 9 the right place , so that take s care of that summary

10 exhibit .

11          What 's the next one where there 's a problem ?

12          MS. JOHNSTON:       Well , we could start at the

13 beginning     in term s of what chart s we're going to use .

14 We do have a jury wait ing .

15          THE COURT:      I know .   I want to get moving        on

16 this .

17          With regard     to this telephone      contact s chart .

18 I'm content       to let it come in with -- I'll give them a

19 cautionary     instruction   that these little       -- what do we

20 call them ?

21          MS. JOHNSTON:       I took them off , Your Honor .

22 We 've covered      them up -- we've covered      up the icons,

23 Your Honor .       Just so the record    is clear , we are

24 introducing       that chart as actual    substantive     evidence

25 based on a summary       of records   that are available        to




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 1 counsel .

 2            THE COURT:     I understand .         It come s in under

 3 Rule 106 .

 4            MR. MITCHELL:      Your Honor , can I comment           on that

 5 one e xhibit    with the telephone        contact s.

 6            MS. JOHNSTON:      For the record , it 's CH-2 , Your

 7 Honor .

 8            THE COURT:     All right .

 9            MR. MITCHELL:      CH-2 .    If you're      look ing at that ,

10 it list s a number       of contact s.

11            THE COURT:     Correct .

12            MR. MITCHELL:      All the date s are different .

13 It 's very mis lead ing , because        you may have      a long er

14 period     of time .    The government         does n't distinguish

15 between     date s, and the date s are very small and hard to

16 follow .     If you look at that chart , it appear s as

17 though     this is the amount        of call s for the same period .

18 You have to look very care fully at that and really

19 analyze     it before    you understand         these call s may

20 involve     a long er period       of time .     So , they may look

21 like they are more call s for one person , as opposed                  to

22 another     person .    So it look s like one person         has more

23 contact s than another , which is not true .               It 's

24 mis lead ing because      they have long er periods         of time or

25 short er periods       of time .




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 1           THE COURT:         I think you can bring this out in

 2 cross-examination           to the ex tent you need to .        I think

 3 the exhibit 's a proper          summary       exhibit .

 4           MR. MARTIN:         Your Honor , if I may be heard on

 5 this particular        exhibit .

 6           THE COURT:         Yeah .

 7           MR. MARTIN:         My problem       with this is 856

 8 contact s with respect          to Mr. Goodwin       is mis lead ing in

 9 that not all 856 contact s were drug -related .                 The

10 implication    here is that these were all conversation s

11 related    somehow     in furtherance          of this conspiracy .

12           THE COURT:         I think you can bring that out on

13 cross-examination       .

14           MS. JOHNSTON:         Just so the record         is clear , Your

15 Honor , Detective       Eveler       is not going to testify      that ,

16 first of all , all of these contact s were conversations.

17 They are contact s to show --

18           THE COURT:         Right .     I mean , the evidence    so far ,

19 as far as    contact s, has been very clear .              It could be a

20 one second    ring ing of the phone and nothing               happening .

21           MR. MONTEMARANO :            Your Honor , to reflect    the

22 testimony    of --

23           THE COURT:         Excuse     me ?

24           MR. MONTEMARANO :            To reflect    the testimony    of

25 Sergeant    Sakala .        Should    it not say " activation s,"




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 1 which is the phrase        use d in wiretap       jurisprudence    and

 2 is -- was use d by Sergeant          Sakala ?     That mean s a time

 3 that one number contact ed the other .              That was --

 4            THE COURT:     I think that can be made -- I will

 5 request    -- direct     that that be made apparent        as the

 6 exhibit    is present ed to the witness , that "contact " for

 7 purpose s of this exhibit          mean s an "activation ," and an

 8 "activation " could be anything          from ring ing and nothing

 9 happening    to a ten -minute       conversation .     I'll direct

10 the prosecutor     to make that clear in her examination .

11            MS. JOHNSTON:     Your Honor , in deed , using the

12 term that counsel        suggest ed refer s to activation s and

13 refer s to thing s that occurred         during     a wiretap .    This

14 is Pin register      data , which is much broader .

15            THE COURT:     I will direct     that the prosecutor

16 have the witness        explain    what these are -- if it 's

17 activation s, if it 's Pin register             listing s, how these

18 were compile d.      Just the methodology          of the compilation

19 should    be made apparent        by the witness .

20            MR. MONTEMARANO :       I am slight ly at a loss to

21 argue this , Your Honor .          We were provided     this chart in

22 draft form about two week s ago .          My client     and I went

23 through    it , so I'm work ing from memory          at this point .

24 My recollection      from the conversation          is Ms. Martin    is

25 at least    three of the number s in the center           of the




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 1 chart and these      were not ones associate d with Ms.

 2 Martin    at any time .

 3           There are , for the record , five on Page 1 and

 4 another     on Page 2, and I believe      at least    three of them

 5 have no relationship        to her or relation     to other

 6 people , and if it 's another       person 's number    pili ng

 7 those activation s in --

 8           MS. JOHNSTON:      We are down , Mr. Montemarano , to

 9 six number s.     We 've taken a couple      off the final

10 version     of the chart because     they're   -- w hen they ran

11 them through the       system , there was no contact , so we

12 took the number s off .

13           THE COURT:      Counsel , let me tell you this .         This

14 exhibit     isn't comi ng in until a foundation        is laid with

15 this witness .     It may very well be that some of these

16 matters can be resolved        as the foundation is being

17 laid.     If it 's not laid correct ly , it won't come in .

18 But as it stands       right now , in general     concept , I think

19 this is consistent        with the case law and with Rule 106

20 and that it can come in .

21           MR. MARTIN:      One last comment .     I adopt Mr.

22 Montemarano's     last comment     with respect    to Learley

23 Goodwin .     So , I join that objection .

24           MR. SUSSMAN :     The only question     I would raise ,

25 Your Honor , with regard       to the foundational      question    is




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 1 whether    different   provider s count thing s different ly --

 2 different    phone provider s.

 3           THE COURT:      I think that 's a question        you can

 4 ask the witness .

 5           MR. SUSSMAN :     I think that 's a foundation        --

 6           THE COURT:      Well , we'll --

 7           MR. SUSSMAN :     -- the chart --

 8           MR. MCKNETT :     Your Honor , I just had a question .

 9 I was n't sure I heard Ms. Johnston           right .     Has the

10 government    block ed out the icons?

11           THE COURT:      Yes , they have .

12           MS. JOHNSTON:      We have block ed out the icons .

13           MR. MCKNETT :     That was my concern , Your Honor .

14           THE COURT:      That 's gone .

15           Any other issue on these exhibit s?

16           I've got three other exhibit s here that are

17 simply    listing s of telephone     act ivi ty , ship ment s, and

18 check payment s.

19           Are these all going to come in ?

20           And one more .     That 's a Mangual        distribution .

21           MS. JOHNSTON:      Yes, sir .

22           THE COURT:      Are these all going to come in

23 through    this witness ?

24           MS. JOHNSTON:      Yes, sir .

25           MR. SUSSMAN :     The Mangual     thing .     I might not




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 1 have been pay ing close attention , but I don't remember

 2 testimony    about Mangual      delivering    drug s to Paulette

 3 Martin    on particular      date s.

 4            MS. JOHNSTON:      There certain ly was , counsel .

 5            THE COURT:      Look .    I think that I can't make

 6 definitive     final rulings        on any of these exhibit s

 7 until the prosecutor         attempt s to lay a foundation        for

 8 them .    I've done what I think I should         do with the drug

 9 analysis    evidence , and that 's going to be fix ed .

10            I'm not sure if we're going to get all these

11 chart s into evidence        today or not , but let 's get the

12 jury in here and start going through            this testimony      and

13 get as far as     we can go with the resumption         being on

14 Tuesday    at 10:00 .

15            MR. SUSSMAN :     With all due respect , Your Honor .

16 I understand     the jury and I understand        the need , but I

17 think when you're        deal ing with this kind of

18 demonstrative     evidence     that has a power ful effect --

19 and that 's what all the case law says -- that it 's

20 important    to get it right before         the jury see s it .

21            THE COURT:      I have gotten     it about as right as I

22 can without     a witness     testify ing about how the document

23 was prepared .

24            MR. SUSSMAN :     Respect fully , I would say that the

25 proper    procedure     is to do it out of the hear ing of the




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 1 jury .    General ly , we don't publish       anything   until it 's

 2 admissible .     That 's just how I would ask the court to

 3 do it .

 4           MS. JOHNSTON:      Your Honor , if counsel      can point

 5 to a case in the Fourth Circuit          that says the court has

 6 to hold a hear ing out of the presence             of the jury --

 7           THE COURT:     Don't snatch     defeat    from the jaw s of

 8 victory .

 9           Bring the jury in .

10           Ms. Johnston , is this the last government

11 witness ?

12           MS. JOHNSTON:      I believe    so .   With the provi so

13 we go back and check an d make sure there 's nothing

14 we've forgot ten .

15           THE COURT:     Okay .

16                        (Jury return s at 4:06 p.m. )

17           MS. JOHNSTON:      Your Honor , our next witness

18 would be case agent Thomas         Eveler .

19           THE COURT:     All right .     Let me tell the jury

20 where we are .

21           Ladies and gentlemen     , we're going to have our

22 last session     of testimony     today and go to plus or minus

23 five , as I promise d you .       I would like to start early

24 next Tuesday     but I can't because       that 's when I have to

25 see my surgeon     to see if I'm alive after surgery




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 1 tomorrow     -- on Friday .      We will begin at 10 o'clock            on

 2 Tuesday .     I have other matter s on other day s that week

 3 in the morn ing that I'm explori ng moving , and I will

 4 give you an update       on Tuesday     as to whether     we will be

 5 start ing early on Wednesday , Thursday           or Friday       of next

 6 week .    Plan on the possibility        of that .     I can't tell

 7 you for sure yet , because         I have to talk to two sides

 8 of three different       case s as to whether        they can move

 9 their proceed ings that are scheduled          before     me , but I

10 will do the best I can .

11            We'll go right straight through.            This is

12 probably , but nothing        certain , until it 's over with the

13 last government      witness .     I anticipate      we may have to

14 finish    this witness     on Tuesday    if we don't get him done

15 today .     At that point we'll then be shift ing to              the

16 defense     case and so the end , somewhere , is in sight .

17            All right , you may proceed      Ms. Johnston.

18            MS. JOHNSTON:      Thank you.    Your Honor , we call

19 case agent Thomas      Eveler .

20 Thereupon,

21                            THOMAS   EVELER ,

22 having been called as a witness on behalf of               th e

23 Plaintiff , and having been first duly sworn by the

24 Courtroom Deputy, was examined and testified as

25 follows:




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 1                          DIRECT EXAMINATION

 2            BY MS. JOHNSTON:

 3 Q.         Detective    Eveler , please   state your full name

 4 for the record .

 5 A.         Thomas   a Eveler .   E V E L E R.

 6 Q.         Where are you current ly employ ed ?

 7 A.         The Prince    George's   County    Police Department .

 8 Q.         How long have you been employ ed with the Prince

 9 George's    County     Police Department ?

10 A.         Over 17 year s.

11 Q.         In what different     assignment s?

12 A.         I was as sign ed to P atrol upon completion         of the

13 police    academy , where I work ed the Hyattsville         district

14 station    and patrol .     Then in 19 91 I transferred        to the

15 Street Narcotic s Section        where I work ed for a year

16 purchasi ng street       level narcotic s and target ing street

17 level drug traffickers .         In 19 92 I was transferred       to

18 the Major Narcotic s Section        where I was assigned        until

19 19 99 when , as a member      of the Major Narcotic s Section ,

20 I was de tail ed to the Custom s Task Force which has now

21 been re name d the I mmigration      and Custom s Enforcement

22 Task Force .

23 Q.         Let me back up a second .         I'm not going to try

24 to do the math .

25            How many years have you been involved          in




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 1 investigating narcotics cases at any level,            whether

 2 it 's street    level or major narcotic s?

 3 A.      15 year s.

 4 Q.      What is the difference        between    what you were

 5 do ing at the street     level and once you were assigned           to

 6 Major Narcotic s?

 7 A.      In Major Narcotic s we target ed mid - and upper

 8 level drug trafficker s and conduct ed joint

 9 investigation s with     federal   agencies like     DEA, FBI and

10 Custom s.

11 Q.      How much of your narcotic s experience           has been

12 investigati ng mid -level to upper -level narcotic s

13 trafficker s?

14 A.      14 year s.

15 Q.      During    those 14 year s, for the last six year s,

16 seven year s you've    been on the task force ; is that

17 correct ?

18 A.      Yes, ma'am .

19 Q.      What is the difference        between    your duti es as a

20 task force member     and as a member      of the   Major

21 Narcotic s Unit ?

22 A.      It changed     a little , except    that I was deputized

23 as a federal     law enforcement     officer    so I could then ,

24 as I had in the past -- I've been de tail ed to DEA and

25 FBI in the past .     O nce you're    cross -designate d, you can




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1 enforce    the federal      narcotic s law s.

2 Q.         Does that give you a jurisdiction              over a larger

3 area than just Prince         George's     County ?

4 A.         Yes , it does .

5 Q.         What area do you have jurisdiction              over in

6 relation     to your assign ment with        the task forces ?

7 A.         Anywhere   the federal       law has jurisdiction .

8 Q.         If you could , de scribe       for us the investigative

9 technique s that you've         use d during    your entire     time as

10 a narcotic s officer .

11 A.        I've made direct      purchase s myself        of cocaine ,

12 cocaine   base , heroin , opium , LSD, PCP; and in the

13 laboratory    environment      I've manufactured         cocaine    base

14 as well as meth amphetamine .

15 Q.        Once you move d to Major Narcotic s, did the

16 investigative     technique s that you use d differ           from

17 those that you use d at the street            level ?

18 A.        Yes .   At the    street    level we're either       buy ing

19 ourselves    or using an informant         to buy , or we're

20 placi ng an order for drug s and the deal er show s up .                   If

21 it 's too much to purchase           or we believe      there 's some

22 other -- if there 's an investigative            purpose     for it ,

23 we'll make an arrest        on the scene --

24 Q.        Is there a name for that , by the way ?

25 A.        There 's a slang term call ed a "rip ."




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 1 Q.         Is that something         that we heard about happening

 2 in this case involving            one of the defendant s?

 3 A.         Yes .

 4 Q.         Who was that ?

 5 A.         Mr. Goodwin .

 6 Q.         That event happened           when , b ased on the

 7 testimony ?

 8 A.         On November        25 , 2003 .

 9 Q.         If you could explain             why , as a street    narcotic s

10 investigation , you would use a "rip " or set up a

11 transaction        and arrest     the person      when they arrive d

12 with the drug s.

13 A.         There could be a variety             of reason s.     One is

14 that Prince        George's     County    does not have an abundance

15 of money to be able to just purchase                 kil os or multiple

16 kilo s, depend ing on the amount               of drug s involve d.

17            Also , it depends        on the relationship         with the

18 informant      and the target .          If , as in this case , the

19 informant      was being arrested           and had a warrant     and

20 could not do anything            beyond     that date , they would just

21 conduct    a "rip " or we would conduct             a "rip " because       we

22 weren't    going to have access             to that informant     in the

23 future .

24 Q.         Because    the informant          was already   going to be

25 lock ed up ?




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 1 A.         Yes .   It 's hard to make somebody        deliver       drug s

 2 to the jail .

 3 Q.         Is a "rip " or that kind of set ting up of a deal ,

 4 as we heard about here from Detective            Martini,       a

 5 standard     practice    of individuals     who are conduct ing a

 6 short term or an immediate        investigation ?

 7 A.         Yes .   It 's very common .

 8 Q.         Do you also use those technique s of maki ng

 9 under cover buy s or controlled       buy s and "rip s," so to

10 speak , sometimes       in your more complicate d case s?

11 A.         Yes .   You just usually      have access    to maybe a

12 little   bit more money , a little         bit more time .          In

13 street   narcotic s we were not able to         spend a great deal

14 of time on any one investigation .            They want ed us to

15 try to keep the street        trafficking     and impact     to the

16 community     at a minimum    and try to get the street

17 deal er s off the street .

18 Q.         Once you move into Major Narcotic s, can you

19 de scribe    for us some of the investigative           technique s

20 that you have typically        use d in the course       of your

21 investigation s?

22 A.         You use the same technique s, but you -- then you

23 also use additional        technique s.     You always    use the

24 same basic technique s as in street           narcotic s.       But then

25 we start ed to add the addition           of dialed    number




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 1 record er s which record ed number s dialed           in and out of

 2 certain    target     tel ephones , and we would do more long -

 3 term surveillance s.        We would still use search         warrant s

 4 just like in street        narcotic s you use search        warrant s,

 5 and then if the case led that way , we would advance                up

 6 to possibly        a Title 3.

 7 Q.         In term s of your experience .          Can you give us an

 8 estimate     of how many search      warrant s you've     been

 9 involve d in ?

10 A.         I stopped    count ing at 80 -- involve d in -- I

11 personally     have been the affiant       on -- I quit count ing

12 at 80.     Hundreds .

13 Q.         In addition     to a search   warrant , you've

14 mention ed "dial number         record er s."

15            Are those also known as Pin register s?

16 A.         Yes .

17 Q.         Is a court order required        for those ?

18 A.         Yes , it is .

19 Q.         Can you give us an idea of how many case s you've

20 utilize d Pin register s or dialed         number     record er s in ?

21 A.         I would say -- in      my personal      case , I'd say

22 probably     six different      -- six or seven different

23 investigation s, but I've assisted              on more than -- many

24 other investigators'        case s where I was also assisting

25 them .    I was look ing at their Pin register s, they were




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 1 bounci ng idea s back and forth observing           each other 's

 2 case s.

 3 Q.        I'm sure you heard Sergeant          Sakala    testify    here ,

 4 but a Title 3 or authorization         to intercept        actual

 5 conversation s.      Is it safe to say that that 's the tool

 6 of last re sort in narcotic s investigation s?

 7 A.        Yes .

 8 Q.        How many investigation s have you been involve d

 9 in that have utilize d Title 3 intercept s?

10 A.        I've been the affiant      or co- affiant       on two

11 myself    and participate d in probably        ten other s.

12 Q.        When you say that on two of those you've             been

13 the actual    affiant , what does that mean ?

14 A.        That I'm the one -- if I'm a co- affiant , there 's

15 obvious ly more than one person        preparing        the affidavit .

16 Q.        And submitting      it to the court ?

17 A.        Yes .   To obtain    court authorization        to then

18 conduct    the wiretap .

19 Q.        In this case were you the affiant             on the Title 3

20 application s?

21 A.        Yes , I was .

22 Q.        In addition     to that , in the other wiretap           case s

23 have you fulfill ed different        role s?

24 A.        Yes .   Everywhere    from monitor ing, where you're

25 jus t listening    to the line s and assisting           the case




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 1 agent , to surveillance          team as part of the wiretap .

 2 But we're still -- many time s I was minimize d and

 3 participated        in some of the other investigative

 4 function s.

 5 Q.         In addition     to having     the Pin register s up and

 6 executing     search    warrant s on occasion        and listening    to

 7 the telephone        call s, did you also use other

 8 investigative        technique s in try ing to determine          who was

 9 involve d in a conspiracy ?

10 A.         Yes .

11 Q.         What do those other s include ?

12 A.         Surveillance , inter view s -- surveillance ,

13 inter view s, grand jury , subpoena s, trash rip s --

14 Q.         You've    mention ed grand jury and subpoena s.

15            What role do subpoena s play in your

16 investigation ?

17 A.         Many of the document s, or many of the records                 we

18 utilize    we obtain     a subpoena      to compel    the company    or

19 an individual        to provide    us with the records .         We use

20 grand jury subpoena s to inter view people              who we think

21 may have     information       about the investigation      and also

22 to obtain     certain    records    that we cannot      obtain    with an

23 administrative        subpoena .

24 Q.         The grand jury subpoena         actual ly is a subpoena

25 for someone        to appear    before   the grand jury ; is that




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 1 correct ?

 2 A.       Yes .

 3 Q.       In regard    to your year s of experience , have you

 4 had occasion     to testify    in court and been qualifi ed as

 5 an ex pert in the area of drug trafficking            activities ?

 6 A.       Yes , I have .

 7 Q.       In what different      court s?

 8 A.       The Circuit      Court for Prince      George's   County   and

 9 the U. S. District        Court for Maryland .

10 Q.       Call ing your attention       to this investigation .

11          In addition      to being the affiant      on the Title 3

12 application , what was your role in the investigation ?

13 A.       I was one of three participati ng case agent s who

14 share d in the collective       duties    of the investigation .

15 I would conduct      surveillance , I would inter view people ,

16 I would re view records , re view the DNR activity ,

17 photograph s, listen       to telephone    call s, listen    to

18 intercept ed call s, conduct        informant   inter view s in the

19 rare occasion      we had an informant      in this case .

20 Q.       Who were the other two case agent s?

21 A.       Special    Agent Snyder     and Detective    -- now

22 Sergeant    -- Sakala .

23 Q.       Now , this investigation .        How did it start ?

24 A.       Ms. Paulette      Martin   first came to our attention

25 in 2001 .    We were conduct ing an investigation           of Juan




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 1 Encarnacion .       That investigation     led to air time and

 2 DNR analysis       of Mr. Encarnacion 's phone as well as

 3 surveil lance of Mr. Encarnacion , and we real ized that

 4 there was a connection        between    Mr. Encarnacion     and Ms.

 5 Martin .

 6 Q.         That would have been in 2001 ; is that correct ?

 7 A.         Yes, ma'am .

 8 Q.         In 2001 , who were the primary        target s of that

 9 investigation       that was going on in 2001 ?

10 A.         Initial ly it was Mr. Encarnacion , but he quick ly

11 led , under the circumstances       , to his source s of supply ,

12 who then became       the primary   target s which were the

13 Hernandez/Nunez O      rganization .

14 Q.         Individuals    that were here illegal ly from Mexico

15 in large part?

16 A.         Yes .

17 Q.         So your investigation       focused   upon them ; is that

18 correct ?

19 A.         Yes .

20 Q.         In this instance    you're    aware that the

21 indict ment charge s that the conspiracy          start ed in 19 97,

22 but your investigation        didn't    start until 2001 .

23            Is that unusual?

24 A.         No .

25 Q.         I should n't say your investigation        didn't   start




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 1 until 2001 .         Ms. Martin   came to your attention    in 2001

 2 as a result         of your investigation    of Mr. Encarnacion ;

 3 is that correct ?

 4 A.         Yes .

 5 Q.         When did you actual ly start to focus on Ms.

 6 Martin ?

 7 A.         After March of 2003 .

 8 Q.         And that -- what happen ed in March of 2003 that

 9 allow ed you to        focus on Ms. Martin ?

10 A.         The case was adjudicate d.         The prior

11 investigation         was adjudicate d so we could move on to a

12 new investigation .

13 Q.         In that first case , do you know how many

14 defendant s you had charge d and prosecuted           or end ed up

15 being fugitive s?

16 A.         We had 26 who were process ed through          the legal

17 system , and five fugitive s.

18 Q.         Going back to my other question .

19            You said it was n't un usual for your

20 investigation         to start at one point in time but then

21 ultimately     the conspiracy        to go back several   year s

22 before     that .

23            Can you explain        to us why that 's not un usual ?

24            MR. MONTEMARANO :        Objection .

25            THE COURT:      Over ruled .




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 1           THE WITNESS:      You may develop     information

 2 currently,      or oftentimes     you develop   current

 3 information       but then through    inter view s, document s,

 4 records , other evidence        that you gather     show s that the

 5 conspiracy      was start ed prior to your investigation .

 6 I've been involve d in investigation s that were pure ly

 7 historical .

 8           BY MS. JOHNSTON:

 9 Q.        Mean ing what ?

10 A.        They're    historical    conspiraci es that people      were

11 not charge d with      an offense    occurring .    Current ly

12 they're      charge d with event s that had happen ed in the

13 past .

14 Q.        Is it safe to say that just because           your

15 investigation       start s on 2002 , it does n't mean that your

16 target    wait ed until that date to start their drug

17 deal ing ?

18 A.        Yes .

19 Q.        Let 's talk a little      bit here in term s of this

20 case .

21           There 's been a lot of question s about the search

22 warrant s and the procedure s that were establish ed .

23           MR. WARD:     I'm going to object        to the lead ing

24 nature    of the question s.       This is direct , after all .

25           THE COURT:     Sustained .




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 1            Do a little    less lead ing .

 2            BY MS. JOHNSTON:

 3 Q.         Could you tell us what proce dure you and the

 4 other case agent s establish ed for the way the search

 5 warrant s were going to be executed              on June 1st and

 6 June 2nd of 2004 ?

 7 A.         Yes .    We held a brief ing of as many team leader s

 8 as we could ass emble,       given the variety        of schedule s.

 9 We were executing        approximately     26 search    warrant s and

10 a number     of bank account     seizure s, so we had a large

11 number    of people     involve d.

12            We brief ed the team member s on what we want ed

13 them to do , how they should           process    the evidence , and

14 we -- they were to follow            the normal    procedure , which

15 Prince George's C ounty procedure s and Montgomery                 County

16 search    procedure s are fair ly similar .          There 's a few

17 difference s, but you have one person              re cover the

18 evidence     and the other team member s search , and we

19 brief ed them on those procedure s.

20 Q.         Why do you have one person        re cover the evidence

21 instead    of each of the five or six people            who are at a

22 search    location ?

23 A.         So we don't have six officer s comi ng to court

24 and sitting        in the hall way not work ing ; and it also

25 slow s the court down to have six people              testify     about




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 1 the myriad     of evidence        re covered   from one location .

 2 Q.         Was there a system        set up for where the team

 3 leader s were to bring the evidence              and what was to be

 4 done with the evidence ?

 5 A.         Yes .

 6 Q.         Could you de scribe       that for us ?

 7 A.         All the evidence        was to come to Montgomery

 8 County , where it would be process ed , separate d as the

 9 drug s have to go to the drug lab farm , the firearm s

10 have to go to the -- I don't know               what their unit is

11 called.      Our s is the Fire arms E xamination        Unit in

12 Prince    George's     County .     You know , money has to be

13 process ed different ly than drug s, which has to be

14 process ed differently       than firearm s.        So , all the

15 evidence     would come back to one central           location     for

16 process ing and completion           of report s.

17 Q.         Could you de scribe       for the ladies and gentlemen

18 of the jury        how the cash was handle d in this case from

19 the various        location s where U. S. currency       was

20 re covered ?

21 A.         After it was count ed , it was then convert ed to

22 -- it was then deposited            in bank s, pend ing for feiture

23 or whatever        other action s were to be taken .

24 Q.         Was that money put in an interest           bear ing

25 account ?




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 1 A.       I don't know     if it 's interest     or non- interest

 2 bear ing , but it 's place d into a bank account          for

 3 for feiture .

 4 Q.       To keep it secure ?

 5 A.       Yes .

 6 Q.       In that regard .      Once the evidence      was brought

 7 to you and Agent Snyder        and Sergeant    Sakala , what was

 8 done with some the item s that were re covered ?

 9 A.       Some were submitted       for a variety     of process ing .

10 Some were submitted       for DNA process ing , some were

11 submitted    for fingerprint      analysis , and some were just

12 process ed in the normal , routine        manner .

13          MR. WARD:      Your Honor , I have a question .

14          Is the witness      being offered    as an expert?           If

15 so , is he going to be qualifi ed ?

16          MS. JOHNSTON:       I've gone over his background             and

17 qualification s.      I haven't    asked him a question         yet

18 that require s his ex pert testimony .         Right now    he 's

19 testify ing concerning the procedures.         There may be a

20 point in time when we request --

21          THE COURT:      Let 's see if we get there .

22          MR. WARD:      That 's what I want ed to know .

23          THE COURT:      We're not there yet .

24          BY MS. JOHNSTON:

25 Q.       In addition     to firearm s and money and drug s,




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 1 were there also lot s of document s re covered ?

 2 A.         Yes .    Many .

 3 Q.         Could you give this jury an idea of how many

 4 box es of document s or piece s of paper and other item s

 5 were re covered       from all of these search          location s?

 6 A.         Given that there were approximately             26 search

 7 warrant s executed , at some site s we had as many               four ,

 8 five , six box es of document s and some as little               as one .

 9 That will give you an idea that there 's 30 to 40 box es

10 of evidence        -- of documentary       evidence .

11 Q.         Have you had occasion           to -- you or the other

12 case agent s to go through            that document ary evidence ?

13 A.         Yes .

14 Q.         In deed , under your direction , were copies            of

15 everything     that was seize d during          the execution    of

16 those search        warrant s given or made available          to the

17 defense    attorney s in this case ?

18 A.         Yes .

19            MR. MARTIN:        Your Honor , I'm going to object          to

20 the lead ing nature          of the   question ing as well .

21            THE COURT:        All right .     Over ruled , in the

22 interest     of time .

23            BY MS. JOHNSTON:

24 Q.         Now , with regard      to the evidence .

25            We've seen some item s with black powder             on it .




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 1 What is the black powder ?

 2 A.        That would be fingerprint           powder .

 3 Q.        In this case , do you have any idea of how many

 4 item s were dusted     for fingerprint s?

 5 A.        Many more than the jury saw .

 6 Q.        In your role as a case agent , do you know a case

 7 agent -- strike      that .

 8           In your role as case agent , do you know whether

 9 or not any print s of value were re covered                from any of

10 the many , many item s that were dusted            for fingerprint s?

11 A.        I know of one .

12 Q.        What was the one item that had a print of value

13 on it ?

14 A.        I don't recall       the exhibit     number , but it was

15 the box which contain ed the quarter             of a million

16 dollar s that was seize d in New York by ICE agent s.

17 Q.        Other than that one -- you said it was one                 print

18 of value ; is that correct ?

19 A.        Yes, ma'am .

20 Q.        When you say "seize d in New York ," where was it

21 seize d from ?

22 A.        It was seize d from the Furniture              Queen .

23 Q.        Who was the person           who took it to the Furniture

24 Queen ?

25 A.        Ms. Gwendolyn       Levi .




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 1 Q.        And from whom -- whose custody         was it re covered ?

 2 A.        Mr. Moises    Uriarte .

 3 Q.        That was the only print of value re covered ?

 4 A.        That 's the only print that I'm aware of .

 5 Q.        Certain ly , as case agent , you would be aware if

 6 there were other print s of value ?

 7 A.        I would hope so .

 8 Q.        Is that un usual in a case with as many exhibit s

 9 -- with   as many plastic       bag s and toolbox es as we've

10 seen here , is it un usual ?

11           MR . MITCHELL:      Objection .

12           MR. WARD:     Objection , Your Honor .

13           That is an ex pert question .

14           MR. MONTEMARANO :      Basis for knowledge , Your

15 Honor .

16           THE COURT:       Well , lay a foundation    for him .

17           BY MS. JOHNSTON:

18 Q.        All right .      Tell us how many time s have y ou been

19 involve d in case s where drug s were seize d in plastic

20 bag s.

21 A.        How many case s?

22 Q.        Sure .   How many case s?     I don't mean literally

23 case s in term s of box es .

24 A.        More than I could count , easily .

25 Q.        Can you tell us in your -- have you been train ed




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 1 to lift latent       print s?

 2 A.         Yes , I have .

 3 Q.         Have you also received       train ing concern ing the

 4 packaging     of drug s for sale and distribution ?

 5 A.         Yes .

 6 Q.         Have you had occasion       to see drug s that were

 7 package d for sale and distribution ?

 8 A.         Yes , I have .

 9 Q.         Have you also had -- during          your experience ,

10 have you had occasion           to yourself   purchase   drug s?

11 A.         Yes , I have .

12 Q.         In quantiti es for distribution , as well as

13 small er quantiti es -- quantiti es for personal             use ?

14 A.         Quantiti es for distribution ?         You mean

15 re distribution      after I've --

16 Q.         Yeah .    You've   purchase d it .    Was it in

17 quantiti es to be re distributed ?

18 A.         Yes .

19 Q.         Have you also maybe had occasion          to purchase

20 some in quantit ies that would be considered              only for

21 personal     use ?

22 A.         Yes .

23 Q.         What kind of quantity       would be considered         --

24            MR. SUSSMAN :      Objection .

25            Relevance .




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 1          THE COURT:      Over ruled .

 2          BY MS. JOHNSTON:

 3 Q.       What kind of quantity          would be considered    sole ly

 4 for --

 5          MR. SUSSMAN :     Your Honor , now he 's giving

 6 opinion s.    The   question   start ed with    fingerprint s and

 7 the ability    to get fingerprint s.

 8          BY MS. JOHNSTON:

 9 Q.       Let me re phrase      the question .

10          You 've said yes , you 've purchase d quantiti es

11 that could be considered        for personal     use .

12          What was that quantity ?

13          MR. WARD:     Objection , Your Honor .

14          That is an ex pert question         -- ex pert opinion

15 question .    That 's not a fact question , and I'm

16 object ing to it .

17          MS. JOHNSTON:       I'm try ing to lay a foundation

18 for his background      and train ing , Your Honor .

19          MR. WARD:     Well , before      you -- lay a foundation

20 before   you ask the question .         That 's the way it should

21 be .

22          THE COURT:      Continue   lay ing the foundation .

23          BY MS. JOHNSTON:

24 Q.       That was my question .

25 A.       Have I purchase d quantiti es of drug s in --




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 1 Q.       For distribution .

 2 A.       Distribution ?      Yes .

 3 Q.       Okay .   Are you -- did you familiar ize yourself

 4 with the way drug s are package d?

 5 A.       Yes, ma'am .

 6 Q.       Have you also purchase d drug s in small er

 7 quantiti es that would not be for re distribution ?

 8          MR. MONTEMARANO :      Objection , Your Honor , unless

 9 the detective     intend ed to re distribute         himself .

10          THE COURT:      Over ruled .

11          THE WITNESS:      Near ly every quantity        I've

12 purchase d could be re distributed , even a $20 rock .

13          BY MS. JOHNSTON:

14 Q.       Have you also had occasion          to use confidential

15 informant s to purchase      drug s?

16 A.       Yes, ma'am .

17 Q.       Have you had occasion , in addition , to ,

18 yourself , conduct     surveillance      when other officer s were

19 engage d in purchasi ng drug s?

20 A.       Yes .

21 Q.       Have you on occasion        had an opportunity          to

22 arrest   individuals    with drug s or who were         in possession

23 of drug s?

24 A.       Yes .

25 Q.       Have you had occasion          to process    those drug s as




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 1 you took custody      of them ?

 2 A.       Yes .

 3 Q.       Did you receive      train ing at the police       academy

 4 concern ing how to process        evidence    for fingerprint s?

 5 A.       Yes .

 6 Q.       Have you had occasion          to testify   in court

 7 concern ing whether     or not    you were able to obtain

 8 fingerprint s from some of the drug item s or related

 9 document s that you seize d during         the course    of your

10 drug investigation s?

11 A.       Yes .

12 Q.       This case --

13          MR. SUSSMAN :     I object , Your Honor .

14          If the question      is how many time s he 's got ten

15 fingerprint s off thing s or sent it for finger prints,

16 then just ask it .

17          THE COURT:      Over ruled .

18          BY MS. JOHNSTON:

19 Q.       Have you had occasion          to attempt   to lift

20 fingerprint s off of packaging          materials    on drug s?

21 A.       Yes .

22 Q.       What has been your experience          in do ing that ?

23 A.       It 's not been a very good one as far as              being

24 success ful .

25 Q.       Explain    to the jury what you mean by that .




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 1 A.          It 's not a matter     of being able to lift a print ,

 2 it 's a matter        of being able to lift a print of value .

 3 It has to have a certain           number   of point s for the

 4 latent      print examiner    to be able to make .

 5             MR. MARTIN:     Your Honor , I'm going to object

 6 unless      he 's an ex pert on fingerprint       examination .       I

 7 don't remember         him being qualifi ed as a forensic s

 8 ex pert .

 9             THE COURT:     Over ruled .

10             BY MS. JOHNSTON:

11 Q.          Continue .

12 A.          From my train ing and experience , I know that a

13 certain      number    of point s are required     for a latent

14 print examiner         to be able to make -- to give an opinion

15 to whether      a fingerprint      match es the latent    lift ed .

16 Q.          When you say you 've been able to lift some

17 things , what do you mean ?          What kind of print s were you

18 able to lift ?

19 A.          Smudge s.    Partial   print s.    Smear s.   I've also

20 observe d our much more experience d forensic             evidence

21 people      when I've hand -carri ed evidence       to them and

22 stood over their shoulder           and watch ed them , and it 's

23 very rare to lift a usable           print off of drug packaging

24 or even off of what would appear              to be , I'm taking      you

25 there because         I think there 's a high likelihood       of




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 1 being able to get a success ful print and it 's a

 2 washout .    You don't get anything .

 3 Q.       When you say -- does this -- has it been your

 4 experience      with just drug packaging , or does it apply

 5 to other items as well ?

 6 A.       It appl ies to    other item s as well .

 7 Q.       In this case you know of only the one print of

 8 value ; is that correct ?

 9 A.       Yes, ma'am .

10 Q.       And you haven't      count ed up how many item s were

11 dusted   with that black powder        or with the purple      ink

12 that we've seen on some item s to be able to tell this

13 jury how many were actual ly submitted .

14 A.       No .

15 Q.       Are you able to , in Prince George 's County,            or

16 now it 's Immigration      and Custom s Enforcement .       Do you

17 have the authority      to submit     every single    piece of

18 paper in every single       plastic    bag that is seize d during

19 the course      of your investigation?

20          MR. MARTIN:      Objection , Your Honor .

21          THE COURT:      Sustained .

22          BY MS. JOHNSTON:

23 Q.       What is the procedure         in term s of submitting

24 item s for fingerprint      analysis ?

25          MR. MONTEMARANO :      Objection , Your Honor .       They




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 1 weren't   submitted       to Prince   George's    County .      The

 2 detective     has already     testifi ed they were submitted          in

 3 Montgomery     County .

 4           THE COURT:       Over ruled .

 5           BY MS. JOHNSTON:

 6 Q.        You may answer .

 7 A.        What is the process         for submitting        item s?

 8 Q.        Yes .

 9 A.        An investigator      can attempt       to lift the late nts

10 himself , or you can have assistance             from your forensic

11 section   -- your crime scene people          or your forensic

12 examiner s are available        to you -- or you can submit

13 thing s to the FBI for process ing or other federal

14 agenci es .

15 Q.        Is there a limit on -- strike            that .

16           Do you have infinite         resource s in your

17 investigation ?

18           MR. MONTEMARANO :       Object ion .

19           THE COURT:       Sustained .

20           BY MS. JOHNSTON:

21 Q.        Detective , do you have an opinion           as to what

22 would have happen ed if you had taken 30 box es of

23 document s to your --

24           MR. MONTEMARANO :       Objection .

25           Basis .




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 1            MS. JOHNSTON:      -- forensic    lab your forensic

 2 evidence     technician s, to have them examine          each piece

 3 of paper for fingerprint s?

 4            MR. WARD:     Objection , Your Honor .

 5            MR. MARTIN:     Objection .

 6            Foundation.     Competency .     Lead ing .

 7            THE COURT:     Over ruled .

 8            BY MS. JOHNSTON:

 9 Q.         You may answer .

10 A.         Do I have    an opinion ?

11 Q.         Yes .

12 A.         Yes .

13 Q.         Tell the jury what your opinion is.

14 A.         I believe my Major would have received a call,

15 who would have called the Captain, who would have

16 called the Lieutenant, who would have called my

17 Sergeant, who      would have called me,       or I would have

18 been just turn ed away at the door .           There 's no way I

19 would have gotten        30 item s of evidence     process ed .

20            MR. MARTIN:     Move to strike .      Speculation .

21            THE COURT:     Over ruled .

22            BY MS. JOHNSTON:

23 Q.         Does the same thing apply for all of those

24 plastic    baggi es that we 've seen here in court as well ?

25 A.         Yes .




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 1 Q.         Based upon your train ing and experience , have

 2 you ever had a fingerprint           lift ed off of a plastic

 3 baggy ?     A fingerprint    of value .

 4 A.         No .

 5 Q.         You indicated    that this investigation          start ed

 6 with Mr. Juan Encarnacion .

 7            Was this before       or after Mr. Encarnacion 's

 8 arrest    that Ms. Martin        came to your attention ?

 9 A.         It was prior to his arrest .

10 Q.         Could you de scribe      for us what occurred       in

11 relation     to your investigation        after Juan Encarnacion

12 that brought        Ms. Martin    to your attention ?

13            MR. WARD:     Objection .

14            THE COURT:     Over ruled .

15            THE WITNESS:     During     the course   of the

16 investigation , Mr. Encarnacion , myself , and member s of

17 the group to which I was assigned            -- the Custom s Task

18 Force -- at the time conduct ed surveillance            of Mr.

19 Encarnacion .        He was observe d meet ing with an

20 individual        later identifi ed as Salvador     Nunez,     who was

21 later identifi ed as Mr. Encarnacion 's source            of

22 cocaine .

23 Q.         What date -- was there a particular          surveillance

24 that you recall ?

25 A.         Yes .




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 1 Q.         What was the date of that surveillance ?

 2 A.         February   21 , 2001 .

 3 Q.         If you could , de scribe     for us where the

 4 surveillance     took place , what you observe d, and how you

 5 identifi ed or associate d Ms. Martin         with that

 6 surveillance .

 7 A.         The surveillance    start ed in Prince     George's

 8 County    and end ed up in -- on Veir 's Mill Road in

 9 Montgomery     County , where Mr. Encarnacion        met with

10 Salvador    Nunez .

11            After meet ing on Veir's Mill Road,        there was a

12 restaurant , the Tijuana       Mexican    Cafe -- I don't know      if

13 it 's still there anymore , but they met there .            They

14 were there approximately           -- I remember   it was quite a

15 bit of time , about 45 minute s probably , and then they

16 went their separate       way s.     We stay ed with Mr. Nunez

17 because    we thought    the meet ing was somewhat      odd to just

18 sit in the car for 45 minute s and thought            that he was

19 an interest ing person .       So , we follow ed Mr. Nunez to

20 another    address    in Rockville , Maryland , stay ed at that

21 residence     for a while , then follow ed him back where he

22 again met with Mr. Encarnacion , to the rear -- in a

23 residential     neighborhood       to the rear of the restaurant .

24 They met brief ly and then separate d.

25            The follow ing day we obtained       air time records




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 1 for Mr. Encarnacion 's cellular           telephone    and conduct ed

 2 analysis     of the telephone .

 3 Q.         When you refer to Salvador         Nunez -- i s that the

 4 individual        who Mr. Encarnacion     testifi ed about here in

 5 court ?

 6 A.         Yes , I believe    he did .

 7 Q.         How did Mr. Encarnacion        identify     him ?

 8 A.         He call ed him "Manual."

 9 Q.         But his real name was Salvador          Nunez ?

10 A.         No .    His real name was Fernando         Andaya.     He was

11 arrested     as Salvador     Nunez, and     we found out later his

12 real name was Fernando         Andaya , but his real name was

13 Manual .

14 Q.         Why is it that you order ed the records              of Mr.

15 Encarnacion 's Sprint cellular           phone ?

16 A.         Primarily , at the time we want ed to find out who

17 he met with in an attempt         to identify      Mr. Nunez 's --

18 Mr. Andaya 's cellular        telephone .

19 Q.         Let me show you what 's been mark ed as CH-12 and

20 ask you if you can identify         that piece of paper .

21 A.         Yes .

22 Q.         What is that ?

23 A.         This is a page from Mr. Encarnacion 's Sprint PCS

24 air time records .

25 Q.         Is that the information        that you request ed ?




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 1 A.         Yes, ma'am .

 2 Q.         Did you recognize       some of the phone number s on

 3 that item ?

 4 A.         Do I now ?

 5 Q.         Yeah .     Well , did you , at the time , recognize

 6 some of them ?

 7 A.         No .     But subsequent ly we obtain ed subscriber

 8 records     for them , and yes .

 9 Q.         Let me put it up on the screen             so everyone      can

10 see it .

11            First of all , the number         at the top .     What's     the

12 number     under Sprint PCS?

13 A.         (301) 806-6756 .

14 Q.         Whose telephone       number    was that ?

15 A.         That was the cellular          telephone     use d by Mr.

16 Encarnacion .

17 Q.         What is the time period          covered     by these

18 records ?

19 A.         February     21 from 1:04 hour s to 21 :49 hour s.

20 Q.         What telephone       number s did you recognize         on this

21 exhibit ?

22 A.         At 11 :59 , I recognize d one that 's a telephone

23 that was listed         to Bexhill   Court    -- 9002 Bexhill       Court .

24 Q.         What's     that telephone      number ?

25 A.         (30 1) 439 -3545 .




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 1 Q.         Do you see any other number s?

 2            Let me start at the top .

 3 A.         At the top , the first line is (301) 455-6152

 4 that was the cellular          telephone     of Mr. Andaya , aka

 5 Nunez .

 6 Q.         Continui ng dow n -- the column s.            By the way , the

 7 "call ing number " and "call ed number ."            What does that

 8 tell us ?

 9 A.         That on an outgoing      call , the call ing number           is

10 the -- if you scroll         farther    to the -- if you pan out a

11 little     bit , just a little     bit -- yes .      See where it

12 says "roll " there 's a zero ?          That indicate s that it 's

13 an outgoing     call .   So you get a repeat         in the call ing

14 number     of the subscriber .      And then in the second

15 column     is the dialed     number .    That 's the numb er that

16 Mr. Encarnacion      or whom ever was dial ling from (301)

17 806-6756 .     Well , the in comi ng call -- the second           line

18 down where it says "roll one " indicate s an in comi ng

19 call .     Call ing number     would be the in comi ng call

20 number .     The call ed number     is Mr. En car nacion 's phone ,

21 and that 's the receiving         number .

22 Q.         You mention ed it was        February   21 , 11 :59 :37   and

23 there was a call to 439 -3545 which subscribed                 where ?

24 A.         Bexhill   Court .

25 Q.         Whose residence      on Bexhill     Court ?




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 1 A.         Paulette      Martin .

 2 Q.         What was the duration          of that call ?

 3 A.         47 seconds .

 4 Q.         When was that in relation          to the meet ing between

 5 Mr. Encarnacion         and Mr. Salvador      Nunez ?

 6 A.         That was well before          the meet ing .    The meet ing

 7 took place in the evening .              It was February .     It was

 8 dark during     the meet ing .      I can't recall        the exact

 9 time , but it was -- it start ed out with a little                bit of

10 light or some light when they first met , and then it

11 was dark by the time they went to meet the second                     time .

12 Q.         Then are there further          significant     call s on this

13 record     in relation      to Ms. Martin 's home ?

14 A.         Yes , at 15 :34 :28 .

15 Q.         What's   the number ?

16 A.         439 -8988 .

17 Q.         What number      is that ?

18 A.         That 's another     phone number      associate d with

19 Paulette     Martin .

20 Q.         How do you associate          that with Ms. Martin ?

21 A.         I believe      it 's either    subscribe d to Bexhill

22 Court or Paula 's School of Perform ing Art s.

23 Q.         Any other number s that you associate             with Ms.

24 Martin ?

25 A.         Down farther      there 's another     repeat    of 439 -3545 .




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 1 Q.         Where is that ?

 2 A.         At 17 :42 and 17 :49 there is an outgoing         and an

 3 in comi ng .

 4 Q.         Any other number s?

 5 A.         Not that I can see .

 6 Q.         Let me move it up .

 7 A.         No more number s associate d with her direct ly .

 8 Q.         It look s like there are some other number s that

 9 had been highlight ed on a previous          copy of this .

10            What number   is that that was highlight ed

11 previously?

12 A.         That 's Mr. Nunez 's phone .

13 Q.         You don't -- based upon these air time records ,

14 do you know who was using the phone that was subscribe d

15 to either       the Bexhill    Court or to Paula 's School of

16 Perform ing Art s?

17 A.         No .

18 Q.         What can you tell us in term s of that contact ,

19 based upon these records ?

20 A.         That it was timely , and we believe d at the time

21 that Mr. Encarnacion          was obtain ing drug s from Mr. Nunez

22 for Ms. Martin .

23 Q.         Was that corroborate d subsequent ly after

24 arrested       Mr. Encarnacion ?

25 A.         Yes .




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 1 Q.        Also , were you able to tell how long the call s

 2 took in terms of each one of them ?

 3 A.        Yes .   The duration       is listed   in seconds .

 4 Q.        And this would have been in February           of 2001 ; is

 5 that correct ?

 6 A.        That 's correct .

 7 Q.        While we're talk ing about Bexhill          Court .    During

 8 the course    of your investigation          -- let me show you

 9 what's    been mark ed as Bexhill       1.

10           Do you recognize      these records ?

11 A.        Yes .

12 Q.        What are those records         for ?

13 A.        The first staple d section         is a deed for 9002

14 Bexhill    Court , Adelphi , Maryland .

15 Q.        Take a look at and look at all the records

16 there , because    I would like to ask you if you can tell

17 from those records      when the property        was purchase d by

18 Ms. Martin    and when it was sold .

19 A.        Yes .

20 Q.        If you could tell us , what was the date when Ms.

21 Martin    purchase d the property .

22 A.        September   23 , 19 96 .

23 Q.        Are you able to tell when it was sold ?

24 A.        Yes .   November    21 , 2002 .

25           MR. MCKNETT :      Ms. Johnston , could I have the




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1 exhibit     number ?

2           MS. JOHNSTON:      The exhibit    number    is Bexhill   1.

3           MR. MCKNETT :    Thank you .

4           BY MS. JOHNSTON:

5 Q.        And the two date s you refer to .          The first date

6 is on the first staple d portion         of the records ; is that

7 correct ?

8 A.        Yes, ma'am .

9 Q.        And then the date of sale is on the last staple d

10 portion ; is that correct ?

11 A.       Yes .

12 Q.       And the records     -- those are the only two

13 transfer s that are indicated       in the record     when Ms.

14 Martin   purchase d it and when she sold it ?

15 A.       Yes .

16 Q.       There is nothing     in between    September     23 of 19 96

17 and March of 2002 when she sold it, is there ?

18 A.       Not in those records      that I saw .

19 Q.       Were you familiar     with Bexhill     Court ?

20 A.       Yes, ma'am .

21 Q.       Let me show you what's       been mark ed as

22 Government 's Exhibit     P-2 and ask you if you recognize

23 that photograph .

24 A.       Yes , I do .

25 Q.       What is that ?




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 1 A.        The residence     on the left side with the white

 2 SUV in the drive way is 9002 Bexhill          Court .

 3 Q.        You also heard testimony       both from Task Force

 4 Officer Cowan       and Juan Encarnacion     concern ing Beverly

 5 White .

 6           Are you familiar      with that testimony ?

 7 A.        Yes, ma'am , I am .

 8 Q.        Were you familiar      with Ms. White or have any

 9 contact   with Ms. White or her residence            back in the

10 19 96 -97 time period ?

11 A.        Yes , I did .

12 Q.        I'm going do show you what's            been mark ed as P-

13 28 6.

14           Do you recognize      that photograph ?

15 A.        Yes, ma'am .

16 Q.        What is that a photograph        of ?

17 A.        8903 Royal Crest .      I can't remember       if it 's

18 Drive , Place , Court , whatever , but I know it 's 8903

19 Royal Crest .

20 Q.        Who re side d at that location ?

21 A.        Beverly    White and , for a while , her husband , who

22 was McCarthy Plummer .

23 Q.        Did he go by a nickname ?

24 A.        Yes .

25 Q.        What was that ?




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 1 A.        Dobie .

 2 Q.        You heard Task Force Officer           Cowan 's testimony

 3 as well as Mr. Encarnacion .

 4           Did you have any experience           with search   warrant s

 5 being executed       at Ms. White 's residence       back in the

 6 time period       of '96 , '97, ' 98 ?

 7 A.        Yes .

 8 Q.        Were you present      during   the execution      of those

 9 search    warrant s?

10 A.        I was present     during    two search    warrant s at that

11 residence .

12 Q.        Were any drug s re covered      there ?

13 A.        Yes, ma'am .

14 Q.        What kind of drug s were re covered         from the

15 residence     of Ms. White ?

16 A.        On the first search        warrant    I believe   it was

17 cocaine    and heroin .

18           On the second     search    warrant    I know there was

19 some heroin       there , but I was n't part of the search

20 team .    I observe d some heroin , and I know they field

21 tested    it positive     and that -- I was there mere ly to

22 secure    the residence     until DEA could come there and do

23 their search .

24 Q.        Do you recall     what kind of drug s Mr. Encarnacion

25 said he was get ting from Ms. White ?




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 1 A.       He did --

 2 Q.       What he was giving      to Ms. White ?

 3 A.       Yes .

 4 Q.       What was that ?

 5 A.       E said he was supplying        her with heroin .

 6 Q.       In addition    to the surveillance       of Mr.

 7 Encarnacion      on February   21 , 2001 , when you've     indicated

 8 there was telephone      contact   with Ms. Martin , did you

 9 also -- were you also conduct ing surveillance             in June

10 of 2001 ?

11 A.       Yes, ma'am .

12 Q.       Where was your surveillance        on June 6 of 2001 ?

13 A.       I was conduct ing surveillance        in the 9200 block

14 of Willow Lane in a Adelphi , Maryland .

15 Q.       Who live d in the 9200 block of Willow Lane ?

16 A.       It was either     Francis co Martinez     or -- there

17 were two individuals      who were associate s of Juan

18 Encarnacion      who were associate d with that address , and

19 for some reason      I can't remember    the other individual 's

20 name .

21 Q.       Why did you happen      to be there conducting       the

22 surveillance      on June 6 of 2001 ?

23 A.       I was surveilling Juan       Encarnacion    with the

24 assistance     of the some member s of the      Prince   George's

25 County   Major Narcotic s Section .




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1 Q.        Did you make any observation s of Mr. Encarnacion

2 at that address ?

3 A.        Yes , I did .

4 Q.        De scribe    those observation s.

5 A.        He was at the residence       to the right side of the

6 house .    He was hang ing out with some guy s at the house ,

7 just talk ing and do ing whatever        they were do ing , and he

8 spent some time there .        After a while , I thought       this

9 was a complete        waste of my time and decide d to -- and

10 everybody   else 's and decide d to end the surveillance .

11 Q.       You weren't     there by yourself ?

12 A.       No .

13 Q.       Do you know about how many other people            you had

14 with you to do the surveillance         on Mr. Encarnacion ?

15 A.       It was at least     three other s.

16 Q.       Why do you have more than one person           to do the

17 surveillance ?

18 A.       That street     was a court -- not what you would

19 typically   call a "court ," but it was a dead end street .

20 If he left the area and one car follow ed him out of the

21 area an d then stay ed on him the whole         time , I think I

22 would have been burn ed .

23 Q.       So you decide d to call it off and send your

24 cohort s home or about their business .

25 A.       Yes .   I left the residence , met with the




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 1 surveillance       team who was outside      of the neighborhood ,

 2 and in kind of a strategic          point s, you know , at cross

 3 street s in the area and told them that we're going to

 4 cancel    it .

 5 Q.        What did you do at that time ?

 6 A.        I decide d to take one last spin past the house ,

 7 and his vehicle       was gone .

 8 Q.        Okay .    When say you took       one last spin by the

 9 house .    Is that    the house where --

10 A.        The Willow Lane address .

11 Q.        What did you do when you noticed          the car was

12 gone ?

13 A.        Said something     probably   un repeatable   in court

14 and then decide d to -- I had to get on the belt way

15 anyway , so I went past Paulette         Martin 's residence ,

16 which was on my way to the belt way .

17 Q.        Her residence    where ?

18 A.        9002 Bexhill    Court .

19 Q.        What did you observe       when you got there ?

20 A.        Mr. Encarnacion 's vehicle         at her residence .

21 Q.        Were you able to see him at that time ?

22 A.        No .

23 Q.        Was his vehicle     occupi ed ?

24 A.        No .

25 Q.        What did you do upon see ing his vehicle          at Ms.




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 1 Martin 's house ?

 2 A.       Call ed the      surveillance     team back , and we

 3 establish ed surveillance            in the Bexhill   Court area .

 4 Q.       Did there come a time when Mr. Encarnacion                left

 5 -- strike     that .

 6          Did you subsequent ly observe            Mr. Encarnacion       in

 7 the vicinity of         Ms. Martin 's residence ?

 8 A.       Yes .    He left the residence , drove from the

 9 residence     but did not take the direct           route out of the

10 neighborhood .         He stopped     -- there 's a little     court off

11 of Royal Crest , and stopped            on that court -- jus t

12 park ed on that court for a minute , which I thought                   was

13 a counter -surveillance           man euver,   and then he continued

14 on to River dale , where his -- to his residence .

15 Q.       Were you able to determine             from the time you got

16 there how -- strike         that .

17          Based upon the time you arrive d and observe d his

18 car there , how much time went by before              he exited    the

19 residence ?

20 A.       Somewhere       around    15 minute s.    Something    like

21 that .

22 Q.       Okay .    Now , during       this time when you're      maki ng

23 these observation s of Mr. Encarnacion              at Bexhill    Court

24 and the telephone         contact , had you had any

25 conversation s or gotten           any information    from Mr.




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 1 En car nacion ?

 2 A.         Concerning the    surveillance ?

 3 Q.         Yes .

 4 A.         No .

 5 Q.         Had he been arrested     at that point ?

 6 A.         No .

 7 Q.         These are observation s you made prior to his

 8 arrest ?

 9 A.         Yes .

10 Q.         Okay .   Let me show you what's      been mark ed as

11 CH-11.

12            Are you familiar    with this exhibit ?

13 A.         Yes .

14 Q.         Let me put it up on the screen .

15            First of all , dis regard    that fat green line

16 there , okay ?      I want to ask you some other question s.

17            First of all , where did this come from , this

18 map ?

19 A.         This is a Micro soft Street s & T rip s rendition        of

20 the street s.

21 Q.         Are you familiar    with the street s and -- the

22 per tinent    street s and location s in this area ?

23 A.         Yes .

24 Q.         Does this map accurate ly depict       the street s and

25 their layout s in the area that 's depict ed ?




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 1 A.       Yes .

 2 Q.       In look ing at this map , are you able to show us

 3 where Mr. Encarnacion         was when you initial ly began your

 4 surveillance ?

 5 A.       Yes .

 6 Q.       Let me bring it up to you , and I'm going to have

 7 you take a red marker         -- let me use a blue marker        since

 8 that 's not on the map yet , that color .          If you could

 9 use the blue marker         and show where Mr. Encarnacion        was

10 when you first surveil led his vehicle .

11 A.       (Witness indicating.)

12 Q.       Can you make a bigger        dot than that so we can

13 all see it ?

14 A.       (Witness    indicati ng .)

15 Q.       Why don't you draw a line out and put the street

16 name of where it was where Mr. Encarnacion             was .

17 A.       (Witness indicating.)

18 Q.       Was that un name d on the map ?

19 A.       Yes .

20 Q.       Now , you didn't       see what direction    Mr.

21 Encarnacion      traveled    -- strike   that .

22          You weren't        there when he left Willow ?

23 A.       No .

24 Q.       And the location        of his car is the dot right

25 here ?   (Indicating.)




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1 A.          Yes .

2 Q.          So you don't know what route he took .

3             Can you tell us approximately         how long it took

4 you to get from that area of Willow over to Bexhill

5 Court ?

6 A.          It 's only a couple    of minute s.     It can't be more

7 than two or three miles apart , if that .

8 Q.          Is Bexhill    Court accurate ly reflect ed on the

9 map ?

10 A.         Yes .

11 Q.         Was that the only surveillance         that you --

12 physical     surveillance     that you recall    having   of Mr.

13 Encarnacion        at Ms. Martin 's house on Bexhill      during

14 your 2001 investigation ?

15 A.         Yes .

16 Q.         And you were not part of Task Force Officer

17 Cowan 's earlier       investigation   in '96 -97 ; is that

18 correct ?

19 A.         No , I was not .    We collided   on those search

20 warrant s, but that was n't -- that was not part his

21 investigation .

22 Q.         When you say you "collide d," what do you mean ?

23 A.         I would -- there was a residential         robbery   at

24 Ms. White 's home , and when detective s went there --

25 uniform ed officer s went there , it was kind of a strange




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 1 robbery .     One individual     was shot and kill ed on the

 2 street    as he left the residence        -- an apparent    suicide .

 3 Q.         Was that related      to one of the heroin     search

 4 warrant s you told us about ?

 5 A.         Yes .    I went to the residence , and patrol

 6 officer s had seen white powder          on some of the -- there

 7 was some furniture        upstairs   and some indication s that

 8 these people        were involve d in internal    body carri es of

 9 heroin , and I was there mere ly to -- they call ed

10 narcotic s.        I was aware , and other member s of my

11 division     were aware of Mr. Cow an 's investigation , so we

12 mere ly secured       the premises   and call ed DEA for them      to

13 come out and handle        the scene .

14 Q.         Okay .    So your observation s in 2001 were

15 in dependent       of Task Force Officer    Cow an where the

16 information        you later learn ed from Juan Encarnacion ; is

17 that correct ?

18 A.         That 's correct .

19 Q.         Okay .

20            Your honor , it 's 5 o'clock .     I don't know      if the

21 court want s me to continue .

22            THE COURT:     No .   I think we should    adjourn    for

23 the day .

24            Ladies and gentlemen      , we have a pretty    big gap

25 between     now and when you come back .       Please   remember ,




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 1 as I've told you before , do not discuss                this case

 2 among yourselves        or with any other parti es until you

 3 begin your actual        deliberation s at the end of the case ,

 4 and I will see you next Tuesday , and I will hope that I

 5 survive    my little     problem    on Friday .     Thank you .

 6                          (Jury excused      at 5:03 p.m. )

 7            MS. GREENBERG:      Judge , can you stay for a

 8 minute ?

 9            THE COURT:      Yes , yes .

10            Ms. Green berg , you had an issue ?

11            MS. GREENBERG:      A couple     of housekeeping       thing s,

12 Your Hono r -- a couple        quick housekeeping         thing s.   I

13 did check with the technical             people .   If we're done

14 with the video s and you guy s don't want them for your

15 case , we can put the old system            back up .     It would be

16 help ful to do it during        the long break so they 'd have

17 more time to do it .         So , I didn't know      if the defense

18 team -- anybody      on the defense        team want s these

19 monitor s or if we should          put the old system       back up ,

20 since we're done with the video s.

21            THE COURT:      Any objection , counsel ?        We'll put

22 the old system     back in .

23            MR. MCKNETT :     Your Honor , I may want to use the

24 pole camera .     I don't know       what system --

25            MS. GREENBERG:      This is the only one that can




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 1 play video s.     The other other s are better          because      it 's

 2 right on the table s.

 3            MR. MCKNETT :     It 's a video,    not DVD?

 4            MS. GREENBERG:      The other system .       This is the

 5 U. S. Attorney's office system.          The court system's

 6 broke and they haven't         gotten    it fix ed yet .

 7            MR. MCKNETT :     To show the pole cam , you have to

 8 use this system ?

 9            MS. GREENBERG:      You have to use this system .

10            THE COURT:      Then we'll stay with this one .

11            MS. GREENBERG:      Your Honor , the second           thing is ,

12 if we're plan ning to       finish     with Detective      Eveler    on

13 Tuesday , I want to re mind counsel           again that we don't

14 have all the evidence         here .    So if they plan to call

15 somebody    and they need evidence , we'll need to know

16 prior to Monday        so that the agent can go out to the

17 facility    and pick up the exhibit s that they want ; and

18 also , they do need to let us know what witness es

19 they're    call ing on Monday     and how they're       going to go

20 about do ing that .

21            THE COURT:      Counsel , please    remember     --

22            MR. WARD:     Hold on .     I always   thought    once

23 exhibits    had been offered      into evidence      and became

24 evidence , they stay ed in the custody            of the court until

25 such time as the        court re lease d them .




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 1           THE COURT:      No .     That 's not the way it work s.

 2           If you need any additional               exhibit s for your

 3 case , please    -- or any exhibit           for your case , please      be

 4 sure to notify     the U. S. Attorney 's office             so they can

 5 be produced .

 6           MR. SUSSMAN :     Your Honor , if I can make one

 7 point.

 8           If Detective     Eveler     is going to testify

 9 intermittently     as an ex pert , I would renew my request

10 that the government        comply     with Rule 16 and give what

11 his opinion s are going to be and what the basis of his

12 opinion s -- because       I didn't think           he was going to be

13 an expert.      I thought    he was going to be a summary

14 witness .

15           MS. JOHNSTON:          Your Honor , he was not iced as        an

16 expert.     They were given copies            --

17           MR. SUSSMAN :     I pro tested       at that point in

18 regard    to the specificity         of --

19           THE COURT:      Your objection           is note d.

20           MR. MARTIN:      Your Honor , I don't envy you , and I

21 know we don't always        play well in the sand box , but --

22 and I always     give you the benefit              of the doubt , but

23 something    happened    yesterday      and it repeat ed again

24 today , and that is with respect              to the 611 (c) and these

25 lead ing question s.       I notice     near the end of the day




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 1 the government        is allow ed to race through       with lead ing

 2 question s, and I don't think          it 's fair to these people

 3 who are on trial .        Let 's be frank .       Given their age s,

 4 they face life sentence s, and I think that the court

 5 should     consider    the time constraint       -- I know that , but

 6 the --

 7            THE COURT:     I have restrained the government

 8 from excessive leading.         Leading, sometimes, is a fact

 9 of life .     When it 's pretty      easy to    ask the question        the

10 right way with a long er -wind ed version , I've tri ed to

11 be reasonably        lenient    with it , but I agree .    I have

12 crack ed the    whip when I've had to .

13            MR. MARTIN:     Your Honor , because       this witness       is

14 not a witness        who is demented    or it 's not a sexual

15 assault     victim    who might be hesitant        to testify    about

16 the fact s -- he know s what the fact s are , an d trial

17 counsel     has more experience       than most of us in this

18 courtroom     regarding    this matter .       So , I renew my

19 objection .     I didn't       want to do it again in front of

20 the jury , but it happened          yesterday .     Today I talk ed to

21 other counsel        about it , and I just want to make a

22 record .

23            THE COURT:     I have , where I have       thought    that

24 lead ing question s were a problem , sustained            objections ;

25 and where it was a matter           of simply     expediti ng the




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 1 exact same testimony , I have not sustain ed the

 2 objection , but I note your concern           and I've asked both

 3 sides to try to refrain          from un necessary      lead ing

 4 question s.     Not every single        lead ing question    is going

 5 to be sustained       as -- with an objection , as you well

 6 know , but we're try ing to have this trial be fair and

 7 also efficient , and I'll continue           to do so .

 8           All right .    Anything     further , counsel ?

 9           MR. WARD:     Yes .     I'm going to ask the government

10 to produce     on Monday    all of the evidence         that has been

11 offered     into evidence    so far .

12           MS. JOHNSTON:         Your Honor , that is a ridiculous

13 request .

14           MR. WARD:     Well , it 's my request .        If you don't

15 like it , too bad .

16           THE COURT:     Mr. Ward , if you seriously          intend      to

17 have an examination        made of each and every exhibit

18 during    the defense    case where you're      maki ng your

19 presentation     --

20           MR. WARD:     Your Honor , I don't --

21           THE COURT:     -- we'll be here for a long , long

22 time .    I mean , if there are specific        exhibit s that you

23 would like to have available            for your use during        your

24 case , you should      let the government      know .

25           MR. WARD:     Your Honor , it 's --




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 1            THE COURT:     This is a case in which there are

 2 literal ly truckloads       of exhibit s.

 3            MR. WARD:     I understand , Your Honor .

 4            THE COURT:     I am not going to require        that the

 5 government     back a truck up to this courthouse           every

 6 single     day on the possibility     that you might want to

 7 offer something .

 8            MR. WARD:     Your Honor , they haven't       back ed a

 9 truck up so far .

10            THE COURT:     It 's not a difficult       question   for

11 you to identify        who your witness es are going to be an d

12 tell them .     It 's not a difficult       problem   for you to

13 say what exhibit s you want to have available              and tell

14 them so we can proceed        efficient ly , rather      than have

15 truck s back ed up to this courtroom .

16            MS. JOHNSTON:     Your Honor , we also note that

17 there 's --

18            MR. WARD:     Just a minute .     I haven't    finish ed

19 yet .

20            They haven't    back ed a truck up every day about

21 this trial , and we're in about the third or fourt h day .

22 All they have done is roll these cart s from their

23 office .     All I'm asking    them to do is continue        rolling

24 the cart s from    the office .     How do I know what

25 witness es -- what evidence        I'm going to need when a




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 1 witness    is on the stand or their witness          is on the

 2 stand ?    I don't .

 3            THE COURT:     We're talk ing about your case , all

 4 right ?

 5            MR. WARD:     My case is a different      proposition    to

 6 take care of .

 7            THE COURT:     That 's what she 's talk ing about .

 8            MS. JOHNSTON:     Just so the court is aware .

 9 We've only brought        in the exhibit s anticipate d need ing

10 for direct    examination     and cross -examination .       We have

11 not , by any stretch       of the imagination , brought      in

12 every exhibit     every day .    In deed , there are 15 kilo s of

13 cocaine ; there are lot s of gun s and cocaine , and that

14 is not kept here in the courthouse .           That is kept in a

15 storage    facility     -- a secured   facility .    It present s

16 security    issue s for us to bring that sort of stuff in

17 here .

18            MR. WARD:     I'm not suggest ing they bring 60

19 kilo s or whatever       it is in here .    They haven't    brought

20 it so far all .        I said was what they brought       so far and

21 put in evidence .

22            THE COURT:     Well , I've asked you to try to

23 cooperate    eac h with the other side -- all sides in

24 giving    reasonable     notification s of the other of what it

25 is you need in the courtroom , because           it 's not possible




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 1 to have all of this evidence            sitting   in the courtroom

 2 at all time s.     I'm expect ing you both to cooperate               with

 3 each other .     But to request        that every single       exhibit

 4 that 's been identifi ed in these proceed ing be               present

 5 in the courtroom        at all time s is simply          not possible

 6 with a case of this size .            So , do the best you can to

 7 conclude    what it is that you want to have here , and

 8 I'll ask the government         to have it      here .     All right ?

 9            MS. JOHNSTON:      Your Honor , one other matter .            I

10 know the court is anxious            to get going , but with --

11            THE COURT:      I'm here to serve .

12            MS. JOHNSTON:      We were given partial          transcript s

13 of call s that the defense           intends   to use .     We have not

14 been given final transcript s.            We expect       to be able to

15 start the defendant s' case on Tuesday .                 We filed the

16 motion , and we would like the rest of any exhibit s that

17 they intend     to use , including       any transcript s.

18            THE COURT:      I have    request ed that there be an

19 opposition     to the motion        -- your motion       in limine   filed

20 by Monday .     I'm expecting        if there 's any update d or

21 redacted    or correct ed transcript s that they be

22 furnished     on Monday    as well .

23            MS. JOHNSTON:      Thank you , Your Honor .

24            MR. MCKNETT :     On that point , it is our

25 expectation     that all the transcript s will be finalize d




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 1 -- may   well be finalize d now .

 2          THE COURT:      All right .

 3          MR. MCKNETT :     As soon as we have the --

 4          THE COURT:      Don't wait until Monday       afternoon .

 5 As soon as you have them available , give them to the

 6 government .

 7          MR. MCKNETT :     As soon as we have them , the

 8 government     will have them .

 9          MS. JOHNSTON:       Thank you , Mr. McKnett .         I

10 appreciate     that .

11          THE COURT:      Thank you very much , counsel .)

12                         (Off the record at 5:12       p.m. )

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 1                             CERTIFICATE

 2

 3       I, Tracy Rae Dunlap,       RPR , CRR , an Official Court

 4 Reporter for the United States District Court of

 5 Maryland, do hereby certify that I reported, by machine

 6 shorthand, in my official capacity, the proceedings had

 7 and testimony adduced upon the Jury Trial Proceedings

 8 in the case of UNITED STATES OF AMERICA versus PAULETTE

 9 MARTIN, et al, criminal Action Number            RWT -04-0235 on

10 July 19, 2006.

11

12       I further certify that the foregoing            279 pages

13 constitute the official transcript of said proceedings,

14 as taken from my machine shorthand notes, of said

15 proceedings.

16

17       In witness whereof, I have hereto subscribed my

18 name, this 22nd day of       March 2008 .

19

20

21                                    __________________________

22                                    TRACY RAE DUNLAP, RPR , CRR
                                      OFFICIAL COURT REPORTER
23

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